Case: 25-1236   Document: 00118290988   Page: 1     Date Filed: 05/27/2025       Entry ID: 6724071

                                  Nos. 25-1236, 25-1413


                   IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FIRST CIRCUIT


         STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF ILLINOIS;
       STATE OF RHODE ISLAND; STATE OF NEW JERSEY; COMMONWEALTH
          OF MASSACHUSETTS; STATE OF ARIZONA; STATE OF COLORADO;
           STATE OF CONNECTICUT; STATE OF DELAWARE; DISTRICT OF
            COLUMBIA; STATE OF HAWAII; STATE OF MAINE; STATE OF
       MARYLAND; STATE OF MICHIGAN; STATE OF MINNESOTA; STATE OF
          NEVADA; STATE OF NORTH CAROLINA; STATE OF NEW MEXICO;
        STATE OF OREGON; STATE OF VERMONT; STATE OF WASHINGTON;
       STATE OF WISCONSIN, OFFICE OF THE GOVERNOR OF KENTUCKY, ex
             rel. ANDREW BESHEAR, in their official capacity as Governor of the
                            Commonwealth of Kentucky,
                                                  Plaintiffs-Appellees,
                             (caption continued on inside cover)


                      On Appeal from the United States District Court
                            for the District of Rhode Island


                              BRIEF FOR APPELLANTS


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Case: 25-1236    Document: 00118290988          Page: 2     Date Filed: 05/27/2025       Entry ID: 6724071




                                                    v.

      DONALD J. TRUMP, in their official capacity as President of the United States; U.S. OFFICE
        OF MANAGEMENT AND BUDGET; RUSSELL THURLOW VOUGHT, in their official
        capacity as Director of the U.S. Office of Management and Budget; U.S. DEPARTMENT OF
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       PATRICIA COLLINS, in their official capacity as Treasurer of the U.S.; U.S. DEPARTMENT
          OF HEALTH AND HUMAN SERVICES; ROBERT F. KENNEDY, JR., in their official
       capacity as Secretary of the Department of Health and Human Services; U.S. DEPARTMENT
        OF EDUCATION; LINDA MCMAHON, in their official capacity as Secretary of Education;
      U.S. FEDERAL EMERGENCY MANAGEMENT AGENCY; CAMERON HAMILTON, in
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      LUTNICK, in their official capacity as Secretary of Commerce; NATIONAL AERONAUTICS
          AND SPACE ADMINISTRATION; JANET PETRO, in their official capacity as Acting
          Administrator of National Aeronautics and Space Administration; CORPORATION FOR
         NATIONAL AND COMMUNITY SERVICE; JENNIFER BASTRESS TAHMASEBI, in
       their official capacity as Interim Head of the Corporation for National and Community Service;
      U.S. SOCIAL SECURITY ADMINISTRATION; LELAND DUDEK, in their official capacity
            as Acting Commissioner of United States Social Security Administration; U.S. SMALL
         BUSINESS ADMINISTRATION; KELLY LOEFFLER, in their official capacity as Acting
                              Administrator of U.S. Small Business Administration,
                                                             Defendants-Appellants.
Case: 25-1236         Document: 00118290988                        Page: 3            Date Filed: 05/27/2025                      Entry ID: 6724071




                                                    TABLE OF CONTENTS

                                                                                                                                          Page

      REASONS WHY ORAL ARGUMENT SHOULD BE HEARD

      INTRODUCTION ..................................................................................................................1

      STATEMENT OF JURISDICTION ...................................................................................3

      STATEMENT OF THE ISSUE ............................................................................................3

      STATEMENT OF THE CASE .............................................................................................4

                A.        Legal and Factual Background ......................................................................... 4

                B.        Prior Proceedings ............................................................................................... 5

      SUMMARY OF ARGUMENT ........................................................................................... 12

      STANDARD OF REVIEW ................................................................................................ 15

      ARGUMENT ......................................................................................................................... 15

      I.        Plaintiffs Are Unlikely to Succeed on the Merits of Their Challenges to
                the OMB Memorandum ............................................................................................ 16

                A.        The District Court Misconstrued the OMB Memorandum......................16

                B.        Plaintiffs’ Challenges to the OMB Memorandum Are Moot ...................19

                C.        Plaintiffs’ Challenges to the OMB Memorandum Fail on the
                          Merits .................................................................................................................23

      II.       The Preliminary Injunction Must Be Vacated Because It Covers a Vast
                Array of Additional Agency Decisions that Are Not Properly Enjoined .......... 33

                A.        The Broad Injunction Was Procedurally Improper ...................................33

                B.        Plaintiffs’ Claims Fail on the Merits ..............................................................36

                          1.         Numerous Covered Grant Programs Allow Funding Pauses .......37
Case: 25-1236        Document: 00118290988                      Page: 4          Date Filed: 05/27/2025                  Entry ID: 6724071




                          2.        Funding Decisions Are Frequently Committed to Agency
                                    Discretion by Law ................................................................................41

                          3.        The District Court Lacks the Power to Order Direct
                                    Monetary Payments .............................................................................44

      III.      The Remaining Preliminary Injunction Factors Counsel Against Relief ........... 49

      CONCLUSION ..................................................................................................................... 54

      CERTIFICATE OF COMPLIANCE

      CERTIFICATE OF SERVICE

      ADDENDUM




                                                                      ii
Case: 25-1236        Document: 00118290988                       Page: 5          Date Filed: 05/27/2025                  Entry ID: 6724071




                                               TABLE OF AUTHORITIES
      Cases:                                                                                                                 Page(s)
      Air Courier Conference of Am. v. American Postal Workers Union,
        498 U.S. 517 (1991) .......................................................................................................... 28
      Alabama v. U.S. Army Corps of Eng’rs,
        424 F.3d 1117 (11th Cir. 2005) ....................................................................................... 35
      Albrecht v. Committee on Emp. Benefits of the Fed. Reserve Emp. Benefits Sys.,
        357 F.3d 62 (D.C. Cir. 2004) ........................................................................................... 46
      Already, LLC v. Nike, Inc.,
        568 U.S. 85 (2013) ............................................................................................................. 19
      American Freedom Def. Initiative v. Massachusetts Bay Transp. Auth.,
       781 F.3d 571 (1st Cir. 2015) ............................................................................................ 15
      American Sci. & Eng’g, Inc. v. Califano,
       571 F.2d 58 (1st Cir. 1978) .............................................................................................. 46
      Bennett v. New Jersey,
        470 U.S. 632 (1985) .......................................................................................................... 47
      Block v. Community Nutrition Inst.,
         467 U.S. 340 (1984) ................................................................................................... 28, 31
      Boaz Hous. Auth. v. United States,
        994 F.3d 1359 (Fed. Cir. 2021) ................................................................................ 46, 49
      Boston Bit Labs, Inc. v. Baker,
        11 F.4th 3 (1st Cir. 2021) ................................................................................................. 20
      Bowen v. Massachusetts,
        487 U.S. 879 (1988) .......................................................................................................... 48
      Building & Constr. Trades Dep’t v. Allbaugh,
        295 F.3d 28 (D.C. Cir. 2002) .................................................................................... 24, 25
      California v. U.S. Dep’t of Educ.,
        132 F.4th 92 (1st Cir. 2025) ............................................................................................. 47
      Cameron v. EMW Women’s Surgical Ctr., P.S.C.,
        595 U.S. 267 (2022) .......................................................................................................... 34


                                                                       iii
Case: 25-1236        Document: 00118290988                      Page: 6          Date Filed: 05/27/2025                 Entry ID: 6724071




      City of New Haven v. United States,
        809 F.2d 900 (D.C. Cir. 1987) .................................................................................. 30, 32
      Clarke v. Securities Indus. Ass’n,
        479 U.S. 388 (1987) .......................................................................................................... 29
      Columbus Reg’l Hosp. v. United States,
        990 F.3d 1330 (Fed. Cir. 2021) ....................................................................................... 48
      Common Cause v. Trump,
        506 F. Supp. 3d 39 (D.D.C. 2020) .................................................................................. 25
      Community Action of Laramie Cty., Inc. v. Bowen,
        866 F.2d 347 (10th Cir. 1989) ......................................................................................... 42
      Corrigan v. Boston Univ.,
        98 F.4th 346 (1st Cir. 2024) ...................................................................................... 21, 22
      Department of Educ. v. California,
        145 S. Ct. 966 (2025) ....................................................................... 45, 47, 48, 49, 52, 53
      Diaz v. Johnson,
        No. 19-1501, 2020 WL 9437887 (1st Cir. Nov. 12, 2020) .......................................... 46
      Doe v. Trustees of Bos. Coll.,
        942 F.3d 527 (1st Cir. 2019) ..................................................................................... 15, 49
      FCC v. Prometheus Radio Project,
        592 U.S. 414 (2021) .......................................................................................................... 26
      General Land Office v. Biden,
        722 F. Supp. 3d 710 (S.D. Tex. 2024) ............................................................................ 31
      Haaland v. Brackeen,
       599 U.S. 255 (2023) .......................................................................................................... 52
      Lincoln v. Vigil,
        508 U.S. 182 (1993) ................................................................................. 37, 38, 41, 42, 44
      Lujan v. National Wildlife Fed’n,
        497 U.S. 871 (1990) .......................................................................................................... 18
      Maine Cmty. Health Options v. United States,
       590 U.S. 296 (2020) .......................................................................................................... 45


                                                                      iv
Case: 25-1236        Document: 00118290988                       Page: 7          Date Filed: 05/27/2025                  Entry ID: 6724071




      Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,
       567 U.S. 209 (2012) .......................................................................................................... 46
      Matos ex rel. Matos v. Clinton Sch. Dist.,
       367 F.3d 68 (1st Cir. 2004) .............................................................................................. 35
      Megapulse, Inc. v. Lewis,
       672 F.2d 959 (D.C. Cir. 1982) ......................................................................................... 46
      Milk Train, Inc. v. Veneman,
        310 F.3d 747 (D.C. Cir. 2002) ......................................................................................... 42
      Mississippi v. Johnson,
        71 U.S. (4 Wall.) 475 (1867) ............................................................................................ 50
      Missouri ex rel. Nixon v. Craig,
        163 F.3d 482 (8th Cir. 1998) ........................................................................................... 21
      Nken v. Holder,
       556 U.S. 418 (2009) .......................................................................................................... 49
      Norton v. Southern Utah Wilderness All.,
        542 U.S. 55 (2004) ............................................................................................................. 35
      OfficeMax, Inc. v. Levesque,
        658 F.3d 94 (1st Cir. 2011) ....................................................................................... 15, 49
      Ohio v. U.S. EPA,
        969 F.3d 306 (6th Cir. 2020) ........................................................................................... 22
      Pacific Radiation Oncology, LLC v. Queen’s Med. Ctr.,
        810 F.3d 631 (9th Cir. 2015) ........................................................................................... 35
      Policy & Research, LLC v. U.S. Dep’t of Health & Human Servs.,
        313 F. Supp. 3d 62 (D.D.C. 2018) .................................................................................. 42
      Public Citizen v. Stockman,
        528 F. Supp. 824 (D.D.C. 1981) ..................................................................................... 31
      Rocky Ford Hous. Auth. v. U.S. Dep’t of Agric.,
        427 F. Supp. 118 (D.D.C. 1977) ..................................................................................... 31
      Seila Law LLC v. CFPB,
         591 U.S. 197 (2020) .......................................................................................................... 23


                                                                       v
Case: 25-1236         Document: 00118290988                       Page: 8           Date Filed: 05/27/2025                   Entry ID: 6724071




      Sierra Club v. Costle,
         657 F.2d 298 (D.C. Cir. 1981) ......................................................................................... 23
      Sprague Elec. Co. v. Tax Court,
        340 F.2d 947 (1st Cir. 1965) ............................................................................................. 46
      Thompson v. North Am. Stainless, LP,
        562 U.S. 170 (2011) .......................................................................................................... 29
      Trump v. Mazars USA, LLP,
        591 U.S. 848 (2020) .......................................................................................................... 31
      Union of Concerned Scientists v. Wheeler,
        954 F.3d 11 (1st Cir. 2020) .............................................................................................. 41
      University of Tex. v. Camenisch,
        451 U.S. 390 (1981) .......................................................................................................... 22
      Vaqueria Tres Monjitas, Inc. v. Irizarry,
       587 F.3d 464 (1st Cir. 2009) ............................................................................................ 31
      Winter v. Natural Res. Def. Council, Inc.,
       555 U.S. 7 (2008) ........................................................................................................ 15, 40

      Statute:

      Administrative Procedure Act (APA):
        5 U.S.C. § 701(a)(1) ........................................................................................................... 28
        5 U.S.C. § 701(a)(2) ........................................................................................................... 41
      Consolidated Appropriations Act, 2022,
        Pub. L. No. 117-103, div. B, tit. III, 136 Stat. 49, 139 ................................................. 38
      Impoundment Control Act of 1974:
        2 U.S.C. § 681 .................................................................................................................... 30
        2 U.S.C. § 683(a) ................................................................................................................ 29
        2 U.S.C. § 684 ............................................................................................................... 8, 28
        2 U.S.C. § 684(a) ................................................................................................................ 29
        2 U.S.C. § 687 ............................................................................................................. 29, 30
        2 U.S.C. § 688 .................................................................................................................... 29

      Pub. L. No. 117-169, § 23003(a)(2),
        136 Stat. 1818, 2026 (2022) ....................................................................................... 43, 44

                                                                        vi
Case: 25-1236         Document: 00118290988                       Page: 9           Date Filed: 05/27/2025                    Entry ID: 6724071




      16 U.S.C. § 2105(c) ................................................................................................................ 43
      23 U.S.C. § 179 ...................................................................................................................... 39
      28 U.S.C. § 1292(a)(1) ...................................................................................................... 3, 45
      28 U.S.C. § 1331 ...................................................................................................................... 3
      28 U.S.C. § 1491(a)(1) ........................................................................................................... 46
      31 U.S.C. § 1512 .................................................................................................................... 32
      31 U.S.C. § 1512(c) ................................................................................................................ 32
      42 U.S.C. § 1862q .................................................................................................................. 38
      42 U.S.C. § 7434(a)(1) ........................................................................................................... 43
      42 U.S.C. § 7437(a)(1) ........................................................................................................... 43
      42 U.S.C. § 7437(a)(2) ........................................................................................................... 43
      42 U.S.C. § 7437(b) ............................................................................................................... 43
      42 U.S.C. § 7437(c)(1) ........................................................................................................... 43
      42 U.S.C. § 7437(c)(3) ........................................................................................................... 43


      Regulatory Materials:

      2 C.F.R. § 200.340(a)(4) ........................................................................................................ 23
      Exec. Order No. 14,154,
        Unleashing American Energy, 90 Fed. Reg. 8353 (Jan. 29, 2025) ..................................... 4

      Rules:

      Fed. R. App. P. 4(a)(1)(B) ...................................................................................................... 3
      Fed. R. Civ. P. 65(d)(1)(C) ................................................................................................... 50




                                                                        vii
Case: 25-1236       Document: 00118290988                 Page: 10         Date Filed: 05/27/2025             Entry ID: 6724071




       Other Authorities:

       Fed. Highway Admin., Dep’t of Transp. Contractors & Recipients
         General Terms and Conditions for Assistance Awards,
         https://perma.cc/M7LK-D9SU ......................................................................................39

       Fed. Highway Admin., Dept. of Transp., Low-Carbon Transportation
         Materials Grants Program, https://perma.cc/UU7K-43SD ...........................................39

       James R. Jones, House of Representatives, B-203057,
         1981 WL 23385 (Comp. Gen. Sept. 15, 1981) ...............................................................32

       National Science Foundation, Research Terms & Conditions:
        Agency Specific Requirements (Jan. 30, 2023),
        https://perma.cc/VUC3-QYJQ ............................................................................... 38, 39




                                                               viii
Case: 25-1236    Document: 00118290988       Page: 11     Date Filed: 05/27/2025     Entry ID: 6724071




                REASONS WHY ORAL ARGUMENT SHOULD BE HEARD

             The district court entered a preliminary injunction that interferes with dozens

       of agency defendants’ ability to ensure that federal funding is properly aligned with

       the President’s policy priorities. The government respectfully requests that the Court

       hold oral argument. Argument will aid the Court in resolving the important issues

       presented by this appeal.
Case: 25-1236    Document: 00118290988       Page: 12     Date Filed: 05/27/2025       Entry ID: 6724071




                                        INTRODUCTION

             When this case began, the plaintiff States challenged a memorandum issued in

       January by the Office of Management and Budget (OMB). The OMB Memorandum

       generally directed agencies to submit information about federal funding programs

       relating to any of seven then-recent Executive Orders to allow the new

       Administration to review the programs and ensure that federal funds were spent in

       accordance with the President’s priorities. And the Memorandum instructed agencies

       to temporarily pause—if consistent with applicable law—disbursing federal funds

       under those programs pending that review. Shortly after this lawsuit was filed, the

       Memorandum was rescinded.

             Nonetheless, plaintiffs continued to press their claims—and, over the course of

       preliminary-injunction briefing, shifted the focus of their attack from the rescinded

       OMB Memorandum to an amorphous “Federal Funding Freeze” comprising untold

       numbers of funding decisions made by dozens of agency defendants across the

       federal government. The district court granted a preliminary injunction that mirrored

       the breadth of plaintiffs’ reformulated claims, broadly prohibiting agencies from

       implementing any pauses in funding “based on” the OMB Memorandum or the

       President’s Executive Orders. In determining that plaintiffs were entitled to that

       relief, the district court primarily relied on its belief that the Memorandum amounted

       to a command to agencies to execute a categorical, indefinite funding freeze.
Case: 25-1236    Document: 00118290988       Page: 13     Date Filed: 05/27/2025     Entry ID: 6724071




             That decision was erroneous on all levels. At the outset, the district court

       fundamentally misunderstood the OMB Memorandum, which envisioned only a

       limited, temporary funding freeze tied to the specific reviews contemplated by the

       President’s Executive Orders and which repeatedly instructed agencies to pause

       funding only when permitted to do so by applicable law. With that proper

       understanding, plaintiffs cannot succeed on their claims against the Memorandum.

       Not only are those claims now moot because the Memorandum has been rescinded,

       but the Memorandum and underlying Executive Orders were routine and permissible

       exercises of the President’s and OMB’s power to instruct the President’s subordinates

       in the Executive Branch on how to carry out discretionary authorities.

             The district court compounded the problem by enjoining not just the OMB

       Memorandum but also a vast range of unspecified funding decisions across the

       Executive Branch. That sweeping injunction—based on plaintiffs’ late-breaking and

       impermissible programmatic attack—was procedurally improper. And it was

       substantively unjustified. There are indisputably many circumstances where agencies

       may lawfully pause federal funding—and, indeed, agencies’ decisions regarding such

       funding are often committed to agency discretion by law. But the district court failed

       to grapple with the authorities permitting such pauses in specific contexts. As a result,

       its categorical injunction prohibits a broad swath of lawful conduct.

             That intrusion on the President’s Article II authority to direct his subordinates

       and to ensure that federal funding programs are aligned, where legally permitted, with
                                                  2
Case: 25-1236    Document: 00118290988        Page: 14     Date Filed: 05/27/2025     Entry ID: 6724071




       his policy priorities is bad enough. But the intrusion is made worse in this case by the

       injunction’s vague and sweeping terms, which chill legitimate agency activity. And in

       the guise of enforcing that injunction, the district court has improperly scrutinized the

       genesis of agency action and has exceeded its jurisdiction by effectively ordering the

       payment of grant funds. This Court should reverse.

                                 STATEMENT OF JURISDICTION

             In this action brought under the Administrative Procedure Act (APA),

       plaintiffs invoked the district court’s jurisdiction under 28 U.S.C. § 1331, A308, but

       the existence of a continuing case or controversy is disputed, see infra pp. 19-23. The

       district court granted plaintiffs’ motion for a preliminary injunction on March 6, 2025.

       A1-45. The government filed a timely notice of appeal on March 10, 2025. A421; see

       Fed. R. App. P. 4(a)(1)(B). The court granted plaintiffs’ motion to enforce the

       preliminary injunction on April 4, 2025, A46-60, and denied the government’s motion

       for reconsideration on April 14, 2025, A61-69. The government filed a timely notice

       of appeal on April 28, 2025. A602-03. This Court has appellate jurisdiction under

       28 U.S.C. § 1292(a)(1).

                                  STATEMENT OF THE ISSUE

             The issue presented is whether the district court erred in entering a preliminary

       injunction broadly prohibiting agencies from pausing federal funding “based on” the

       rescinded OMB Memorandum or the President’s Executive Orders.



                                                   3
Case: 25-1236     Document: 00118290988       Page: 15     Date Filed: 05/27/2025     Entry ID: 6724071




                                  STATEMENT OF THE CASE

             A.     Legal and Factual Background
             In the days after his inauguration, the President issued several Executive Orders

       setting forth Administration priorities and instructing agencies to pause funding

       where legally permissible to allow time to review whether that funding aligns with

       those priorities. For example, Executive Order No. 14,154, 90 Fed. Reg. 8353 (Jan. 29,

       2025), titled Unleashing American Energy, declares the policy of the United States to

       encourage certain “energy exploration and production,” guarantee the accessibility of

       “an abundant supply of reliable energy,” and ensure no federal funding is “employed

       in a manner contrary to the principles outlined in this section, unless required by law,”

       id. § 2(a), (c), (i), 90 Fed. Reg. at 8353-54. The American Energy Executive Order

       further instructs agencies to “immediately pause the disbursement of funds” under

       two federal statutes to assess “consistency with the law and the policy outlined in” the

       Executive Order, id. § 7(a), 90 Fed. Reg. at 8357, but provides that all implementation

       must be “in a manner consistent with applicable law,” id. § 10(b), 90 Fed. Reg. at 8359.

             On January 27, OMB issued a memorandum that called for agencies to review

       federal financial assistance programs “consistent with the President’s policies and

       requirements.” A115. While that review was ongoing, agencies were to “temporarily

       pause all activities related to obligation or disbursement” of funds “and other relevant

       agency activities that may be implicated by [the President’s] executive orders,”

       including the American Energy Executive Order, “to the extent permissible under

                                                   4
Case: 25-1236      Document: 00118290988      Page: 16      Date Filed: 05/27/2025     Entry ID: 6724071




       applicable law.” A116 (emphasis omitted). The next day, OMB released guidance

       reiterating that the pause applied only to funding implicated by the President’s recent

       Executive Orders and that agencies should pause funding only if consistent with

       underlying law. See A171-72.

              Following a partial administrative stay of the OMB Memorandum in a different

       lawsuit, OMB rescinded the memorandum. A170. That rescission did not affect the

       President’s Executive Orders, which continue to direct agencies to carry out the

       President’s policy directives, consistent with applicable law.

              B.     Prior Proceedings
              1. Twenty-one states and the District of Columbia brought this suit and

       initially challenged the OMB Memorandum on various grounds. See A97-105.

       Shortly after the suit was filed, the district court granted a temporary restraining order

       against the OMB Memorandum, directing that defendants “shall not pause, freeze,

       impede, block, cancel, or terminate [their] compliance with awards and obligations to

       provide federal financial assistance to the States” and “shall not impede the States’

       access to such awards and obligations, except on the basis of the applicable

       authorizing statutes, regulations, and terms.” A183. Following disputes regarding the

       scope of the order, the district court eventually declared that its order “prohibit[ed] all

       categorical pauses or freezes in obligations or disbursements based on the OMB

       Directive or based on the President’s 2025 Executive Orders.” A288. The court

       ordered the government to “immediately restore frozen funding” and indicated that
                                                    5
Case: 25-1236    Document: 00118290988        Page: 17      Date Filed: 05/27/2025     Entry ID: 6724071




       the government could “request targeted relief ” in specific instances of demonstrated

       compliance. A289-90.

              The government appealed and sought a stay pending appeal. In their response,

       plaintiffs disclaimed that the government needed to preclear funding terminations

       with the district court. Opposition to Motion for Administrative Stay Pending Appeal

       at 8-9, New York v. Trump, No. 25-1138 (1st Cir. Feb. 11, 2025). This Court denied an

       administrative stay without prejudice, stating that it expected that the district court

       would promptly “provide any clarification needed” regarding whether it was ordering

       the government to seek “prior approval of the district court” before defendant

       agencies could “exercis[e] their own lawful authorities to withhold funding.” A292

       (quotation omitted). Once the district court disclaimed that the government was

       required to obtain any such “preclearance,” A295 (quotation omitted), the

       government dismissed its appeal, see A370.

              2. Plaintiffs moved for a preliminary injunction. After the government filed its

       opposition, plaintiffs amended their complaint to expand the scope of this suit, which

       now encompasses more than 20 agency defendants. In their amended complaint,

       plaintiffs recast their case as a challenge to what they describe as an “indefinite pause

       on federal funds” that allegedly applies “across myriad federal funding programs” and

       “extend[s] to nearly all federal funding streams nationwide.” A306-07, A312-19.

       Plaintiffs also added the Governor of Kentucky as a plaintiff.


                                                    6
Case: 25-1236    Document: 00118290988        Page: 18     Date Filed: 05/27/2025     Entry ID: 6724071




             The district court granted a preliminary injunction. The court first determined

       that plaintiffs’ claims were not moot, notwithstanding the OMB Memorandum’s

       rescission. The court held that the “voluntary cessation doctrine precludes a finding

       of mootness” because, in the court’s view, the rescission “was a clear effort to moot

       legal challenges to the federal funding freeze” and it was reasonable to believe that the

       government would “reinstate the challenged funding freeze absent an injunction.”

       A15-17. And the court held that plaintiffs’ specific request for preliminary relief was

       not moot because the court believed that plaintiffs sought relief against “a pause on

       federal funding that was implemented under not only the” OMB Memorandum but

       also under various “other agency actions.” A17-18. Therefore, the court concluded,

       the Memorandum’s rescission did “not provide [plaintiffs] with all the prospective

       relief they have requested.” A18.

             The district court concluded that plaintiffs had identified final agency actions

       challengeable under the APA. First, the court concluded that the OMB

       Memorandum constituted final agency action, stating that the Memorandum

       “amounted to a command” to agencies to “execute a categorical, indefinite funding

       freeze.” A21-23. Second, the court concluded—for the same reasons—that

       implementation of the American Energy Executive Order and OMB guidance

       constituted final agency action. A23-24.

             On the merits, the district court concluded that the asserted “federal funding

       freeze,” A25, was unlawful. First, the court held that the funding freeze violated the
                                                   7
Case: 25-1236    Document: 00118290988        Page: 19     Date Filed: 05/27/2025     Entry ID: 6724071




       Impoundment Control Act of 1974, 2 U.S.C. § 684, which allows the Executive

       Branch to “defer any budget authority provided for a specific purpose or project”

       only for certain reasons and only upon sending a “special message” to Congress. The

       court believed that the OMB Memorandum “constituted a budget authority deferral

       because it commanded—and prompted—an indefinite withholding or delay of

       obligated funds” and that the deferral violated the statute because no “special

       message” was “ever communicated to Congress.” A27.

             Second, the district court held that in some circumstances pausing funding

       could violate federal statutes because there are some “examples in which Congress has

       appropriated funds to federal programs and has strictly prescribed how those funds

       must be expended.” A28. The court cataloged a handful of examples of such

       purportedly mandatory funding, most of which involve formula grants. See A28-29.

       Based on its determination that the government “withheld funding” under these

       programs “in implementing the funding freeze” after the OMB Memorandum was

       issued in January, the court concluded that the pause was contrary to law. A29.

             Third, the district court held that the “challenged federal funding freeze” was

       arbitrary and capricious because the government had “not provided a rational reason

       that the need to ‘safeguard valuable taxpayer resources’ is justified by such a sweeping

       pause of nearly all federal financial assistance with such short notice” and the

       government had not engaged in “thoughtful consideration of practical

       consequences.” A30-32. The court also emphasized that the OMB Memorandum
                                                   8
Case: 25-1236    Document: 00118290988         Page: 20      Date Filed: 05/27/2025      Entry ID: 6724071




       provided agencies a “mere twenty-four hours” to “discern which of thousands of

       funding” streams “must or must not be paused.” A32. And the court concluded that

       the freeze of any “funding streams that mandated expenditures based on fixed

       formulas” was “substantively unreasonable.” A33.

              On the equities, the district court concluded that the suspension of certain

       funding streams would irreparably harm the States, although the court emphasized

       that “while the States are the plaintiffs in this Court, it is their citizens” who “are

       enduring much of the harm.” A36; see A34-42. On the other side of the balance, the

       court believed that Executive Branch agencies and officials would not be “harmed” by

       an order “requir[ing] them to disburse funds that Congress has appropriated to the

       States and that they have obligated” because an “agency is not harmed by an order

       prohibiting it from violating the law.” A42-43. The court also stated that its

       preliminary injunction would “not prevent the Defendants from making funding

       decisions in situations under the Executive’s actual authority in the applicable

       statutory, regulatory, or grant terms” but would only “enjoi[n] agency action that

       violates statutory appropriations and obligations.” Id. (quotation omitted).

              The district court entered a preliminary injunction. In relevant part, the

       injunction prohibits defendants—which include 23 federal agencies—from “reissuing,

       adopting, implementing, giving effect to, or reinstating under a different name the

       directives in” the OMB Memorandum “with respect to the disbursement and

       transmission of appropriated federal funds to the States under awarded grants,
                                                     9
Case: 25-1236    Document: 00118290988        Page: 21     Date Filed: 05/27/2025      Entry ID: 6724071




       executed contracts, or other executed financial obligations.” A44. And the injunction

       prohibits defendants from “pausing, freezing, blocking, canceling, suspending,

       terminating, or otherwise impeding the disbursement of appropriated federal funds to

       the States under awarded grants, executed contracts, or other executed financial

       obligations”—“based on” not only the OMB Memorandum but also any “funding

       freezes dictated, described, or implied by Executive Orders issued by the President,”

       including but “by no means . . . limited to” the American Energy Executive Order

       described above. Id.

             3. The government appealed and sought a stay pending appeal in this Court.

       The government’s stay motion focused on the mismatch between plaintiffs’

       substantive claims, which primarily challenge the rescinded OMB Memorandum, and

       the district court’s injunction, which provided “broad-based relief against innumerable

       funding decisions at twenty-three federal agencies.” A562 (quotation omitted).

             The stay panel concluded that those arguments did not support a stay pending

       appeal, which the panel characterized as “an intrusion into the ordinary processes of

       administration and judicial review.” A559-60 (quotation omitted). The stay panel

       primarily emphasized its view that the government had not met its burden to establish

       that the individual funding decisions enjoined by the district court were independent

       of the OMB Memorandum. See A565-67, A569-71, A573. In considering the

       equities, the stay panel stated that the preliminary injunction “does not bar all freezes


                                                   10
Case: 25-1236   Document: 00118290988        Page: 22     Date Filed: 05/27/2025       Entry ID: 6724071




       in funding” but “instead enjoins” only the adoption of “the broad, categorical freezes

       challenged here.” A574.

             4. While this appeal of the preliminary injunction was pending, plaintiffs

       moved to enforce the preliminary injunction, arguing that the Federal Emergency

       Management Agency (FEMA) had improperly failed to make funds under 215 grants

       available to plaintiffs. See A49, A52-53. In response, the government explained that

       the funds were subject to internal processing controls and argued that it was

       permissible to continue implementing those controls because they were not directed

       by the OMB Memorandum and thus were not enjoined. Id. at 6-8.

             The district court granted plaintiffs’ motion. The court characterized the

       “challenged manual review process” as “essentially impos[ing] an indefinite categorical

       pause on payments” that was not justified by any specific grant term or regulation.

       A54-55. And the court stated that plaintiffs had “presented evidence that strongly

       suggests that FEMA is implementing this manual review process based, covertly, on”

       one of the Executive Orders referenced by the OMB Memorandum. A55-58. The

       court thus ordered FEMA to “cease the challenged manual review process” and to

       refrain from “paus[ing] or otherwise imped[ing] the disbursement of appropriated

       federal funds to the States based on funding freezes dictated, described, or implied by

       Executive Orders issued by the President before the rescission” of the OMB

       Memorandum. A59. And the court denied reconsideration, concluding that its order

       was “not enforcing a contractual obligation to pay money.” A67.
                                                 11
Case: 25-1236   Document: 00118290988       Page: 23     Date Filed: 05/27/2025     Entry ID: 6724071




             The government appealed, and this Court has now consolidated that appeal

       with the appeal of the underlying preliminary injunction.

                                 SUMMARY OF ARGUMENT

             I. Plaintiffs are unlikely to succeed on their original challenges to the OMB

       Memorandum, which has been rescinded and which was lawful in any event. The

       district court’s contrary conclusion rested on a fundamental misunderstanding of the

       Memorandum.

             In the district court’s view, the OMB Memorandum “amounted to a

       command” to agencies to “execute a categorical, indefinite funding freeze.” A21-23.

       But that characterization is impossible to square with the text of the Memorandum,

       which reflects more limited internal directions to agencies. The Memorandum

       required agencies to submit information to OMB regarding federal programs

       implicated by any of seven Executive Orders to allow the Administration to

       determine whether continued funding of those programs cohered with the

       Administration’s priorities. Pending that review, the Memorandum instructed

       agencies to temporarily pause funding under those programs—but only if permissible

       under applicable law. And OMB exempted various programs from those instructions.

             That proper understanding of the OMB Memorandum makes clear that

       plaintiffs’ challenges to the Memorandum, which has since been rescinded, are moot.

       The OMB Memorandum arose in the specific context of a programmatic review tied

       to seven Executive Orders issued at the beginning of the new Administration. There
                                                 12
Case: 25-1236    Document: 00118290988       Page: 24     Date Filed: 05/27/2025     Entry ID: 6724071




       is no basis to conclude that such circumstances will materialize again. And plaintiffs’

       challenges to the Memorandum were specific to the circumstances in which the

       Memorandum was issued. The dispute presented in this case is unlikely to recur.

             Regardless, plaintiffs’ claims against the OMB Memorandum fail. The

       Memorandum reflected a proper exercise of the President’s and OMB’s authority to

       issue guidance to the Executive Branch directing agency officials. The plain language

       of the Memorandum restricted that guidance to circumstances where pausing funding

       would comport with applicable law. And the Memorandum reasonably explained that

       such a pause—which included multiple exceptions—was necessary to effectuate the

       President’s Executive Orders and safeguard federal funds. The Impoundment

       Control Act likewise does not support the district court’s injunction. Plaintiffs cannot

       properly enforce that statute, which regulates the relationship between Congress and

       the Executive Branch, and the short-term pauses contemplated by the Memorandum

       do not implicate that statute.

             II. Making matters worse, the district court not only enjoined implementation

       of the rescinded OMB Memorandum but also enjoined a host of other agency

       funding decisions. That was improper.

             The district court’s broad injunction was procedurally improper. Plaintiffs’

       original complaint raised claims regarding, and sought relief against, the OMB

       Memorandum alone. After the government filed its preliminary-injunction

       opposition, plaintiffs amended their complaint to add a new plaintiff, several new
                                                  13
Case: 25-1236    Document: 00118290988       Page: 25     Date Filed: 05/27/2025      Entry ID: 6724071




       defendants, a new theory of liability, and a new focus of their challenge on an

       amorphous “Federal Funding Freeze.” Granting plaintiffs a preliminary injunction

       based on these late-breaking amendments was improper. And even on its own terms,

       plaintiffs’ attempt to levy a programmatic attack on federal spending decisions across

       a wide assortment of agencies was improper.

             Moreover, by extending across the breadth of federal funding decisions, the

       district court’s injunction improperly prohibits substantial lawful conduct and exceeds

       the court’s power. In many circumstances, federal agencies have broad discretion to

       pause funding—and many of the Executive Branch’s decisions in this area are

       committed to agency discretion by law. Examples of such discretionary funding

       programs abound among the grants received by plaintiffs. In enjoining the Executive

       Branch from pausing funding across these programs, the district court failed to

       consider, much less grapple with, the statutes providing this discretionary authority.

             In addition, the district court apparently views its injunction as covering

       contract disputes over which it lacks jurisdiction. For example, in the guise of

       enforcing its injunction, the court has now ordered that FEMA may not impede the

       disbursement of funds to plaintiffs on certain bases. But as the Supreme Court has

       recently made clear, district courts lack jurisdiction to order such monetary payments;

       instead, plaintiffs must pursue those claims in the Court of Federal Claims.

             III. The equities also counsel against the district court’s preliminary injunction.

       The injunction substantially harms the government’s and the public’s interests by
                                                  14
Case: 25-1236    Document: 00118290988          Page: 26      Date Filed: 05/27/2025    Entry ID: 6724071




       undermining the President’s Article II authority to direct his subordinates. And the

       injunction impermissibly contains vague instructions that threaten to chill agencies

       from taking legally permissible actions to ensure that funding is aligned with the

       President’s policy priorities. By contrast, plaintiffs’ asserted harms are relatively

       minimal. Not only do plaintiffs have no cognizable interest in receiving funds to

       which they are not entitled, but plaintiffs may also pursue in an appropriate forum any

       claim to recover specific funds that they believe have been unlawfully withheld.

                                     STANDARD OF REVIEW

              This Court reviews the district court’s decision to grant a preliminary injunction

       for abuse of discretion. OfficeMax, Inc. v. Levesque, 658 F.3d 94, 97 (1st Cir. 2011).

       Where the district court’s analysis is premised on an error of law, the court “has

       abused its discretion and [this Court is] required to vacate the injunction.” Doe v.

       Trustees of Bos. Coll., 942 F.3d 527, 533 (1st Cir. 2019).

                                             ARGUMENT

              A preliminary injunction is an “extraordinary remedy that may only be awarded

       upon a clear showing that the plaintiff is entitled to such relief.” Winter v. Natural Res.

       Def. Council, Inc., 555 U.S. 7, 22 (2008). Here, plaintiffs have not established “a strong

       likelihood that they will ultimately prevail on the merits.” American Freedom Def.

       Initiative v. Massachusetts Bay Transp. Auth., 781 F.3d 571, 578 (1st Cir. 2015) (quotation

       omitted). Nor have they shown irreparable injury to justify an injunction that inflicts

       outsized harm on the government and the public. See Winter, 555 U.S. at 24. The
                                                    15
Case: 25-1236      Document: 00118290988      Page: 27     Date Filed: 05/27/2025      Entry ID: 6724071




       district court erred in concluding that plaintiffs satisfied the requirements for interim

       injunctive relief.

       I.     Plaintiffs Are Unlikely to Succeed on the Merits of Their
              Challenges to the OMB Memorandum

              A.     The District Court Misconstrued the OMB Memorandum

              The district court’s holdings on both mootness and the merits stem from a

       fundamental misunderstanding of the OMB Memorandum, as well as a conflation of

       a review of the Memorandum itself and a generalized assessment of the actions of a

       broad swath of federal agencies.

              1. The OMB Memorandum was simply an internal instruction to agencies to

       carry out the President’s directions to temporarily pause certain federal funding—if

       agencies could lawfully do so—while the Executive Branch reviewed that funding for

       consistency with the President’s priorities. Shortly after taking office, President

       Trump issued Executive Orders articulating policy views on several subjects and

       generally directed his subordinates in the Executive Branch to pause or terminate

       federal funding programs—to the extent consistent with applicable law—to ensure

       that those programs are consistent with the President’s policy priorities. See A9. The

       OMB Memorandum expounded on those Executive Orders with additional internal

       directions to agencies.

              The OMB Memorandum explained to agencies that, “[t]o implement these

       [Executive O]rders, each agency must complete a comprehensive analysis of all of

                                                   16
Case: 25-1236    Document: 00118290988        Page: 28     Date Filed: 05/27/2025     Entry ID: 6724071




       their Federal financial assistance programs to identify programs, projects, and

       activities that may be implicated by any of the” Executive Orders. A116; see also A171

       (making clear that the Memorandum’s directions were “expressly limited to programs,

       projects, and activities implicated by the [specified] Executive Orders”). The

       Memorandum directed agencies to “submit to OMB detailed information on any

       programs, projects or activities” implicated by the Executive Orders “[n]o later than

       February 10, 2025”—two weeks after the Memorandum was issued. A116. The

       Memorandum contemplated that OMB would then “revie[w] and provid[e] guidance

       to” each “agency with respect to the information submitted.” Id.

             In addition, pending that review, the Memorandum directed that “agencies

       must temporarily pause all activities related to obligation or disbursement of all

       Federal financial assistance, and other relevant agency activities that may be implicated

       by the” Executive Orders—but only “to the extent permissible under applicable law.”

       A116 (emphasis omitted). The Memorandum explained that this pause would

       “provide the Administration time to review agency programs and determine the best

       uses of the funding for those programs consistent with the law and the President’s

       priorities.” Id. The Memorandum also directed agencies to “immediately identify any

       legally mandated actions or deadlines for assistance programs arising while the pause

       remains in effect” and to “report this information to OMB along with an analysis of

       the requirement.” Id.


                                                  17
Case: 25-1236    Document: 00118290988        Page: 29     Date Filed: 05/27/2025      Entry ID: 6724071




             To make the limitations on the Memorandum even clearer, OMB issued

       guidance the day after the Memorandum reiterating that “[a]ny payment required by

       law to be paid will be paid” and that the Memorandum “request[ed] that agencies

       temporarily pause” certain programs only “to the extent permitted by law.” A171.

       OMB also categorically exempted not only those programs where payments were

       “required by law” but also “[a]ny program that provides direct benefits to

       individuals.” Id. And the record reflects that OMB “worked with agencies” and

       “approved many programs to continue even before the pause” took effect. Id.

             2. The crux of the district court’s analysis was to interpret the OMB

       Memorandum in a manner irreconcilable with its plain text. In the court’s view, the

       Memorandum “amounted to a command” to agencies to “execute a categorical,

       indefinite funding freeze.” A21-23. The court also allowed plaintiffs’ challenge to

       expand beyond the Memorandum itself to an amorphous challenge to an alleged

       general federal funding freeze encompassing numerous actions by a wide variety of

       agencies. But see Lujan v. National Wildlife Fed’n, 497 U.S. 871, 891 (1990) (explaining

       that the APA does not permit plaintiffs to “seek wholesale improvement” of agency

       management “by court decree”—even in the face of allegations of “rampant”

       violations (emphasis omitted)).

             These errors permeated the court’s analysis. In assessing mootness, the court

       emphasized that plaintiffs “are challenging a pause on federal funding” and cited “not

       only the OMB Directive, but also” the Executive Orders “incorporated therein and
                                                   18
Case: 25-1236     Document: 00118290988        Page: 30    Date Filed: 05/27/2025     Entry ID: 6724071




       other agency actions.” A18. On the merits, the court concluded that a categorical

       freeze would violate statutes where Congress “has strictly prescribed how

       [appropriated] funds must be expended,” A28; that an “indefinite withholding or

       delay of obligated funds” would violate the Impoundment Control Act, A27; and that

       OMB had offered no rational justification for a “sweeping pause of nearly all federal

       financial assistance,” A31-33.

             The district court did not even attempt to reconcile these characterizations with

       the Memorandum’s text. As discussed below, these mischaracterizations caused the

       district court to issue an erroneous injunction for several mutually reinforcing reasons.

             B.     Plaintiffs’ Challenges to the OMB Memorandum Are Moot
             The district court’s misunderstanding of the proper scope of a challenge to the

       OMB Memorandum infected every aspect of its analysis. At the outset, the district

       court erroneously concluded that plaintiffs’ challenges to the Memorandum were not

       moot, even though OMB rescinded the Memorandum before the district court issued

       its preliminary injunction. See A170.

             The OMB Memorandum directed federal agencies, where permitted by law, to

       freeze federal funding that might be affected by seven enumerated Executive Orders

       pending a review to determine the best use of funds allocated to those programs.

       Because that Memorandum was issued in early days of the new Administration, and

       then rescinded a few days later, any controversy regarding the legality of that directive

       is clearly moot. See Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013) (“No matter how
                                                  19
Case: 25-1236    Document: 00118290988         Page: 31      Date Filed: 05/27/2025      Entry ID: 6724071




       vehemently the parties continue to dispute the lawfulness of the conduct that

       precipitated the lawsuit, the case is moot if the dispute is no longer embedded in any

       actual controversy about the plaintiffs’ particular legal rights.” (quotation omitted)).

              In concluding that the rescission did not moot plaintiffs’ claims against the

       Memorandum, the district court held that the “voluntary cessation doctrine precludes

       a finding of mootness.” A15-17. Under that doctrine, where “a defendant voluntarily

       ceases the challenged practice,” a plaintiff’s claims will not be moot if “there exists a

       reasonable expectation that the challenged conduct will be repeated after the suit’s

       dismissal.” Boston Bit Labs, Inc. v. Baker, 11 F.4th 3, 9 (1st Cir. 2021) (alteration and

       quotation omitted). This exception to mootness “exists to stop a scheming defendant

       from trying to immunize itself from suit indefinitely by unilaterally changing its

       behavior long enough to secure a dismissal and then backsliding when the judge is out

       of the picture.” Id. at 10 (alteration and quotation omitted).

              The district court’s determination that any controversy about the OMB

       Memorandum is not moot rests on the notion that OMB might once again direct

       federal agencies to freeze any federal funding that might be affected by the seven

       Executive Orders that were issued at the beginning of the new Administration while it

       conducts a review of the best use of those funds. That premise is illogical. A freeze

       pending such a review would necessarily happen only once, shortly after the

       Executive Orders were issued and before OMB had a chance to conduct its review.


                                                    20
Case: 25-1236    Document: 00118290988        Page: 32     Date Filed: 05/27/2025      Entry ID: 6724071




             Moreover, the particular legal issues addressed by the district court were

       specific to the circumstances in which the OMB Memorandum was issued. Plaintiffs

       cannot evade mootness by establishing that they “may be parties to the same sort of

       dispute in the future.” Missouri ex rel. Nixon v. Craig, 163 F.3d 482, 485 (8th Cir. 1998)

       (alteration and quotation omitted). Instead, “[t]o qualify for this exception,” the

       defendant’s future “conduct also must be sufficiently similar to the past conduct such

       that it is permissible to say that the challenged conduct continues.” Corrigan v. Boston

       Univ., 98 F.4th 346, 353 (1st Cir. 2024) (alteration and quotation omitted). But here,

       even if the government were in the future to pause some funding stream, any

       challenge to that pause would be substantially different from plaintiffs’ challenges to

       the OMB Memorandum.

             For example, plaintiffs’ arbitrary-and-capricious claims turn on the specific

       features of the Memorandum—such as the particular explanation given in the

       Memorandum, the particular interests that OMB considered in issuing it, and even the

       specific implementation timeframe that it envisioned. See infra pp. 25-28. But any

       future decision to pause funding would come with new explanation, new

       consideration, and a new timeframe. Similarly, plaintiffs’ claims that the

       Memorandum is contrary to law rest in significant part on assertions that the

       Memorandum has been implemented in ways that affect specific programs whose

       payments are required by statute. See infra pp. 24-25. But again, any future decision

       would likely have a different scope affecting a different set of programs governed by
                                                   21
Case: 25-1236    Document: 00118290988         Page: 33     Date Filed: 05/27/2025      Entry ID: 6724071




       different statutes. Plaintiffs’ factbound claims against the OMB Memorandum are

       unlikely to recur.

              Even if plaintiffs’ claims against the OMB Memorandum were not altogether

       moot, their request for a preliminary injunction would be. Cf. University of Tex. v.

       Camenisch, 451 U.S. 390, 394 (1981) (explaining that “one issue in a case”—such as the

       “issue of preliminary injunctive relief”—may be moot even if “the case as a whole

       remains alive”). Because the “purpose of a preliminary injunction, unlike a permanent

       one, is to prevent any violation of the plaintiff’s rights before the district court enters

       a final judgment,” a preliminary-injunction request will be moot if there is no

       “reasonable possibility that” the challenged conduct will recur “while [the] case

       remains pending in the district court.” Ohio v. U.S. EPA, 969 F.3d 306, 309 (6th Cir.

       2020). By rescinding the Memorandum, the government has provided all that

       plaintiffs could hope to get from preliminary relief on their claims challenging the

       Memorandum. There is thus no way for a preliminary injunction against the

       Memorandum to “make a difference to the legal interests of the parties.” Corrigan, 98

       F.4th at 352. Of course, if any new funding pause were to be implemented, plaintiffs

       would be free to seek preliminary relief against that pause, ameliorating any possibility

       that plaintiffs’ rights will be violated before final judgment.




                                                    22
Case: 25-1236      Document: 00118290988       Page: 34     Date Filed: 05/27/2025      Entry ID: 6724071




              C.     Plaintiffs’ Challenges to the OMB Memorandum Fail on the
                     Merits

              Even before the OMB Memorandum was rescinded, plaintiffs’ challenges to

       the Memorandum were unavailing because the Memorandum was plainly lawful.

       Properly understood, the Memorandum constituted the routine exercise of the

       President’s authority to direct the Executive Branch.

              1. There should be no dispute that the President and OMB may issue policy

       guidance to federal agencies, including in the form of Executive Orders and

       memoranda that direct agency officials. See generally Seila Law LLC v. CFPB, 591 U.S.

       197, 203-04 (2020) (discussing how the President exercises his executive power by

       relying on subordinate officers subject to his direction). The President—and OMB,

       acting at the President’s direction—may properly exercise this authority by instructing

       agencies generally to pause or terminate federal funding that does not accord with the

       President’s policy priorities, to the extent agencies have authority to do so under

       governing law. Federal agencies often have broad discretion to determine how to

       implement funding programs, including to terminate funding based on policy

       preferences. See, e.g., 2 C.F.R. § 200.340(a)(4) (authorizing terminations “to the extent

       authorized by law, if an award no longer effectuates the program goals or agency

       priorities”); see infra pp. 37-40. Because agencies often can terminate funding awards

       for policy-based reasons, so too may the President and OMB “control and supervise”

       agencies’ decisions in this area. Sierra Club v. Costle, 657 F.2d 298, 406 (D.C. Cir. 1981).

                                                   23
Case: 25-1236    Document: 00118290988       Page: 35     Date Filed: 05/27/2025     Entry ID: 6724071




             Here, the President issued Executive Orders that simply direct federal agencies

       to pause or terminate federal funding programs that may not accord with the

       President’s priorities where such action is consistent with applicable law. And the

       OMB Memorandum helped implement those Executive Orders by establishing a

       process for reviewing federal funding and by directing agencies to pause funding—if

       consistent with applicable law—pending that review. That direction is plainly lawful,

       and the district court identified no meaningful defect.

             Instead, the district court emphasized its understanding that there are some

       “examples” of statutory schemes where Congress has “strictly prescribed how” funds

       must be spent, such that their obligation or disbursement cannot be paused. A28-29.

       The Memorandum—and the follow-on OMB guidance—explicitly accounted for that

       circumstance by repeatedly making clear that agencies should only pause funding “to

       the extent permissible by law.” A116. The Memorandum thus did not direct agencies

       to pause funding if doing so would violate applicable statutes. To the contrary, “if the

       agency [was] prohibited, by statute or other law, from implementing the

       [Memorandum], then the [Memorandum] itself instruct[ed] the agency to follow the

       law.” Building & Constr. Trades Dep’t v. Allbaugh, 295 F.3d 28, 33 (D.C. Cir. 2002). Any

       argument that a particular agency acted inconsistent with governing law could be

       raised as a separate claim against that agency, but it cannot be shoehorned into a

       challenge to a Memorandum that directs agencies to conform to governing law.


                                                  24
Case: 25-1236    Document: 00118290988         Page: 36    Date Filed: 05/27/2025      Entry ID: 6724071




              Although the district court believed that, in implementing the Memorandum,

       some agencies withheld funding in violation of mandatory funding statutes, that

       belief—even assuming it is correct—would not justify any conclusion that the

       Memorandum is unlawful. If an “agency does contravene the law in a particular

       instance, an aggrieved party may seek redress through any of the procedures ordinarily

       available to it.” Allbaugh, 295 F.3d at 33. But the “possibility that some agency might

       make a legally suspect decision” with regard to funding “does not justify an injunction

       against enforcement of a policy” that may be properly implemented in many

       circumstances. Id.; see also Common Cause v. Trump, 506 F. Supp. 3d 39, 47 (D.D.C.

       2020) (“We cannot ignore these repeated and unambiguous qualifiers imposing

       lawfulness and feasibility constraints on implementing the memorandum.”).

              2. For similar reasons, the arbitrary-and-capricious challenge provides no basis

       for upholding the district court’s order. At the outset, it bears repeating that because

       the Memorandum had been rescinded, the district court could review the arbitrary-

       and-capricious claim only if the particular controversy raised by that claim is likely to

       recur. That would require not only that OMB issue a similar memorandum in the

       future, but that it do so under similar circumstances and for the same reasons. Even

       if this Court does not regard other aspects of this appeal as moot, that circumstance is

       sufficiently unlikely that this claim is moot.

              In any event, even at the time it was issued, the OMB Memorandum was not

       arbitrary and capricious. That “standard requires that agency action be reasonable and
                                                    25
Case: 25-1236    Document: 00118290988        Page: 37     Date Filed: 05/27/2025     Entry ID: 6724071




       reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021).

       “Judicial review under that standard is deferential, and a court may not substitute its

       own policy judgment for that of the agency.” Id.

             The OMB Memorandum plainly met that standard. The Memorandum

       explained that its objective was to effectuate the President’s Executive Orders and

       “safeguard valuable taxpayer resources.” A115. To advance that objective, the

       Memorandum directed agencies to assess which funding programs may be implicated

       by the Executive Orders and to freeze funding—where legally permissible—for those

       programs pending additional review. A116. The connection between the

       Memorandum’s objective and its directions was plain: because substantial federal

       funds are spent every day—more than “$3 trillion” in federal funds “such as grants

       and loans” are expended annually, A115—the pause contemplated by the

       Memorandum was necessary to minimize the expenditure of funds inconsistent with

       the Administration’s policy priorities while the Administration reviewed funding.

             At the same time, the OMB Memorandum took steps to ameliorate any

       negative effects, exempting not only payments required by law but also any “assistance

       received directly by individuals.” A115 n.1. And the Memorandum permitted

       agencies to request additional exceptions “on a case-by-case basis.” A116. The

       record thus reflects that OMB “worked with agencies” to “approv[e] many programs

       to continue.” A171. That calibrated approach—particularly in the context of a


                                                  26
Case: 25-1236    Document: 00118290988       Page: 38     Date Filed: 05/27/2025     Entry ID: 6724071




       temporary pause designed to ensure that funding is consistent with the President’s

       priorities—satisfied the APA’s standard.

             In concluding otherwise, the district court stated that OMB had not reasonably

       explained the need for “a sweeping pause of nearly all federal financial assistance with

       such short notice” and had not engaged in “thoughtful consideration of practical

       consequences.” A31-32. But that characterization is incorrect on all levels. As

       explained, the OMB Memorandum did not contemplate “a sweeping pause of nearly

       all federal financial assistance” but instead applied only to certain funding programs

       related to specific Executive Orders. Regardless, the Memorandum expressly

       considered the consequences of the pause while providing carve-outs for mandatory

       payments and direct assistance to individuals.

             Even beyond its categorical carve-outs, the Memorandum provided for

       agencies to request exceptions as warranted for specific programs. That case-by-case

       approach was particularly reasonable in this context, where the Memorandum’s

       instructions would be implemented by many agencies across a wide variety of

       programs. Those agencies are best positioned to evaluate the practical consequences

       of pausing funding in each circumstance and to coordinate with OMB where

       exceptions are warranted by those consequences. Although the district court was

       concerned that the OMB Memorandum did not leave sufficient time for agencies to

       make those evaluations, A32, the need to make evaluations across different programs

       only underscores the reasonableness of OMB’s choice to have agencies—not the
                                                  27
Case: 25-1236    Document: 00118290988          Page: 39     Date Filed: 05/27/2025          Entry ID: 6724071




       OMB Memorandum itself—undertake those evaluations in the first instance, as the

       agencies did in conjunction with OMB “even before the pause” took effect. A171.

              3. Finally, no injunction can be properly predicated on a violation of the

       Impoundment Control Act (even apart from the fact that it was not part of the

       operative complaint at the time the preliminary-injunction motion was filed, see infra

       pp. 33-35). That statute requires the President to send a “special message” to

       Congress if the Executive Branch “proposes to defer any budget authority.” 2 U.S.C.

       § 684. That requirement is not enforceable by plaintiffs, cannot result in an injunction

       requiring the expenditure of funds, and was in any event not violated in this case.

              a. Two related limitations restrict plaintiffs from using the APA’s cause of

       action to enforce a statute where Congress did not intend such enforcement. A

       plaintiff may not seek review under the APA if “statutes preclude judicial review.”

       5 U.S.C. § 701(a)(1). The Supreme Court has accordingly recognized that, by

       providing a detailed scheme for review, Congress can displace the APA’s default cause

       of action. See, e.g., Block v. Community Nutrition Inst., 467 U.S. 340, 345 (1984).

       Preclusion of review is determined “not only from [the statute’s] express language,

       but also from the structure of the statutory scheme.” Id.

              In addition, to invoke the APA, a “plaintiff must establish that the injury” it

       complains of “falls within the zone of interests sought to be protected by the”

       relevant statute. Air Courier Conference of Am. v. American Postal Workers Union, 498 U.S.

       517, 523 (1991) (quotation omitted). That limitation reflects the common-sense
                                                    28
Case: 25-1236    Document: 00118290988         Page: 40     Date Filed: 05/27/2025      Entry ID: 6724071




       intuition that Congress does not intend to extend a cause of action to “plaintiffs who

       might technically be injured in an Article III sense but whose interests are unrelated to

       the statutory prohibitions” they seek to enforce. Thompson v. North Am. Stainless, LP,

       562 U.S. 170, 178 (2011). Thus, a plaintiff has no right of review if its “interests are

       so marginally related to or inconsistent with the purposes implicit in the statute that it

       cannot reasonably be assumed that Congress intended to permit the suit.” Clarke v.

       Securities Indus. Ass’n, 479 U.S. 388, 399 (1987).

              Nothing in the Impoundment Control Act suggests that Congress intended

       that its provisions be judicially enforceable by parties like plaintiffs here. To the

       contrary, the statute constructs a reticulated scheme to govern the relationship

       between the Legislative and Executive Branches when it comes to spending

       appropriations. That statute is built around the give-and-take between the political

       branches. Thus, the statute directs the President to notify Congress when he

       proposes to defer or rescind appropriated funds, see 2 U.S.C. §§ 683(a), 684(a), which

       allows Congress to determine how to respond given the circumstances of a specific

       proposal. And the statute specifies legislative action that Congress may undertake to

       address proposed rescissions. See id. § 688.

              To the extent that the statute contemplates any litigation, it provides for suits

       brought by the Comptroller General, a Legislative Branch official. 2 U.S.C. § 687.

       And the statute imposes limitations on the bringing of any such suit that reinforce

       Congress’s desire to control any response to the President, requiring the Comptroller
                                                    29
Case: 25-1236    Document: 00118290988        Page: 41     Date Filed: 05/27/2025     Entry ID: 6724071




       General to notify Congress of the contemplated suit and then wait until “25 calendar

       days of continuous session of the Congress” elapse before bringing it. Id. Regardless

       whether such a suit would be cognizable under Article III and the separation of

       powers, the statute does not contemplate enforcement at the behest of other parties.

       See id. § 681 (providing that “[n]othing contained in this Act, or in any amendments

       made by this Act, shall be construed” as “affecting in any way the claims or defenses

       of any party to litigation concerning any impoundment”). And the statute certainly

       does not contemplate that other parties could bring enforcement actions without

       regard to the limitations that Congress imposed for the Comptroller General.

             That scheme provides no role for plaintiffs to play in either the legislative or

       judicial enforcement processes. Rather, the scheme preserves the political branches’

       accountability for enacting and implementing the appropriations laws. And it

       accounts for the possibility that the Executive Branch may decide to withhold funds

       in a wide variety of contexts for a wide variety of reasons—some of which may

       implicate the Executive Branch’s own constitutional prerogatives, some of which may

       give Congress no concern at all, and some of which may draw a response from

       Congress affirmatively acquiescing in or rejecting the Executive Branch’s proposal.

       Cf. City of New Haven v. United States, 809 F.2d 900, 907 (D.C. Cir. 1987) (explaining

       how Congress has previously acknowledged that “the executive branch necessarily

       withholds funds on hundreds of occasions during the course of a fiscal year” and such

       delays may result from “the normal and orderly operation of the government”
                                                  30
Case: 25-1236    Document: 00118290988        Page: 42     Date Filed: 05/27/2025      Entry ID: 6724071




       (quotation omitted)). And any disputes between the President and Congress in this

       sphere may be “hashed out in the hurly-burly, the give-and-take of the political

       process between the legislative and the executive.” Trump v. Mazars USA, LLP, 591

       U.S. 848, 859 (2020) (quotation omitted).

             In short, permitting plaintiffs to challenge the Executive Branch’s spending

       decisions through an APA suit would “severely disrupt” the statute’s “complex and

       delicate” enforcement scheme. Block, 467 U.S. at 348. The Impoundment Control

       Act is directed at regulating the relationship between Congress and the Executive

       Branch. Nothing in the statute suggests that Congress intended to permit

       enforcement by third parties like plaintiffs, who hope to receive appropriated funds.

       See General Land Office v. Biden, 722 F. Supp. 3d 710, 733-35 (S.D. Tex. 2024); Public

       Citizen v. Stockman, 528 F. Supp. 824, 827-31 (D.D.C. 1981); Rocky Ford Hous. Auth. v.

       U.S. Dep’t of Agric., 427 F. Supp. 118, 134 (D.D.C. 1977).

             In any event, the district court’s preliminary injunction is not supported by the

       asserted Impoundment Control Act violation. The only violation found by the

       district court is that the President has deferred funds without sending the “special

       message” contemplated by the statute. But “injunctions must be tailored to the

       specific harm to be prevented.” Vaqueria Tres Monjitas, Inc. v. Irizarry, 587 F.3d 464,

       487 (1st Cir. 2009) (alteration and quotation omitted). At most, then, an appropriate

       injunction would require defendants to send the requisite message to Congress—it

       would not broadly prohibit funding pauses.
                                                   31
Case: 25-1236    Document: 00118290988       Page: 43     Date Filed: 05/27/2025     Entry ID: 6724071




             b. Even assuming that requirement may be enforced by plaintiffs and could

       support an injunction prohibiting the deferral of funds, the temporary pauses

       contemplated by the OMB Memorandum were not deferrals subject to the statute.

       Congress has expressly directed the Executive to apportion, or reapportion,

       appropriated funds to determine when to make them available to agencies to carry out

       federal law. 31 U.S.C. § 1512. The statute states that OMB will report to Congress

       under the Impoundment Control Act when it considers declining to obligate funds

       and instead creating a reserve “to provide for contingencies” or “to achieve savings

       made possible by or through changes in requirements or greater efficiency of

       operations.” Id. § 1512(c).

             The temporary pauses contemplated by the Memorandum did not rise to that

       level. To the contrary, such pauses are commonplace and accepted by the Legislative

       Branch. See City of New Haven, 809 F.2d at 901. The Government Accountability

       Office has approved of an agency “taking the steps it reasonably believes are

       necessary to implement a program efficiently and equitably, even if the result is that

       funds temporarily go unobligated.” James R. Jones, House of Representatives, B-203057,

       1981 WL 23385, at *4 (Comp. Gen. Sept. 15, 1981). It would be extraordinary if a

       new Administration could not, consistent with applicable law, assess ongoing

       government spending to ensure its alignment with the President’s priorities without

       triggering a process requiring Congress to determine whether the funds should be

       rescinded altogether. And if the Legislative Branch disagrees with the Executive
                                                  32
Case: 25-1236      Document: 00118290988       Page: 44     Date Filed: 05/27/2025     Entry ID: 6724071




       Branch’s understanding of its obligations, the proper resolution is not an APA suit by

       a nonfederal party.

       II.    The Preliminary Injunction Must Be Vacated Because It Covers a
              Vast Array of Additional Agency Decisions that Are Not Properly
              Enjoined

              The district court thus had no basis for enjoining the now-rescinded OMB

       Memorandum. To make matters worse, the district court’s order extends to a wide

       swath of agency decisions that go well beyond the OMB Memorandum that was

       ostensibly the final agency action at issue in this litigation. Those parts of the order

       were also procedurally and substantively flawed.

              A.     The Broad Injunction Was Procedurally Improper

              As an initial matter, this case was originally a challenge to the OMB

       Memorandum, and was still such a challenge at the time plaintiffs filed their

       preliminary-injunction motion. In their original complaint, plaintiffs identified “the

       OMB Directive” as the “agency action subject to the APA.” A97. They alleged that

       the OMB Memorandum exceeded any “authority conferred by statute” and

       “provide[d] no reasoned basis” for the contemplated pause of funding. A97-100.

       And they asked the district court for “declaratory and injunctive relief and vacatur . . .

       with respect to” the OMB Memorandum. A71-72; see also A104-05 (praying for relief

       solely against the “OMB Directive”). The government noted the focused nature of

       plaintiffs’ lawsuit in opposing preliminary relief. See, e.g., A298-303.



                                                   33
Case: 25-1236    Document: 00118290988       Page: 45     Date Filed: 05/27/2025     Entry ID: 6724071




             Perhaps recognizing the flaws in their challenge to the rescinded OMB

       Memorandum, plaintiffs amended their complaint the day after the government

       submitted its preliminary-injunction opposition. The amended complaint included a

       new plaintiff (the Governor of Kentucky1) and nearly doubled the number of agency

       defendants. Compare A309-19, with A74-81. Plaintiffs added an entirely new theory of

       liability, pleading for the first time a violation of the Impoundment Control Act. See

       A351. And plaintiffs shifted gears as to the object of their challenge, characterizing

       the whole panoply of agency funding decisions as part of an amorphous “Federal

       Funding Freeze” effectuated through the President’s Executive Orders and the OMB

       Memorandum. A306-07.

             Granting a preliminary injunction based on plaintiffs’ late-breaking

       amendments was improper. Plaintiffs materially altered and expanded the nature of

       their challenge while preliminary-injunction briefing was ongoing and after the

       government had responded to plaintiffs’ motion. Plaintiffs should not have been

       permitted to obtain interim relief that went beyond the ultimate relief requested in



             1
                Among the many problems that resulted from plaintiffs’ belated amendments
       to the complaint, their inclusion of this new plaintiff generated one of its own.
       According to the Attorney General of Kentucky, state law provides that the Attorney
       General—not the Governor—may represent the Commonwealth and seek relief on
       behalf of Commonwealth agencies. See Amicus Br. of Ky. (Mar. 26, 2025); see also
       Cameron v. EMW Women’s Surgical Ctr., P.S.C., 595 U.S. 267, 277 (2022) (“Respect for
       state sovereignty must also take into account the authority of a State to structure its
       executive branch in a way that empowers multiple officials to defend its sovereign
       interests in federal court.”).
                                                   34
Case: 25-1236    Document: 00118290988        Page: 46      Date Filed: 05/27/2025     Entry ID: 6724071




       their operative complaint. See Pacific Radiation Oncology, LLC v. Queen’s Med. Ctr., 810

       F.3d 631, 633 (9th Cir. 2015) (“When a plaintiff seeks injunctive relief based on claims

       not pled in the complaint, the court does not have the authority to issue an

       injunction.”); Alabama v. U.S. Army Corps of Eng’rs, 424 F.3d 1117, 1134 (11th Cir.

       2005) (“To secure preliminary injunctive relief, a petitioner must demonstrate a

       substantial likelihood of prevailing on at least one of the causes of action he has

       asserted.”). After all, the purpose of a preliminary injunction is to permit the district

       court to conduct a “full adjudication of the case’s merits.” Matos ex rel. Matos v. Clinton

       Sch. Dist., 367 F.3d 68, 72 (1st Cir. 2004) (quotation omitted).

              In addition, untethered to any concrete agency action that is properly before

       the Court, plaintiffs’ new claim constituted a thinly veiled programmatic attack on

       federal spending across a wide swath of federal agencies. Rather than urging that any

       particular decision was unlawful, plaintiffs attacked—and the district court enjoined—

       a category of actions that allegedly reflect an unlawful program. The Supreme Court

       has squarely rejected that approach. Even if the district court had identified some

       overarching obligation, courts are not “empowered to enter general orders compelling

       compliance with broad statutory mandates”; if so, “they would necessarily be

       empowered, as well, to determine whether compliance was achieved—which would

       mean that it would ultimately become the task of the supervising court, rather than

       the agency, to work out compliance with the broad statutory mandate.” Norton v.

       Southern Utah Wilderness All., 542 U.S. 55, 66-67 (2004).
                                                   35
Case: 25-1236     Document: 00118290988       Page: 47     Date Filed: 05/27/2025     Entry ID: 6724071




             Although the stay panel believed that this limitation did not apply because

       plaintiffs “do challenge discrete final agency actions,” the panel described those

       “discrete” actions as “decisions by the Agency Defendants to implement broad,

       categorical freezes on obligated funds.” A564. But that characterization underscores

       the problem: the “broad” freezes the stay panel described are, in reality, many

       individual decisions by dozens of agencies across a wide swath of programs, each

       governed by its own statutes. Attempting to amalgamate those countless discrete

       decisions into a single, challengeable “Federal Funding Freeze” is exactly the sort of

       programmatic attack that the Supreme Court rejected in Norton. As the stay panel

       pointed out, the government had not fleshed out the heterogeneity of those statutory

       schemes in the limited briefing available at the stay stage, but this more complete brief

       makes clear the impropriety of the district court’s broad-brush approach. See infra pp.

       37-44. In addition to its substantive flaws, discussed below, the district court’s

       injunction can be vacated on that basis alone.

             B.     Plaintiffs’ Claims Fail on the Merits

             Plaintiffs’ newly expanded claims were in any event flawed on the merits. The

       injunction bars agencies from pausing funds in situations where it is lawful to do so.

       It interferes with funding decisions that are committed to agency discretion and not

       judicially reviewable. And it requires agencies to release funds even when the district

       court has no power to order that relief. These fundamental issues plague the district

       court’s injunction, and there is no principled way to fashion a narrower injunction on
                                                  36
Case: 25-1236    Document: 00118290988       Page: 48     Date Filed: 05/27/2025     Entry ID: 6724071




       the present record. Because plaintiffs have failed to demonstrate their entitlement to

       the preliminary injunction before this Court, the injunction must be reversed.

                    1.     Numerous Covered Grant Programs Allow Funding
                           Pauses

             The plaintiff States participate in a vast number of grant programs, see A446-47

       (describing hundreds of grants to 19 plaintiff States across 30 grant programs

       administered by just one agency), and it is commonplace for those programs to

       provide ample room for the administering agency to pause funding. In entering a

       temporary restraining order, the district court acknowledged that “some aspects of the

       pause” contemplated in the OMB Memorandum “might be legal and appropriate

       constitutionally for the Executive to take.” A176. Yet the court did not attempt at

       the preliminary-injunction stage to ascertain the defendants’ legal authority to pause

       funding across the various programs where the States have “awarded grants, executed

       contracts, or other executed financial obligations.” A44. It was improper for the

       court to enjoin a whole swath of conduct without any showing that the Executive

       Branch’s actions were unlawful.

             In the absence of specific congressional direction, the Executive Branch has

       broad discretion to determine how best to allocate grant funding. In Lincoln v. Vigil,

       for example, the agency “discontinued the direct clinical services to Indian children in

       the Southwest,” even though Congress was aware of those services and had

       previously directed a pilot program for such services. 508 U.S. 182, 186-88 (1993).

                                                  37
Case: 25-1236    Document: 00118290988         Page: 49     Date Filed: 05/27/2025      Entry ID: 6724071




       Nonetheless, because “the appropriations Acts for the relevant period [did] not so

       much as mention the Program,” and the organic statutes spoke “about Indian health

       only in general terms,” there was no “legally binding obligatio[n]” to continue the

       services. Id. at 193-94. Although certain grant programs may “circumscribe agency

       discretion to allocate resources by putting restrictions in the operative statutes,” the

       lack of such directives leaves agencies free to “allocat[e] funds . . . to meet permissible

       statutory objectives.” Id. at 193.

              Here, even a brief review of the relevant funding frameworks demonstrates

       that agencies have authority to suspend and reorient funding. For example, plaintiffs

       discuss an award through which a public university in Massachusetts receives funding

       from the National Science Foundation. See A221. That award is funded under

       42 U.S.C. § 1862q, which directs the agency to award grants for science, technology,

       engineering, and mathematics education but does not require that any specific project

       or grantee receive funding. The relevant appropriations provide a lump sum “[f]or

       necessary expenses in carrying out [these] programs and activities.” Consolidated

       Appropriations Act, 2022, Pub. L. No. 117-103, div. B, tit. III, 136 Stat. 49, 139. And

       the form grant agreement states that “[t]he grant may be suspended or terminated in

       whole or in part” by the agency, “to the greatest extent authorized by law, if a grant

       [no] longer effectuates the program goals or agency priorities,” including without

       advance notice when “reasonable to protect the interests of the Government.”

       National Science Foundation, Research Terms & Conditions: Agency Specific Requirements
                                                   38
Case: 25-1236    Document: 00118290988         Page: 50     Date Filed: 05/27/2025      Entry ID: 6724071




       § 41(b)(2), (c) (Jan. 30, 2023), https://perma.cc/VUC3-QYJQ. In light of the

       governing statute, appropriations, and underlying agreement, the agency plainly has

       authority to temporarily pause funding to determine whether the grant continues to

       effectuate agency priorities.

              Plaintiffs also invoke certain highway grants administered by the Federal

       Highway Administration. See A229-30. The relevant program for low-carbon

       transportation materials grants is governed by 23 U.S.C. § 179, which appropriates an

       overall amount and defines the intended purpose, but does not mandate that any

       eligible recipient receive an award. Cf. Fed. Highway Admin., Dept. of Transp., Low-

       Carbon Transportation Materials Grants Program, https://perma.cc/UU7K-43SD.

       Standard grant conditions likewise provide that the agency may “terminat[e] or

       suspen[d]” the award “in whole or in part, at any time prior to its expiration date” if it

       no longer effectuates program goals or agency priorities. Fed. Highway Admin.,

       Dep’t of Transp. Contractors & Recipients General Terms and Conditions for Assistance

       Awards § 17, https://perma.cc/M7LK-D9SU. Again, nothing in this legal framework

       precludes the agency from implementing a short-term pause to review the program.

              The broad-brush nature of plaintiffs’ challenge makes it impossible to

       exhaustively document the full amount of discretion agencies retain as to each

       covered funding program and grant. The existence of that discretion under the

       appropriations statutes provides an additional reason, beyond those cited above, that

       the district court’s reliance on the Impoundment Control Act was mistaken. And the
                                                   39
Case: 25-1236    Document: 00118290988         Page: 51     Date Filed: 05/27/2025      Entry ID: 6724071




       exemplary discussion here underscores why it is inappropriate to litigate the issues

       divorced from a specific agency decision in the context of a specific funding program

       and a specific funding instrument. The district court justified its wide-ranging

       injunction by identifying only “a few examples” of funding programs that assertedly

       forbid temporary pauses in funding because they involve “formula grants.” A29. In

       doing so, the court erroneously neglected the multiple counterexamples, which suffice

       to show that plaintiffs have not carried their burden to establish that the conduct

       covered by the injunction is unlawful. See Winter, 555 U.S. at 20 (holding that “[a]

       plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

       the merits”). And as noted above, agencies were not directed to pause funding where

       doing so was prohibited by law; if plaintiffs identified a particular instance in which an

       agency violated its statutory responsibilities, plaintiffs could seek appropriate, tailored

       recourse against that agency.

              Moreover, although the stay panel excused the possibility that the district court

       had enjoined lawful behavior on the basis that the otherwise lawful funding freezes

       might be tied to the OMB Memorandum, A568-69, as discussed above no injunction

       is warranted based on the Memorandum itself. Especially at this much later date, no

       injunction can properly be allowed to continue based on an argument that the

       Memorandum improperly taints funding pauses that are themselves permitted under

       the relevant statutes—and that are, in any many cases, not subject to judicial review

       under the APA, see infra pp. 41-44.
                                                   40
Case: 25-1236    Document: 00118290988         Page: 52     Date Filed: 05/27/2025      Entry ID: 6724071




                     2.     Funding Decisions Are Frequently Committed to
                            Agency Discretion by Law

              In a similar vein, the district court’s preliminary injunction will operate to

       dictate certain decisions on funding even when those decisions are “committed to

       agency discretion by law.” 5 U.S.C. § 701(a)(2). Such discretionary actions fall outside

       the APA and are not subject to judicial review. Union of Concerned Scientists v. Wheeler,

       954 F.3d 11, 17 (1st Cir. 2020). The district court exceeded the bounds of the APA

       by ordering agencies to exercise or refrain from exercising their unreviewable

       discretion in a particular manner.

              The Supreme Court has expressly held that an agency decision to discontinue a

       previously funded program and reallocate those funds to other uses is committed to

       agency discretion by law. Lincoln, 508 U.S. at 185-88. The Court explained that the

       “allocation of funds from a lump-sum appropriation is” an “administrative decision

       traditionally regarded as committed to agency discretion” because the point of such

       appropriations “is to give an agency the capacity to adapt to changing circumstances

       and meet its statutory responsibilities in what it sees as the most effective or desirable

       way.” Id. at 192. In making this allocation, the agency must engage in “a complicated

       balancing of a number of factors” within “its expertise,” including “whether its

       resources are best spent on one program or another; whether it is likely to succeed in

       fulfilling its statutory mandate; whether a particular program best fits the agency’s

       overall policies; and, indeed, whether the agency has enough resources to fund a

                                                   41
Case: 25-1236    Document: 00118290988        Page: 53      Date Filed: 05/27/2025     Entry ID: 6724071




       program at all.” Id. at 193 (quotation omitted). As long the agency abides by the

       relevant statutes and by any self-imposed obligations that may arise from regulations

       or grant instruments, federal law “gives the courts no leave to intrude.” Id.

              Although the Supreme Court in Lincoln addressed lump-sum appropriations, its

       logic extends beyond lump-sum appropriations to other funding programs that permit

       the agency to decide “how the moneys” for a particular program “could best be

       distributed consistent with” the statute. Milk Train, Inc. v. Veneman, 310 F.3d 747, 751

       (D.C. Cir. 2002). Those decisions—like decisions regarding how best to allocate

       lump-sum appropriations across programs—“clearly requir[e] a complicated balancing

       of a number of factors which are peculiarly within [the agency’s] expertise.” Id. at 752

       (quotation omitted); see also Policy & Research, LLC v. U.S. Dep’t of Health & Human

       Servs., 313 F. Supp. 3d 62, 75-76 (D.D.C. 2018); cf. Community Action of Laramie Cty., Inc.

       v. Bowen, 866 F.2d 347, 354 (10th Cir. 1989) (“Funding determinations are notoriously

       unsuitable for judicial review, for they involve the inherently subjective weighing of

       the large number of varied priorities which combine to dictate the wisest

       dissemination of an agency’s limited budget.” (quotation omitted)).

              Many of the grant programs at issue here fall under that rubric. One statute

       appropriates a lump sum of $7 billion for the Environmental Protection Agency

       (EPA) “to make grants, on a competitive basis,” to “States, municipalities, Tribal

       governments, and eligible recipients” as part of a program called Solar for All “to

       enable low-income and disadvantaged communities to deploy or benefit from zero-
                                                   42
Case: 25-1236    Document: 00118290988        Page: 54      Date Filed: 05/27/2025      Entry ID: 6724071




       emission technologies,” including rooftop solar panels, “and to carry out other

       greenhouse gas emission reduction activities, as determined appropriate by the [EPA]

       Administrator.” 42 U.S.C. § 7434(a)(1). Another statute similarly appropriates a lump

       sum of $5 billion for EPA to “competitively award grants to eligible entities to

       implement plans” to reduce greenhouse gas air pollution. Id. § 7437(a)(1)-(2), (c)(1).

       The district court observed that the agency must “make a grant to at least one eligible

       entity in each State for the costs of developing [the] plan.” A28 (quoting 42 U.S.C.

       § 7437(b)). But that hardly eliminates the agency’s ability to determine how best to

       direct appropriated funds, particularly when funds are to be made available to grantees

       “in such amounts, upon such a schedule, and subject to such conditions” as the

       agency determines. 42 U.S.C. § 7437(c)(3).

              Plaintiffs also mention the Urban and Community Forestry Assistance Program

       for which the New York State Department of Environmental Conservation was

       awarded funding. See A235. The statutory language affords the agency significant

       leeway over how to achieve the program’s purposes. Under the statute, the

       Department of Agriculture “is authorized to provide financial, technical, and related

       assistance to State foresters or equivalent State officials for the purpose of

       encouraging States to provide information and technical assistance to units of local

       government and others that will encourage cooperative efforts to plan urban forestry

       programs.” 16 U.S.C. § 2105(c). And Congress appropriated certain funds “to

       provide multiyear, programmatic, competitive grants” for such programs. Pub. L.
                                                   43
Case: 25-1236    Document: 00118290988        Page: 55     Date Filed: 05/27/2025     Entry ID: 6724071




       No. 117-169, § 23003(a)(2), 136 Stat. 1818, 2026 (2022). Nothing in that language

       suggests that an agency must refrain from pausing funding to potentially redirect that

       funding to a different objective or recipient.

             The district court’s preliminary injunction applies across this entire range of

       federal funding programs without accounting for any differences between applicable

       statutes, regulations, or agreements. Its prohibitions subvert the defendant agencies’

       ability to consider the optimal distribution of funding to achieve statutory goals “in

       what [the agency] sees as the most effective or desirable way.” Lincoln, 508 U.S. at

       192. The APA does not allow for judicial review of those discretionary judgments

       that implicate agency expertise about allocating limited resources and advancing policy

       priorities. See id. at 193 (noting that funding decisions involve “a complicated

       balancing of a number of factors” (quotation omitted)). The district court

       overstepped its role in enjoining funding decisions within broad statutory mandates

       that do not limit an agency’s bases for decisionmaking.

                    3.     The District Court Lacks the Power to Order Direct
                           Monetary Payments

             The district court also appears to view the preliminary injunction as

       encompassing contractual disputes over which it lacks jurisdiction. The court justified

       the injunction in part based on the plaintiff States’ requests for “reimbursement” of

       “money that has been spent.” A35. But these sorts of claims that the plaintiff States

       are owed “specific sums already calculated, past due, and designed to compensate for

                                                   44
Case: 25-1236     Document: 00118290988        Page: 56     Date Filed: 05/27/2025    Entry ID: 6724071




       completed labors” lie “in the Tucker Act’s heartland” and therefore must be brought

       in the Court of Federal Claims, not district court. Maine Cmty. Health Options v. United

       States, 590 U.S. 296, 327 (2020).

              The dispute over funding administered by FEMA is illustrative. FEMA

       implemented a set of internal controls providing that staff would conduct a manual

       review of documentation submitted by grant recipients to ensure that payment

       requests are verified prior to payment being released. See A427. Plaintiffs brought

       this issue to the district court, contending that FEMA had taken too long to process

       their grant funding. See A52-53. In the guise of enforcing its preliminary injunction,

       the court ordered that FEMA may not “pause or otherwise impede the disbursement

       of appropriated federal funds to the States” on various bases. A59. The court

       “lacked jurisdiction to order [such] payment of money under the APA.” Department of

       Educ. v. California, 145 S. Ct. 966, 968 (2025) (per curiam).2

              Although the APA provides a limited waiver of the federal government’s

       sovereign immunity for claims seeking non-monetary relief, that waiver does not

       apply “if any other statute that grants consent to suit expressly or impliedly forbids


              2
                It is immaterial whether the district court’s order is viewed as going beyond
       the preliminary injunction. If the court is correct that its order “merely enforced [the]
       Preliminary Injunction,” A69, then it highlights the broader issues with that
       injunction. On the other hand, if the court’s order is better conceived as “modify[ing]
       the injunction,” id., then the order is independently appealable under 28 U.S.C.
       § 1292(a)(1) and subject to reversal on its own. Out of an abundance of caution, the
       government filed a timely appeal from the order, and this Court has consolidated the
       appeals.
                                                    45
Case: 25-1236    Document: 00118290988          Page: 57      Date Filed: 05/27/2025      Entry ID: 6724071




       the relief which is sought.” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v.

       Patchak, 567 U.S. 209, 215 (2012) (quotation omitted). One such statute is the Tucker

       Act, which provides that the “United States Court of Federal Claims shall have

       jurisdiction to render judgment upon any claim against the United States founded” on

       “any express or implied contract with the United States.” 28 U.S.C. § 1491(a)(1). The

       Tucker Act “impliedly forbids” bringing “contract actions” against “the government

       in a federal district court.” Albrecht v. Committee on Emp. Benefits of the Fed. Reserve Emp.

       Benefits Sys., 357 F.3d 62, 67-68 (D.C. Cir. 2004) (quotation omitted). This prohibition

       extends to claims founded on grants, like those at issue here, that are implemented

       through “contracts to set the terms of and receive commitments from recipients.”

       Boaz Hous. Auth. v. United States, 994 F.3d 1359, 1368 (Fed. Cir. 2021).

              As this Court has long recognized, a plaintiff thus may not maintain an APA

       suit where “the essence of the action is in contract”—and a plaintiff “cannot ‘by the

       mystique of a different form of complaint’ make it otherwise.” American Sci. & Eng’g,

       Inc. v. Califano, 571 F.2d 58, 63 (1st Cir. 1978) (quoting Sprague Elec. Co. v. Tax Court,

       340 F.2d 947, 948 (1st Cir. 1965)). Other courts of appeals, in determining whether

       “a particular action” is “at its essence a contract action” subject to the Tucker Act,

       have looked at both “the source of the rights upon which the plaintiff bases its

       claims” and “the type of relief sought (or appropriate).” Megapulse, Inc. v. Lewis, 672

       F.2d 959, 968 (D.C. Cir. 1982) (quotation omitted); accord Diaz v. Johnson, No. 19-1501,

       2020 WL 9437887, at *2 (1st Cir. Nov. 12, 2020) (declining to allow litigant to
                                                     46
Case: 25-1236    Document: 00118290988        Page: 58     Date Filed: 05/27/2025      Entry ID: 6724071




       “manufacture an APA claim by asking the court to declare that the failure to fund his

       proposal was an arbitrary or capricious act” where the alleged injury was “pecuniary in

       nature” and the litigant sought “monetary relief based on what he perceived as a

       contract”).

             The Supreme Court recently stayed another district court order to make

       payments based on certain grant agreements, concluding that the government was

       likely to succeed in showing that the Tucker Act grants the Court of Federal Claims

       jurisdiction over suits “to order the payment of money.” California, 145 S. Ct. at 968.

       There, a number of states challenged the Department of Education’s termination of

       various education-related grants, the district court temporarily enjoined the

       terminations, and this Court denied a motion to stay that injunction. See California v.

       U.S. Dep’t of Educ., 132 F.4th 92 (1st Cir. 2025). The Supreme Court granted the

       government’s request for relief, reaffirming that “the APA’s limited waiver of

       immunity does not extend to orders to enforce a contractual obligation to pay money

       along the lines of what the District Court ordered here.” California, 145 S. Ct. at 968

       (quotation omitted).

             That reasoning applies with full force here. As in California, plaintiffs in this

       case alleged a violation of “a contractual obligation to pay money.” 145 S. Ct. at 968

       (quotation omitted). The source of plaintiffs’ purported rights to payment from

       FEMA are the grant agreements, which bear the hallmarks of a contract. See Bennett v.

       New Jersey, 470 U.S. 632, 638 (1985) (noting that many “federal grant programs” are
                                                  47
Case: 25-1236    Document: 00118290988        Page: 59      Date Filed: 05/27/2025     Entry ID: 6724071




       “much in the nature of a contract ” (quotation omitted)); see also Columbus Reg’l Hosp. v.

       United States, 990 F.3d 1330, 1338 (Fed. Cir. 2021). Plaintiffs sought and obtained a

       judicial order compelling continued payment of funds under those particular FEMA

       grants. See A59 (ordering FEMA not to “pause or otherwise impede the disbursement

       of appropriated federal funds”).

              The district court did not deny that “the facts in the California case may appear

       to be generally analogous to the facts here.” A66. The court nonetheless sought to

       distinguish this case from California on the ground that here the court did not “review

       and analyze the contractual obligations or any provision of the agreements between

       FEMA and the States.” A67. But the relevant point is that the dispute sounds in

       contract because the agreements themselves create the asserted right to payment in

       the first instance and any obligation to continue making prompt payments would have

       to come from the grant terms. The district court also erred in relying on Bowen v.

       Massachusetts, 487 U.S. 879 (1988), which did not involve contracts with the

       government at all. See A68. Unlike a challenge that might lead to monetary payments

       as “a mere by-product,” Bowen, 487 U.S. at 910, obtaining specific monetary payments

       from FEMA was the entire aim of plaintiffs’ endeavor here. The Supreme Court

       distinguished Bowen on this precise basis in California. See 145 S. Ct. at 968 (contrasting

       Bowen as addressing situations where “setting aside an agency’s action may result in the

       disbursement of funds”).


                                                   48
Case: 25-1236    Document: 00118290988          Page: 60      Date Filed: 05/27/2025      Entry ID: 6724071




              In short, plaintiffs contend that FEMA is bound under grant agreements with

       plaintiffs “to pay out past-due grant obligations and to continue paying obligations as

       they accrue.” California, 145 S. Ct. at 968. The proper recourse for any asserted

       contractual violations is a “suit in the Claims Court for damages relating to [the]

       alleged breach,” not a suit in district court under the APA. Boaz Hous. Auth., 994 F.3d

       at 1368. That the district court understood its preliminary injunction to reach these

       sorts of disputes that the court has no power to decide underscores the impropriety of

       the injunction.

       III.   The Remaining Preliminary Injunction Factors Counsel Against
              Relief

              Because plaintiffs have not demonstrated a likelihood of success on the merits,

       this Court need not consider the remaining preliminary injunction factors. See Doe v.

       Trustees of Bos. Coll., 942 F.3d 527, 533 (1st Cir. 2019); OfficeMax, Inc. v. Levesque, 658

       F.3d 94, 100 (1st Cir. 2011). However, plaintiffs likewise failed to establish that these

       factors favor relief.

              The balance of harms and public interest overwhelmingly weigh against a

       preliminary injunction. See Nken v. Holder, 556 U.S. 418, 435 (2009) (noting that these

       factors merge in cases involving the government). The injunction here interferes with

       agencies’ ability to exercise their lawful authorities to implement the President’s policy

       directives. The injunction thus undermines the President’s unquestioned Article II

       authority to direct subordinate agencies how to exercise their own authorities, giving

                                                     49
Case: 25-1236    Document: 00118290988        Page: 61     Date Filed: 05/27/2025     Entry ID: 6724071




       rise to an intolerable intrusion on the prerogatives of the Executive Branch. The

       separation-of-powers problems are especially severe because the injunction purports

       to govern the manner in which a range of federal agencies make funding decisions

       across a spectrum of federal spending programs, and it extends even to lawful

       implementations of the President’s Executive Orders. See Mississippi v. Johnson, 71 U.S.

       (4 Wall.) 475, 501 (1867) (holding that courts lack jurisdiction “to enjoin the President

       in the performance of his official duties”).

             The preliminary injunction’s vague instructions exacerbate these harms. It

       enjoins the government defendants from “implementing” or “giving effect to” the

       OMB Memorandum “under a different name” without providing guidance as to what

       features matter to make that assessment. A44. And it enjoins the government

       defendants from pausing funds as “described” or “implied by” the President’s

       Executive Orders but identifies only one Executive Order while indicating that it is

       “by no means . . . limited to” that Executive Order. Id. The injunction’s nebulous

       language lacks the requisite detail and precision about the specific “act or acts

       restrained.” Fed. R. Civ. P. 65(d)(1)(C).

             If nothing else, the preliminary injunction threatens to chill agencies from

       taking legally permitted actions to review and realign funding. The district court

       purported to allow agencies to make funding decisions, informed by the President’s

       Executive Orders, in accordance with their “actual authority in the applicable

       statutory, regulatory, or grant terms.” A42-43 (quotation omitted). At the same time,
                                                   50
Case: 25-1236    Document: 00118290988         Page: 62      Date Filed: 05/27/2025      Entry ID: 6724071




       however, the court has determined that agency funding decisions are “based, covertly,

       on” one of the President’s Executive Orders when any connection can be traced back

       to such an Executive Order. A55-58. An injunction that has the effect of prohibiting

       agencies from carrying out the President’s lawful orders causes irreparable harm.

              Despite the district court’s assurances that it was not “micromanaging the

       administration of federal funds,” A4, the injunction it entered contemplates exactly

       such oversight. The injunction allows plaintiffs to bring all manner of funding

       disputes to a single district judge to pass judgment on compliance issues whenever

       plaintiffs dislike a funding decision made by any of the 23 agency defendants. Cf.

       A401-07, A415-18 (previewing potential future objections). Indeed, the court has

       already entertained multiple disputes involving hundreds of grants spanning dozens of

       grant programs administered by various agencies. See A189-92; A446-47. It is

       improper for the court to demand that the nearly two dozen agency defendants and

       their senior officials either seek judicial approval before exercising their lawful

       authority and discretion or face the risk of contempt proceedings. See A371 n.1

       (stating that plaintiffs “are not moving for contempt at this time”); see also Plaintiffs’

       Motion for Contempt at 9-10, Washington v. Trump, No. 25-cv-244 (W.D. Wash. Mar.

       6, 2025), Dkt. No. 243 (effort by one plaintiff State to seek contempt in a different

       case partly on the basis that the government has violated the orders in this case by

       relying on an Executive Order to withhold funding pursuant to lawful authorities).


                                                    51
Case: 25-1236    Document: 00118290988         Page: 63     Date Filed: 05/27/2025      Entry ID: 6724071




              The preliminary injunction will inflict harms on the government and the public

       that could not be unwound. If the government’s position is later vindicated in this

       litigation, there would be no guarantee that funds that the government obligated or

       disbursed pursuant to the district court’s order would be retrievable from the States or

       their subgrantees after the fact. See California, 145 S. Ct. at 968-69 (crediting “the

       Government’s representation that it is unlikely to recover the grant funds once they

       are disbursed”). There is no sound basis to compel the government to continue to

       take actions that the President considers “a waste of taxpayer dollars that d[o] not

       improve the day-to-day lives of those we serve.” A115.

              These irreversible harms far outweigh any asserted harms to plaintiffs.

       Plaintiffs have no cognizable interest in receiving federal funds to which they are not

       legally entitled or on a timeline that is not legally compelled. The district court could

       find irreparable harm only by presuming that federal funds would be cut off

       unlawfully, see A39, even though the government frequently enjoys broad authority to

       suspend and terminate funding instruments for policy reasons. Allowing the

       government—in accord with the plain terms of the Executive Orders—to make

       funding decisions consistent with federal law plainly serves the public interest.

              The district court focused on the alleged “pecuniary harm to the States and

       their residents.” A36. Even putting aside that States cannot invoke harms on behalf

       of their citizens in actions against the federal government, Haaland v. Brackeen,

       599 U.S. 255, 294-95 (2023), the district court overlooked that plaintiffs will receive
                                                   52
Case: 25-1236    Document: 00118290988        Page: 64     Date Filed: 05/27/2025      Entry ID: 6724071




       any funds that agencies are legally obligated to disburse. To the extent that plaintiffs

       have a justiciable legal dispute over a particular agency’s decision with respect to a

       particular grant in a particular program, plaintiffs can bring an action in an appropriate

       forum where a court can consider the arguments in the context of the relevant

       statutes, regulations, and funding instruments. See California, 145 S. Ct. at 969

       (explaining that plaintiffs “would not suffer irreparable harm” where “they can

       recover any wrongfully withheld funds through suit in an appropriate forum”). The

       possibility of individualized disagreements related to discrete actions on specific

       funding streams does not justify a preliminary injunction imposing continuous judicial

       monitoring over the entire suite of funding decisions made by a huge swath of the

       Executive Branch.




                                                   53
Case: 25-1236      Document: 00118290988    Page: 65     Date Filed: 05/27/2025        Entry ID: 6724071




                                        CONCLUSION

             For the foregoing reasons, the judgment of the district court should be

       reversed.

                                                     Respectfully submitted,

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                                                     SARA MIRON BLOOM
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       May 2025




                                                54
Case: 25-1236   Document: 00118290988        Page: 66      Date Filed: 05/27/2025   Entry ID: 6724071




                              CERTIFICATE OF COMPLIANCE

             This brief complies with the type-volume limit of Federal Rule of Appellate

       Procedure 32(a)(7)(B) because it contains 12,898 words. This brief also complies with

       the typeface and type-style requirements of Federal Rule of Appellate Procedure

       32(a)(5)-(6) because it was prepared using Word for Microsoft 365 in Garamond 14-

       point font, a proportionally spaced typeface.



                                                        s/ Brian J. Springer
                                                       Brian J. Springer
Case: 25-1236   Document: 00118290988        Page: 67     Date Filed: 05/27/2025      Entry ID: 6724071




                                 CERTIFICATE OF SERVICE

             I hereby certify that on May 27, 2025, I electronically filed the foregoing brief

       with the Clerk of the Court for the United States Court of Appeals for the First

       Circuit by using the appellate CM/ECF system. Service will be accomplished by the

       appellate CM/ECF system.


                                                       s/ Brian J. Springer
                                                      Brian J. Springer
Case: 25-1236   Document: 00118290988    Page: 68   Date Filed: 05/27/2025   Entry ID: 6724071




                                        ADDENDUM
Case: 25-1236        Document: 00118290988                      Page: 69           Date Filed: 05/27/2025                 Entry ID: 6724071




                                                  TABLE OF CONTENTS

       Memorandum and Order Granting Preliminary Injunction
           (Dkt. No. 161) .............................................................................................................A1

       Memorandum and Order Granting Motion to Enforce
           Preliminary Injunction (Dkt. No. 175) ................................................................. A46

       Order Denying Motion for Reconsideration
             (Dkt. No. 182) .......................................................................................................... A61
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   70 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 1 of 45     ID: 6724071
                                                                               PageID   #:
                                          8005



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

                                                )
      STATE OF NEW YORK; STATE OF               )
      CALIFORNIA; STATE OF                      )
      ILLINOIS; STATE OF RHODE                  )
      ISLAND; STATE OF NEW JERSEY;              )
      COMMONWEALTH OF                           )
      MASSACHUSETTS; STATE OF                   )
      ARIZONA; STATE OF COLORADO;               )
      STATE OF CONNECTICUT; STATE               )
      OF DELAWARE; THE DISTRICT                 )
      OF COLUMBIA; STATE OF                     )
      HAWAII; OFFICE OF THE                     )
      GOVERNOR ex rel. Andy Beshear, in         )
      his official capacity as Governor of      )
      the COMMONWEALTH OF                       )
                                                )
      KENTUCKY; STATE OF MAINE;
                                                )
      STATE OF MARYLAND; STATE OF
                                                )
      MICHIGAN; STATE OF                        )
      MINNESOTA; STATE OF NEVADA;               )
      STATE OF NEW MEXICO; STATE                )
      OF NORTH CAROLINA; STATE OF               )    C.A. No. 25-cv-39-JJM-PAS
      OREGON; STATE OF VERMONT;                 )
      STATE OF WASHINGTON; and                  )
      STATE OF WISCONSIN,                       )
                                                )
            Plaintiffs,                         )
      v.                                        )
                                                )
                                                )
      DONALD TRUMP, in his official
                                                )
      capacity as President of the United
                                                )
      States; U.S. OFFICE OF                    )
      MANAGEMENT AND BUDGET;                    )
      RUSSELL VOUGHT, in his official           )
      capacity as Director of the U.S. Office   )
      of Management and Budget; U.S.            )
      DEPARTMENT OF THE                         )
      TREASURY; SCOTT BESSENT, in               )
      his official capacity as Secretary of     )
      the Treasury; PATRICIA COLLINS,           )
      in her official capacity as Treasurer     )
      of the United States; U.S.                )
                                                )



                                                A1
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   71 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 2 of 45     ID: 6724071
                                                                               PageID   #:
                                          8006



      DEPARTMENT OF HEALTH AND                   )
      HUMAN SERVICES; ROBERT F.                  )
      KENNEDY, JR., in his official              )
      capacity as Secretary of Health and        )
      Human Services; U.S.                       )
                                                 )
      DEPARTMENT OF EDUCATION;
                                                 )
      LINDA MCMAHON, in her official
                                                 )
      capacity as Secretary of Education;        )
      U.S. DEPARTMENT OF                         )
      TRANSPORTATION; SEAN DUFFY,                )
      in his official capacity as Secretary of   )
      Transportation; U.S. DEPARTMENT            )
      OF LABOR; VINCE MICONE, in his             )
      official capacity as Acting Secretary      )
      of Labor; U.S. DEPARTMENT OF               )
      ENERGY; CHRIS WRIGHT, in his               )
      official capacity as Secretary of          )
      Energy; U.S. ENVIRONMENTAL                 )
                                                 )
      PROTECTION AGENCY; LEE
                                                 )
      ZELDIN, in his official capacity as
                                                 )
      Administrator of the U.S.                  )
      Environmental Protection Agency;           )
      U.S. DEPARTMENT OF THE                     )
      INTERIOR; DOUG BURGUM, in his              )
      official capacity as Secretary of the      )
      Interior; U.S. DEPARTMENT OF               )
      HOMELAND SECURITY; KRISTI                  )
      NOEM, in her capacity as Secretary         )
      of Homeland Security; U.S.                 )
      DEPARTMENT OF JUSTICE;                     )
      PAMELA BONDI, in her official              )
      capacity as Attorney General of the        )
                                                 )
      U.S. Department of Justice; THE
                                                 )
      NATIONAL SCIENCE                           )
      FOUNDATION; DR. SETHURAMAN                 )
      PANCHANATHAN, in his capacity              )
      as Director of the National Science        )
      Foundation; U.S. DEPARTMENT OF             )
      AGRICULTURE; BROOKE                        )
      ROLLINS, in her official capacity as       )
      Secretary of Agriculture; U.S.             )
      DEPARTMENT OF HOUSING AND                  )
      URBAN DEVELOPMENT; SCOTT                   )
      TURNER, in his official capacity as        )
                                                 )


                                                 2
                                                 A2
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   72 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 3 of 45     ID: 6724071
                                                                               PageID   #:
                                          8007



      Secretary of Housing and Urban            )
      Development; U.S. DEPARTMENT              )
      OF STATE; U.S. AGENCY FOR                 )
      INTERNATIONAL                             )
      DEVELOPMENT; MARCO RUBIO,                 )
                                                )
      in his official capacities as Secretary
                                                )
      of State and Acting Administrator of
                                                )
      the United States Agency for              )
      International Development; U.S.           )
      DEPARTMENT OF DEFENSE;                    )
      PETER HEGSETH, in his official            )
      capacity as Secretary of Defense; U.S.    )
      DEPARTMENT OF VETERANS                    )
      AFFAIRS; DOUG COLLINS, in his             )
      official capacity as Secretary of         )
      Veterans Affairs; U.S.                    )
      DEPARTMENT OF COMMERCE;                   )
      HOWARD LUTNICK, in his official           )
                                                )
      capacity as Secretary of Commerce;
                                                )
      NATIONAL AERONAUTICS AND
                                                )
      SPACE ADMINISTRATION; JANET               )
      PETRO in her official capacity as         )
      Acting Administrator of National          )
      Aeronautics and Space                     )
      Administration; CORPORATION               )
      FOR NATIONAL AND                          )
      COMMUNITY SERVICE;                        )
      JENNIFER BASTRESS                         )
      TAHMASEBI, in her official capacity       )
      as Interim Head of the Corporation        )
      for National and Community Service;       )
      U.S. SOCIAL SECURITY                      )
                                                )
      ADMINISTRATION; LELAND
                                                )
      DUDEK, in his official capacity as        )
      Acting Commissioner of United             )
      States Social Security                    )
      Administration; U.S. SMALL                )
      BUSINESS ADMINISTRATION; and              )
      KELLY LOEFFLER, in her official           )
      capacity as Administrator of U.S.         )
      Small Business Administration,            )
                                                )
             Defendants.                        )
                                                )



                                                3
                                                A3
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   73 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 4 of 45     ID: 6724071
                                                                               PageID   #:
                                          8008




                                 MEMORANDUM AND ORDER

       JOHN J. MCCONNELL, JR., United States District Chief Judge.

             The Executive’s categorical freeze of appropriated and obligated funds

       fundamentally undermines the distinct constitutional roles of each branch of our

       government. The interaction of the three co-equal branches of government is an

       intricate, delicate, and sophisticated balance—but it is crucial to our form of

       constitutional governance. Here, the Executive put itself above Congress. It imposed

       a categorical mandate on the spending of congressionally appropriated and obligated

       funds without regard to Congress’s authority to control spending. Federal agencies

       and departments can spend, award, or suspend money based only on the power

       Congress has given to them–they have no other spending power. The Executive has

       not pointed to any constitutional or statutory authority that would allow them to

       impose this type of categorical freeze. The Court is not limiting the Executive’s

       discretion or micromanaging the administration of federal funds. Rather, consistent

       with the Constitution, statutes, and caselaw, the Court is simply holding that the

       Executive’s discretion to impose its own policy preferences on appropriated funds can

       be exercised only if it is authorized by the congressionally approved appropriations

       statutes. Accordingly, based on these principles and the reasons stated below, the

       Court grants the States’ Motion for Preliminary Injunction. ECF No. 67.




                                                4
                                                A4
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   74 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 5 of 45     ID: 6724071
                                                                               PageID   #:
                                          8009



             I.     BACKGROUND

             We begin by restating the American government principles learned during

       critical civics education lessons in our youth. 1 Our founders, after enduring an eight-

       year war against a monarch’s cruel reign from an ocean away, understood too well

       the importance of a more balanced approach to governance. They constructed three

       co-equal branches of government, each tasked with their own unique duties, but with

       responsibilities over the other branches as a check in order to ensure that no branch

       overstepped their powers, upsetting the balance of the fledgling constitutional

       republic. See Kilbourn v. Thompson, 103 U.S. 168, 191 (1880). These concepts of

       “checks and balances” and “separation of powers” have been the lifeblood of our

       government, hallmarks of fairness, cooperation, and representation that made the

       orderly operation of a society made up of a culturally, racially, and socioeconomically

       diverse people possible.

             The three branches of our government—Legislative, Executive, and Judicial—

       derive their power from the United States Constitution; they function together, and

       one branch’s power does not supersede that of another.             “To the legislative

       department has been committed the duty of making laws; to the executive the duty



             1 “This is what it all comes down to: we may choose to survive as a country by

       respecting our Constitution, the laws and norms of political and civic behavior, and
       by educating our children on civics, the rule of law, and what it really means to be an
       American, and what America means. Or, we may ignore these things at our . . .
       peril.” A.C. v. Raimondo, 494 F. Supp. 3d 170, 181 (D.R.I. 2020), aff'd sub nom. A.C.
       by Waithe v. McKee, 23 F.4th 37 (1st Cir. 2022).




                                                  5
                                                 A5
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   75 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 6 of 45     ID: 6724071
                                                                               PageID   #:
                                          8010



       of executing them; and to the judiciary the duty of interpreting and applying them in

       cases properly brought before the courts.” Massachusetts v. Mellon, 262 U.S. 447, 488

       (1923); see also Wayman v. Southard, 23 U.S. (10 Wheat.) 1, 46 (1825) (Marshall,

       C.J.) (“[T]he legislature makes, the executive executes, and the judiciary construes

       the law”).   Importantly, James Madison wrote that this system prevents “[t]he

       accumulation of all powers, legislative, executive, and judiciary, in the same hands.”

       The Federalist No. 47, at 301 (C. Rossiter ed. 1961). Such an accumulation and

       concentration of power would pose an inherent “threat to liberty.” Clinton v. City of

       New York, 524 U.S. 417, 450 (1998) (Kennedy, J., concurring).

             The Legislative branch, consisting of two Houses of Congress elected by the

       citizens of the states, has the power to levy taxes, finance government operations

       through appropriations, and to set the terms and conditions on the use of those

       appropriations.   U.S. Const. art. I, §§ 8, 9.   Congress also makes laws, and the

       Constitution prescribes a specific procedure for it to follow involving the agreement

       of both the House of Representatives and the Senate and presentment of the final bill

       to the President for signature or veto. U.S. Const. art. I, §§ 1, 7. The President, as

       head of the Executive Branch, may recommend laws for Congress’s consideration,

       including those related to spending. U.S. Const. art. II, §§ 1, 3. Once the bill becomes

       the law, U.S. Const. art. I, § 7, the Constitution imposes on the President a duty to

       “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3. And Article

       III empowers the Judiciary with the “province and duty ... to say what the law is” in




                                                  6
                                                 A6
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   76 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 7 of 45     ID: 6724071
                                                                               PageID   #:
                                          8011



       particular cases and controversies. Marbury v. Madison, 1 Cranch 137, 5 U.S. 137,

       177 (1803); U.S. Const. art. III, § 2.

              Important to this case is how Congress uses its power to authorize spending to

       support federal programs and activities. One way is through an appropriation, which

       creates the legal authority to “make funds available for obligation” and to make

       “expenditure[s]” for the purposes, during the time periods, and in the amounts

       specified in the law authorizing the appropriations. See 2 U.S.C. § 622(2)(A)(i). An

       “obligation” is a “definite commitment that creates a legal liability of the government

       for the payment of goods and services ordered or received, or a legal duty on the part

       of the United States that could mature into” such a liability; an “expenditure,” also

       known as a “disbursement,” is the actual spending of federal funds. U.S. Gov’t

       Accountability Off., A Glossary of Terms Used in the Federal Budget Process, GAO-

       05-734SP, at 45, 48, 70 (Sept. 2005), https://www.gao.gov/assets/gao-05-734sp.pdf

       (“Budget Glossary”).

              Congress has enacted multiple statutes that affirm its control over federal

       spending.     First, the “purpose statute,” 31 U.S.C. § 1301(a), states that

       “[a]ppropriations shall be applied only to the objects for which the appropriations

       were made except as otherwise provided by law,”—that is, funds can be used only for

       the purposes that Congress has designated. Second, the Antideficiency Act prevents

       agencies from obligating or spending funds absent congressional appropriation. 31

       U.S.C. § 1341. Finally, the Congressional Budget and Impoundment Control Act of

       1974, 2 U.S.C. §§ 681 et seq. (“ICA”), permits the Executive Branch to “impound” (or




                                                 7
                                                 A7
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   77 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 8 of 45     ID: 6724071
                                                                               PageID   #:
                                          8012



       decline to spend) federal funds only under a very small set of highly circumscribed

       conditions.

             This case also involves the actions of agencies in receipt of statutorily

       appropriated federal funding. “When an executive agency administers a federal

       statute, the agency’s power to act is ‘authoritatively prescribed by Congress.’” City of

       Providence v. Barr, 954 F.3d 23, 31 (1st Cir. 2020) (quoting City of Arlington v. FCC,

       569 U.S. 290, 297 (2013)). “It is no exaggeration to say that ‘an agency literally has

       no power to act ... unless and until Congress confers power upon it.’”          City of

       Providence, 954 F.3d at 31 (quoting La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374

       (1986)).   In this case, there are specific statutory provisions instructing federal

       agencies to provide the States with categorical or formula grants where money is

       allocated on the basis of enumerated statutory factors such as population or the

       expenditure of qualifying state funds. ECF No. 114 ¶ 93. Several examples of these

       formula grants involve funding for Medicaid (42 U.S.C. § 1396(a), highway (23 U.S.C.

       § 104(a)(1), (b), (c)), special education services (the Individuals with Disabilities

       Education Act (“IDEA”), 20 U.S.C. §§ 1400 et seq.), for mental health and substance

       abuse treatment (42 U.S.C. §§ 300x(a), 300x-7(a), 300x-21(a), 300x-33(a)), power and

       heating for low-income residents, (the Low-Income Home Energy Assistance Program

       (“LIHEAP”), 42 U.S.C. § 8621(a)), the Infrastructure Improvement and Jobs Act

       (“IIJA”) (Pub. L. No. 117-58, 135 Stat. 429 (2021)) and Inflation Reduction Act (“IRA”)

       (Pub. L. No. 117-169, 136 Stat. 1818 (2022)) for projects ranging from highways, to

       broadband access, to pollution reduction, to increasing the reliability of the electric




                                                  8
                                                 A8
Case:Case
     25-1236    Document: 00118290988
          1:25-cv-00039-JJM-PAS        Page:
                                  Document   78 Filed
                                           161    Date Filed: 05/27/2025
                                                      03/06/25               Entry
                                                                  Page 9 of 45     ID: 6724071
                                                                               PageID   #:
                                          8013



       grid, and clean water. These statutes direct the agencies to make grants to states for

       enumerated purposes in accordance with congressional policies.

             With this backdrop, the Court moves to the Executive actions that spurred this

       lawsuit.

             A. The President’s Executive Orders and OMB Memorandum M-25-13

             The President issued a series of Executive Orders (“EOs”) in his first eight days

       of office, directing federal agencies to pause and review funding in connection with

       his policy priorities—specifically relating to:

             •    “terminating the Green New Deal” and requiring an immediate pause on
                  disbursement of funds appropriated under the IRA or IIJA (“Unleashing
                  EO”), ECF No. 68-1;
             •    pausing funding programs relating to “removable or illegal aliens”
                  (“Invasion EO”), ECF No. 68-3;
             •    identifying “diversity, equity, inclusion, accessibility” programs, in an effort
                  to “Ending Radical and Wasteful Government DEI Programs and
                  Preferencing” (“DEI EO”), ECF No. 68-2;
             •    ending federal funding of gender ideology (“Gender EO”), to ensure that
                  research or educational grants to medical institutions do not include federal
                  funds for transgender medical care (“Gender-Affirming Care EO”), ECF
                  Nos. 68-5, 65-8; and
             •    pausing federal foreign aid that is not in line “with the foreign policy of the
                  President of the United States” (“Foreign Aid EO”). ECF No. 68-6.

             On January 27, 2025, the Office of Management and Budget’s (OMB) Acting

       Director, Matthew J. Vaeth issued OMB Memorandum M-25-13 (“OMB Directive”),

       entitled “Temporary Pause of Agency Grant, Loan, and Other Financial Assistance

       Programs” to executive departments and agencies’ heads. See ECF No. 68-9. The

       OMB Directive instructed federal agencies to “complete a comprehensive analysis of

       all of their Federal financial assistance programs to identify programs, projects, and

       activities that may be implicated by any of the President’s executive orders.” Id. at 2.



                                                    9
                                                   A9
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   79 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 10 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8014



       Then, the OMB Directive mandated that, in the interim of the comprehensive

       analyses, “Federal agencies must temporarily pause all activities related to obligation

       or disbursement of all Federal financial assistance, and other relevant agency

       activities that may be implicated by the Executive Orders, including, but not limited

       to, financial assistance for foreign aid, nongovernmental organizations, DEI

       [diversity, equality, and inclusion], woke gender ideology, and the green new deal.”

       Id. Agencies had until February 10, 2025 to submit to the OMB “detailed information

       on any programs, projects, or activities subject to this pause.” Id. The OMB Directive

       further noted that the pause would continue “until OMB has reviewed and provided

       guidance” to the agencies in relation to the information submitted to the OMB. Id.

       The pause was set to “become effective on January 28, 2025, at 5:00 PM.” Id.

             B. The States’ Suit, the OMB Directive’s Rescission, and the TRO

             On January 28, the “States”—comprising twenty-two states and the District of

       Columbia—brought suit against the President and the heads of numerous federal

       executive departments and agencies, arguing that their actions to implement the

       OMB Directive violated: (1) the Administrative Procedure Act (“APA”), 5 U.S.C. § 701

       et seq. (Counts I, II); (2) the Separation of Powers (Count III); and the Spending,

       Presentment, Appropriations, and Take Care Clauses of the U.S. Constitution

       (Counts IV, V).   ECF No. 1.     Additionally, the States immediately moved for a

       temporary restraining order (“TRO”) to “restrain the Defendants from enforcing the

       OMB Directive’s directive to ‘pause all activities related to obligation or disbursement

       of all Federal financial assistance.’” ECF No. 3 at 3 (citing OMB Directive at 2). That




                                                 10
                                                A10
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   80 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 11 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8015



       same day, the U.S. District Court for the District of Columbia issued an

       administrative stay on the OMB Directive until it could hold a hearing on a separate

       motion for a TRO from coalitions of nonprofit organizations. See Nat’l Council of

       Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 314433 (D.D.C.

       Jan. 28, 2025).

             The next day, a hearing for the TRO motion was set for 3:00 p.m. (Hearing

       Notice Jan. 29, 2025) and the Defendants entered an appearance. ECF No. 39. But

       shortly before the hearing, the Defendants filed a notice stating that the OMB

       rescinded the OMB Directive and that the Plaintiffs’ claims and request for

       prospective relief were now moot. ECF No. 43. Nonetheless, the Court preceded with

       the TRO hearing at the States’ request. During the hearing the States argued against

       mootness, presenting White House Press Secretary Karoline Leavitt’s post-rescission

       announcement on X (formerly Twitter) stating that the federal funding freeze was

       not rescinded and that the President’s EOs remained in full force and effect. See

       Minute Entry Jan. 29, 2025; ECF No. 44; see also ECF No. 68-126 (screenshot of the

       Press Secretary’s X announcement). Feeling inclined to grant a TRO based on the

       evidence before it, the Court requested that the States submit, and the Defendants

       respond, to a proposed TRO order (Minute Entry Jan. 29, 2025)—a request the parties

       promptly complied with, see ECF Nos. 46, 49.

             Based on the Press Secretary’s announcement—along with supplemental

       evidence showing continued enforcement of the OMB Directive—the Court

       determined that the OMB Directive’s rescission was “in name only” and that the




                                               11
                                              A11
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   81 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 12 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8016



       “substantive effect of the directive carries on.” ECF No. 50 at 10. Thus, the Court

       found that the OMB Directive’s rescission did not moot the States’ claims and

       ultimately issued a TRO on January 31. See id. at 11-12. The TRO provided that the

       Defendants: “shall not pause, freeze, impede, block, cancel, or terminate [their]

       compliance with awards and obligations . . . to the States . . . except on the basis of

       the applicable authorizing statutes, regulations, and terms” and shall be enjoined

       from “from reissuing, adopting, implementing, or otherwise giving effect to the OMB

       Directive . . ..” Id. 2

               C. TRO Enforcement Order, The Defendants’ Appeal, And The Preliminary
                  Injunction Hearing
               A few days after the Court issued the TRO, it set an expedited briefing schedule

       on the States’ Motion for a Preliminary Injunction. See Text Order, Feb. 3, 2025.

       Then, on February 6, the Court extended the TRO’s duration, for good cause, until it

       could rule on the preliminary injunction motion. See Text Order, Feb. 6, 2025. A day

       later, the States filed an emergency motion to enforce the TRO, pointing to evidence

       that their access to federal funds was still being denied. 3 See ECF No. 66. Based on

       the evidence, the Court determined that there were “pauses in funding [that]

       violate[d] the plain text of the TRO” and granted the States’ Motion, ordering the




               2The Court later issued an order on February 10, making clear that the TRO
       also applied to funds paused under the Unleashing EO and the Unleashing Guidance.
       See ECF No. 96.
              3 The States filed another motion to enforce the TRO on February 28, 2025

       relating to FEMA funds that continue to be frozen despite the Court’s TRO and
       subsequent clarifying orders. ECF No. 160. The Court will address that motion later
       in this Order.


                                                  12
                                                 A12
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   82 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 13 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8017



       Defendants to end any federal funding pauses and take steps to carry out the TRO

       during its pendency. ECF No. 96 at 3-4.

             Soon after the Court granted the States’ emergency enforcement motion, the

       Defendants appealed to the First Circuit the Court’s: (1) TRO; (2) order extending the

       TRO’s duration, and: (3) order enforcing the TRO. ECF No. 98 at 1. The Defendants

       sought a stay of the Court’s orders from the First Circuit, including an immediate

       administrative stay. Id. The Defendants also filed a motion to stay, requesting the

       Court to stay its orders pending appeal. ECF No. 100. Ultimately, the First Circuit

       denied the Defendants’ motion for an administrative stay (ECF No. 106 at 2), the

       Court denied the Defendants’ motion to stay (ECF No. 111), and the Defendants then

       voluntarily dismissed their appeal. ECF Nos. 121, 122. In the meantime, the States

       amended their complaint. ECF No. 114.

             Eventually, after an expedited briefing period, the Court held a hearing on the

       preliminary injunction motion where the States presented evidence of the categorical

       pause in funding and the harms resulting. The Defendants did not rebut any of that

       evidence or introduce any evidence of their own but instead simply argued against

       the States’ Motion on other grounds. At the close of the arguments, the Court

       reiterated that the TRO was in full force and effect and took the States’ Motion for

       Preliminary Injunction under advisement.

             II.    STANDARD OF REVIEW

             “A request for a preliminary injunction is a request for extraordinary relief.”

       Cushing v. Packard, 30 F.4th 27, 35 (1st Cir. 2022). “To secure a preliminary



                                                 13
                                               A13
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   83 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 14 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8018



       injunction, a plaintiff must show ‘(1) a substantial likelihood of success on the merits,

       (2) a significant risk of irreparable harm if the injunction is withheld, (3) a favorable

       balance of hardships, and (4) a fit (or lack of friction) between the injunction and the

       public interest.’” NuVasive, Inc. v. Day, 954 F.3d 439, 443 (1st Cir. 2020) (quoting

       Nieves-Marquez v. Puerto Rico, 353 F.3d 108, 120 (1st Cir. 2003)). In evaluating

       whether the plaintiffs have met the most important requirement of likelihood of

       success on the merits, a court must keep in mind that the merits need not be

       “conclusively determine[d];” instead, at this stage, decisions “are to be understood as

       statements of probable outcomes only.” Akebia Therapeutics, Inc. v. Azar, 976 F.3d

       86, 93 (1st Cir. 2020) (partially quoting Narragansett Indian Tribe v. Guilbert, 934

       F.2d 4, 6 (1st Cir. 1991)). “To demonstrate likelihood of success on the merits,

       plaintiffs must show ‘more than mere possibility’ of success–rather, they must

       establish a ‘strong likelihood’ that they will ultimately prevail.” Sindicato

       Puertorriqueño de Trabajadores, SEIU Local 1996 v. Fortuño, 699 F.3d 1, 10 (1st Cir.

       2012) (per curiam) (quoting Respect Maine PAC v. McKee, 622 F.3d 13, 15 (1st Cir.

       2010)).

             III.   DISCUSSION

             A.     Jurisdiction

             The Defendants assert that the Court lacks jurisdiction to enter preliminary

       relief in this case because: (1) the OMB Directive’s rescission renders the States’

       claims—or at least their request for preliminary relief—moot; and (2) the States have




                                                  14
                                                 A14
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   84 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 15 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8019



       not established standing to challenge the OMB Directive. See ECF No. 113 at 11-22.

       The Court will address each argument in turn.

                    1.     Mootness

             The Defendants contend that the States’ claims here are directed only against

       the OMB Directive, and thus the rescission of the OMB Directive renders the States’

       claims moot. Id. at 11. They assert that the States’ allegations of ongoing harms,

       such as continued funding freezes, do not stem from the challenged OMB Directive

       but from actions that are not challenged in the States’ Complaint. Id. at 13. Those

       purportedly unchallenged actions that the Defendants suggest are the true basis for

       the States’ ongoing harms are: (1) independent agency decisions not based on the

       OMB Directive; and (2) the issuance of OBM Memorandum M-25-11 (the “Unleashing

       Guidance”)—which directed agencies to immediately pause certain disbursement of

       funds appropriated under the IRA and the IIJA. 4 Id. at 14-15.

             The OMB Directive’s rescission does not render the States’ claims moot. The

       voluntary cessation doctrine precludes a finding of mootness in this case.         The

       voluntary cessation doctrine gives rise to a mootness exception when the following

       two-part test is met: (1) the defendant voluntarily ceased the challenged conduct to

       moot the plaintiff’s case; and (2) there is a reasonable expectation that the defendant

       will repeat the challenged conduct after the lawsuit’s dismissal. Lowe v. Gagné-



             4 After the Defendants responded to the States’ preliminary injunction motion,

       the States filed an Amended Complaint to explicitly include challenges to the
       Unleashing Guidance, the related Unleashing EO, and the general implementation
       of funding freezes based on the President’s EO. See ECF No. 114 ¶¶ 192, 203-04,
       208-09, 215-17, 225-26, 231-32, 237-38, 244-46.


                                                 15
                                                A15
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   85 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 16 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8020



       Holmes, 126 F.4th 747, 756 (1st Cir. 2025) (citing Bos. Bit Labs, Inc. v. Baker, 11

       F.4th 3, 9 (1st Cir. 2021)). Here, there was a rescission of the challenged OMB

       Directive, see ECF No. 68-12, but as the Court has previously found, the evidence

       suggests that the OMB Directive’s rescission was in name only and “may have been

       issued simply to defeat the jurisdiction of the courts.” ECF No. 50 at 10. The Court

       made this finding, in part, based on a statement from the White House Press

       Secretary after the OMB Directive’s rescission, stating:

             This is NOT a rescission of the federal funding freeze. It is simply a
             rescission of the OMB memo. Why? To end any confusion created by
             the court’s injunction. The President’s EO’s on federal funding remain
             in full force and effect, and will be rigorously implemented. 5

       ECF No. 68-126; ECF No. 50 at 10-11. The Defendants’ contentions that the sole goal

       of that statement was “ending confusion” and “focusing agencies on the legal effect of

       the President’s recent Executive Orders” are unavailing. ECF No. 113 at 16. The

       Press Secretary’s statement reflects that the OMB Directive’s rescission was a direct

       response to a court-issued stay against the OMB Directive so that the challenged

       federal funding freeze could continue without any judicially-imposed impediment.

       Therefore, the Defendants’ voluntary rescission of the OMB Directive was a clear

       effort to moot legal challenges to the federal funding freeze announced in the OMB

       Directive.




             5  The injunction referenced in the Press Secretary’s statement is the
       administrative stay another federal court issued against the OMB Directive’s
       instructions to agencies to “pause ... disbursement of Federal funds under all open
       awards.” See Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239
       (LLA), 2025 WL 314433, at *2 (D.D.C. Jan. 28, 2025).


                                                16
                                               A16
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   86 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 17 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8021



             Nor have the Defendants met their heavy burden of illustrating that it is

       “‘absolutely clear that the allegedly wrongful behavior could not reasonably be

       expected to recur.’” Brown v. Colegio de Abogados de Puerto Rico, 613 F.3d 44, 49

       (1st Cir. 2010) (quoting Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.,

       528 U.S. 167, 189 (2000)). The Defendants purport that a reinstatement of the

       challenged OMB Directive, absent an injunction, is a fear that is “wholly speculative

       given the existence of the President’s Executive Orders which separately address the

       President’s priorities.” ECF No. 113 at 16.      But nothing suggests that the OMB

       voluntarily abandoned the OMB Directive because they believed that: (1) the

       President’s EOs, alone, sufficiently instructed agencies on how to implement the

       President’s priorities; or (2) the OMB Directive was deficient or exceeded the

       Defendants’ constitutional or statutory authority.      See ECF No. 68-12 (recission

       without explanation). Rather, as explained above, the Press Secretary’s statement

       reflects that the OMB Directive’s rescission was in direct response to litigation that

       impeded the execution of a federal funding freeze. Thus, the rationale underlying the

       OMB Directive’s rescission makes it unreasonable to conclude that the Defendants

       will not reinstate the challenged funding freeze absent an injunction from this Court.

       Accordingly, the States’ challenges are not moot based on the OMB Directive’s

       rescission.

             Next, the Defendants claim that the States’ request for preliminary relief is

       moot because, by rescinding the OMB Directive, the Defendants have “voluntarily

       provided the prospective injunctive relief that the States sought in their Complaint.”




                                                 17
                                                A17
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   87 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 18 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8022



       ECF No. 113 at 17. Since the Defendants’ submission of their Opposition to the

       States’ Motion for Preliminary Injunction, the States have filed an Amended

       Complaint that clarifies the scope of their claims and requests for relief. See ECF

       No. 114.   The States request that the Court preliminarily enjoin the Agency

       Defendants from implementing “the Federal Funding Freeze” “effectuated through

       EOs, the Unleashing [Guidance], the OMB Directive, and other agency actions . . ..”

       Id. ¶ 246. The States’ request for a preliminary injunction makes clear that they are

       challenging a pause on federal funding that was implemented under not only the

       OMB Directive, but also to the EOs incorporated therein and other agency actions

       such as the OMB’s issuance of the Unleashing Guidance. Thus, the rescission of the

       OMB Directive does not provide the States with all the prospective relief they have

       requested. 6 Accordingly, the States’ preliminary injunction request is not moot.

                    2.    Standing

             The Defendants assert that the States lack standing to challenge the OMB

       Directive, particularly with respect to claims based on funding streams that “(1) are

       not within the scope of the OMB Memo; (2) are not managed by any of the Defendant

       agencies; or (3) benefit other States or third parties that are not plaintiffs in this

       case.” ECF No. 113 at 18-19. “To have standing, a plaintiff must ‘present an injury

       that is concrete, particularized, and actual or imminent; fairly traceable to the




             6  Additionally, various funding disruptions that occurred after the Court’s
       TRO—and that continue to the present day—underscore how the Directive’s
       rescission does not suffice as “voluntarily” providing the States all the prospective
       relief they request. See ECF No. 96 at 3.


                                                18
                                               A18
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   88 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 19 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8023



       defendant’s challenged behavior; and likely to be redressed by a favorable ruling.’”

       Dep’t of Com. v. New York, 588 U.S. 752, 766 (2019) (quoting Davis v. Fed. Election

       Comm’n, 554 U.S. 724, 733 (2008)). The Defendants contend that the States seek to

       bring five claims against “thousands of various agency funding streams,” and thus

       must demonstrate standing for each claim against each funding stream. ECF No.

       113 at 18. But the States’ claims are not against funding streams. 7 Rather, the

       States’ claims focus on the Defendants’ actions, which seek to inhibit access to

       obligated funds indefinitely and indiscriminately—without reference to statute,

       regulations, or grant terms.

             The States have introduced dozens of uncontested declarations illustrating the

       effects of the indiscriminate and unpredictable freezing of federal funds, which

       implicate nearly all aspects of the States’ governmental operations and inhibit their

       ability to administer vital services to their residents. 8 These declarations reflect at

       least one particularized, concrete, and imminent harm that flows from the federal

       funding pause—a significant, indefinite loss of obligated federal funding. And such



             7 Even if the States’ claims were targeted at these “thousands” of funding

       streams, their inability to feasibly take a program-by-program, grant-by-grant
       approach to raising their challenges is the consequence of the Defendants’ broad,
       sweeping efforts to indefinitely stop nearly all faucets of federal funding from flowing
       to carry out the President’s policy priorities, without regard to Congressional
       authorizations. One cannot set one’s house on fire and then complain that the
       firefighters smashed all the windows and put a hole in the roof trying to put it out.
              8 See e.g., ECF Nos. 68-99 ¶ 11, 12; 68-18 ¶¶ 17-19; 68-102 ¶¶ 4-6 (effects on

       public safety and emergency management services); 68-31 ¶¶ 6, 7; 68-32 ¶ 13 (effects
       on health care services); 68-75 ¶¶ 6-8; 68-76 ¶ 5; 68-89 ¶ 5 (effects on State education
       services); 68-113 ¶¶ 45, 60-61; 68-95 ¶¶ 8-13; 66-123 ¶¶ 5, 29 (effects on
       environmental safety and energy development); 68-76 ¶¶ 7-19; 68-86 ¶¶ 9-10; 68-116
       ¶¶ 15-16, 21 (effects on childcare services and child welfare).


                                                 19
                                                A19
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   89 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 20 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8024



       a harm is fairly traceable to the Defendants’ conduct via their acts to implement a

       widespread federal funding pause under the OMB Directive, the EOs incorporated

       therein, and the Unleashing Guidance. Granting this Motion in the States’ favor will

       more than likely redress their injuries because it would inhibit the abrupt, indefinite

       pause of obligated federal funds on which the States rely to administer vital services

       to their residents. Accordingly, the States have the requisite standing to challenge

       the federal funding freeze.

             Now that the Court has jumped over these initial hurdles, it moves to

       resolution of the States’ preliminary injunction motion.

             B.     Likelihood of Success on the Merits

                    1. Administrative Procedure Act Claims

             The States assert that the Agency Defendants’ 9 implementation of the federal

       funding freeze, without regard to relevant authorizing statutes and regulations,

       violates the Administrative Procedure Act (“APA”) because such actions violate the

       law, are ultra vires, and arbitrary and capricious. ECF No. 67 at 52 (citing 5 U.S.C.

       § 706(2)(A)). To begin, the Court must address the Defendants’ arguments that the

       States’ APA claims do not fall within the Court’s subject matter jurisdiction.

                           a. Final Agency Action

             The APA allows judicial review of “final agency action for which there is no

       other adequate remedy in a court.” 5 U.S.C. § 704. An agency action is “final” if: (1)




             9 “Agency Defendants” refers to the federal executive agencies and
       departments that are parties in this suit.


                                                 20
                                                A20
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   90 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 21 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8025



       it marks the “‘consummation’ of the agency’s decisionmaking process,” and (2) the

       action determines rights or obligations or creates legal consequences. Harper v.

       Werfel, 118 F.4th 100, 116 (1st Cir. 2024) (citing Bennett v. Spear, 520 U.S. 154, 177

       (1997)).

             The States identify: (1) the OMB Directive itself; and (2) the Agency

       Defendants’ implementation of a categorical federal funding freeze, under the OMB

       Directive and Section 7(a) of the Unleashing EO, as final agency actions. ECF No. 67

       at 53. The Defendants contend that the OMB Directive and other “guidance” about

       implementing the President’s priorities are not final agency actions because the OMB

       Directive did not determine which funds or grants should be paused but required

       agencies to make such a determination under their respective authorities. ECF

       No. 113 at 28.

             To suggest that the challenged federal funding freezes were purely the result

       of independent agency decisions rather than the OMB Directive or the Unleashing

       Guidance is disingenuous. Recall that the OMB Directive informed agencies that

       they “must complete a comprehensive analysis of all of their Federal financial

       assistance programs to identify programs, projects, and activities that may be

       implicated by any of the President’s executive orders.” ECF No. 68-9 at 2. The OMB

       Directive mandated that “[i]n the interim” of these comprehensive analyses, “Federal

       agencies must temporarily pause all activities related to obligation or disbursement

       of all Federal financial assistance, and other relevant agency activities that may be

       implicated by the executive orders . . ..” Id. (second emphasis added). Elsewhere, the




                                                21
                                               A21
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   91 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 22 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8026



       OMB Directive emphasized that “[e]ach agency must pause . . . disbursement of

       Federal funds under all open awards.” Id.

             The record makes clear that following the OMB Directive’s issuance—and even

       before it was set to take effect—many of the States found themselves unable to draw

       down appropriated and awarded funding because they were completely shut out from

       accessing federal funding payment portals such as the Payment Management

       Services (“PMS”). 10 As the States highlight, such a wholesale shutdown does not

       suggest that agencies made individualized assessments of their statutory authorities

       and relevant grant terms before making the determination to blanketly pause access

       to obligated funds. 11 And how could these agencies make such assessments? The

       OMB Directive explicitly stated that the “temporary funding pause will become

       effective on January 28, 2025, at 5:00 PM”—a mere day after the Directive was




             10 See e.g., ECF Nos. 68-100 ¶ 8 (Oregon unable to access Medicaid federal

       funding system for entire day on January 28); 68-93 ¶ 6 (New York State Comptroller
       Office unable to draw over $70 million in obligated federal funds); 68-118 ¶ 18
       (Washington’s DCYF unable to draw down funds on morning of January 28—faced
       with message from federal payment system stating, “Temporary Pause on
       Disbursement of Federal Financial Assistance”); 68-55 ¶¶ 27-28 (New York’s DCFS
       unable to draw down funds from PMS on morning January 28—faced with message
       stating: “Due to [EOs] regarding potentially unallowable grant payments, PMS is
       taking additional measures to process payments. Reviews of applicable programs and
       payments will result in delays and/or rejections of payments.”).
              11 While the Defendants claim that the Directive and the EOs required the

       agencies to pause funding and impose restriction on obligated funds consistent with
       the law, the undisputed evidence before the Court is that adding the “consistent with
       the law” caveat was nothing more than window dressing on an unconstitutional
       directive by the Executive. This is clear because when the Court clarified its TRO,
       when faced with evidence that the Defendants continued to freeze obligated funding,
       the money flowed once again.



                                                22
                                               A22
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   92 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 23 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8027



       issued. Id. As another court faced with a similar challenge to the OMB Directive

       underscored “it is unclear whether twenty-four hours is sufficient time for an agency

       to independently review a single grant, let alone hundreds of thousands of them.”

       Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL

       368852, at *8 (D.D.C. Feb. 3, 2025). Overall, the OMB Directive amounted to a

       command, not a suggestion, that Agency Defendants shall execute a categorical,

       indefinite funding freeze to align funding decisions with the President’s priorities.

       Such a command, along with the Agency Defendants swift actions to execute the

       categorical   funding   freeze,   marked    the   “consummation   of   each   agency’s

       decisionmaking process to comply with the President’s executive order, the OBM

       [Directive], or both.” Drs. for Am. v. Off. of Pers. Mgmt., No. CV 25-322 (JDB), 2025

       WL 452707, at *5 (D.D.C. Feb. 11, 2025).

             The same analysis applies to the Agency Defendants’ acts implementing

       funding pauses under Section 7(a) of the Unleashing EO and the OMB’s Unleashing

       Guidance.     The Unleashing Guidance largely reiterates the Unleashing EO’s

       instruction that agencies immediately pause disbursements of funds under the IRA

       or IIJA and does not even attempt to allow for agency discretion. 12 See ECF No. 68-

       13 at 2.    And agencies, such as the Department of Energy (DOE) and the U.S.

       Department of Agriculture acted quickly to implement the pause of appropriated IIJA




             12 The most that the Unleashing Guidance advances is an attempt to limit the

       pause of IRA/IIRA to only to “funds supporting programs, projects, or activities that
       may be implicated by the policy established in section 2 of the [Unleashing] order.”
       See ECF No. 68-13.

                                                  23
                                                  A23
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   93 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 24 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8028



       and IRA funds. See ECF Nos. 68-123 ¶¶ 33, 36, 37; 68-92 ¶¶ 14-15. Thus, the

       implementation of those IIJA and IRA funding pauses likely marked the

       consummation of each agency’s decision to comply with the Unleashing EO, the

       Unleashing Guidance, or both, not to exercise its discretion.

             As to the second finality factor, the evidentiary record sufficiently shows that

       the abrupt, categorical, and indefinite pause of obligated federal funds is the direct,

       appreciable legal consequence that States have suffered from the Agency Defendants’

       actions implementing the funding pauses commanded in the OMB Directive and the

       Unleashing EO. Accordingly, the Agency Defendants’ actions suffice as “final agency

       action” as to permit the Court’s judicial review of such actions under the APA.

             Returning to the merits, the Court must decide whether the States are likely

       to succeed on their claim that the Defendants’ implementation of the federal funding

       freeze was contrary to law, ultra vires, and arbitrary and capricious. Under the APA,

       a court must “hold unlawful and set aside agency action, findings, and conclusions” if

       they are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

       with law.” 5 U.S.C. § 706(2)(A). Because this standard is “quite narrow: a reviewing

       court ‘may not substitute its judgment for that of the agency, even if it disagrees with

       the agency’s conclusions.’”   Atieh v. Riordan, 797 F.3d 135, 138 (1st Cir. 2015)

       (quoting River St. Donuts, LLC v. Napolitano, 558 F.3d 111, 114 (1st Cir. 2009)).

       Therefore, a reviewing court must uphold an agency’s decision if it is: (1) devoid of

       legal errors; and (2) “supported by any rational review of the record.” Mahoney v. Del

       Toro, 99 F.4th 25, 34 (1st Cir. 2024) (quoting Atieh, 797 F.3d at 138). The Court will




                                                 24
                                                A24
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   94 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 25 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8029



       first discuss whether the Defendants’ actions were contrary to law and then turn to

       whether such acts were arbitrary and capricious.

                          b. Contrary to Law and Ultra Vires Actions

             The States assert that the Defendants acted contrary to law and exceeded their

       statutory authority when imposing the challenged federal funding freeze. “When an

       executive agency administers a federal statute, the agency’s power to act is

       ‘authoritatively prescribed by Congress.’” City of Providence v. Barr, 954 F.3d 23, 31

       (1st Cir. 2020) (quoting City of Arlington v. FCC, 569 U.S. 290, 297 (2013)).

       Therefore, “an agency literally has no power to act ... unless and until Congress

       confers power upon it.” Id. (quoting La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355,

       374, (1986)). Any action an agency takes that is beyond the limits of its statutory

       authority is ultra vires and violates the APA. Id.

             The statutory scheme governing federal appropriations are at the forefront of

       the States’ ultra vires and “contrary to law” claims against the Agency Defendants.

       The States contend that the ICA 13 permits the Executive to defer or decline the

       expenditure of appropriated federal funds only under certain limited conditions that

       are not present here. See ECF No. 67 at 45, 54-55. They highlight that such an

       expenditure deferral cannot be made based on policy reasons but only on the



             13 The Defendants assert that because the ICA does not provide for a private

       right of action, the statute is “generally not enforceable through an APA suit.” ECF
       No. 113 at 44 (citing Gen. Land Off. v. Biden, 722 F. Supp. 3d 710, 734-35 (S.D. Tex.
       2024)). The Court declines to adopt such a narrow view of what it may consider when
       determining whether an agency has acted “not in accordance with law” under the
       APA. In the Court’s view, “not in accordance with law,” refers to “any law.” F.C.C. v.
       NextWave Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003).

                                                25
                                               A25
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   95 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 26 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8030



       permissible bases listed under the ICA. See id. at 54 (citing 2 U.S.C. § 684(b)); Mem.

       of Gen. Accountability Off., Office of Management and Budget—Withholding of

       Ukraine Security Assistance, B-331564, at 6 (Jan. 16, 2020), https://perma.cc/6TMT-

       3CH2. The States also note that the ICA requires the Executive to send a “special

       message” to Congress explaining proposed deferrals. Id. at 55 (2 U.S.C. § 684(a)).

       Thus, the States argue that the federal funding freeze exceeded the Defendants’

       authority and contravened the ICA because: (1) the freeze, or deferral, was

       impermissibly based on “policy disagreement with Congressional priorities;” and (2)

       the Executive failed to send the required “special message” to Congress detailing the

       numerous proposed deferrals.

             The ICA provides that “[w]henever the President, the Director of the [OMB],

       [or] the head of any [U.S.] department or agency . . . proposes to defer any budget

       authority provided for a specific purpose or project,” the President must send a

       “special message” to Congress detailing the proposed deferrals. 2 U.S.C. § 684(a). A

       “deferral of budget authority” includes: (1) “withholding or delaying the obligation or

       expenditure of budget authority . . . provided for projects or activities;” or (2) “any

       other type of Executive action or inaction which effectively precludes the obligation

       or expenditure of budget authority . . ..” Id. § 682(1)(A), (B). Further, the ICA

       enumerates only three bases in which a deferral is permissible: (1) “to provide for

       contingencies;” (2) “to achieve savings made possible by or through changes in

       requirements or greater efficiency of operations;” or (3) “as specifically provided by




                                                 26
                                                A26
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   96 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 27 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8031



       law.” Id. § 684(b). “No officer or employee of the United States may defer any budget

       authority for any other purpose.” Id. (emphasis added).

             Here, the OMB Directive and Section 7(a) of the Unleashing EO, constituted a

       budget authority deferral because it commanded—and prompted—an indefinite

       withholding or delay of obligated funds. 2 U.S.C. § 682(1)(A). Thus, under the law,

       the President was required to send a special message to Congress detailing the

       proposed deferrals, such as the amounts deferred, the proposed deferral period, and

       the programs involved. See id. § 684(a). There is no evidence that such a special

       message detailing the indefinite, widespan deferrals of obligated funding was ever

       communicated to Congress. Accordingly, the States have substantiated a likelihood

       of success in proving that the Executive’s actions were contrary to law when bringing

       about a deferral of budget authority without sending a special message to Congress

       as the ICA requires.

             The States also raise that “the Funding Freeze violates the specific statutes in

       which Congress mandated that funding be used in a specific manner according to

       specific terms.” ECF No. 67 at 55. They assert that many federal funding streams

       are so-called “categorical” or “formula” grants that Congress directed the Executive

       to provide to the States based on “enumerated statutory factors, such as population

       or the expenditure of qualifying State funds.” Id. (citing City of Los Angeles v. Barr,

       941 F.3d 931, 934-35 (9th Cir. 2019)). Thus, the States contend that Congress’s

       specific directives in the statutory and regulatory schemes that govern such “formula”




                                                 27
                                                A27
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   97 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 28 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8032



       funding streams are inconsistent with the sweeping authority the Defendants have

       asserted in carrying out the federal funding freeze. Id. at 48, 55-56.

              The States have underscored clear examples in which Congress has

       appropriated funds to federal programs and has strictly prescribed how those funds

       must be expended. For example, the IIJA appropriated over $14 billion in grants for

       the States’ Clean Water revolving funds from 2022 to 2026. IIJA, Pub. L. No. 117-58,

       § 50210, 135 Stat. 429, 1169 (2021).      Those funds are a creature of a separate

       statute—the Federal Clean Water Act—which instructs the Environmental

       Protection Agency (“EPA”) that it “shall make capitalization grants to each State,”

       via formula grants, to establish and support water pollution control revolving funds

       for certain enumerated objectives and policy goals. 33 U.S.C. §§ 1381(a), (b); 1383(c);

       1384(a), (c)(2).

              Additionally, the IRA established a program to subsidize heat pump systems

       purchases, instructing the DOE Secretary that they “shall reserve funds . . . for each

       State energy office” based on an allotment formula. 42 U.S.C. § 18795a(a)(2)(A)(i)

       (emphasis added).    Further, a climate pollution reduction grant under the IRA

       directed that the EPA “shall make a grant to at least one eligible entity in each State

       for the costs of developing a plan for the reduction of greenhouse gas air pollution . .

       ..” 42 U.S.C. § 7437(b). Congress has instructed other agencies to provide the States

       with federal funding using a mandatory fixed formula. See e.g., 23 U.S.C. § 104(a)(1),

       (b), (c) (instructing that the Transportation Secretary “shall” distribute federal

       highway funds based on mandatory apportionment formulas); 42 U.S.C. §§ 300x(a),




                                                 28
                                                A28
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   98 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 29 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8033



       300x-7(a), 300x-21(a), 300x-33(a) (directing that the Health and Human Services

       Secretary “shall make” or “shall determine the amount of” grants to States for mental

       health and substance abuse treatment based on fixed statutory formulas).

             These are a few examples of funding streams where Congress has mandated

       that the Executive spend appropriated funds according to a prescribed statutory

       formula, thus leaving agency Secretaries with no discretion to deviate from such

       formula. See ECF No. 67 at 6-11, 48-50; see also ECF No. 147 at 9-10. Yet the

       Agency Defendants halted the disbursement of these formula grants when freezing

       appropriated funds to ensure spending conformed with the President’s policy

       priorities. See e.g., ECF Nos. 68-35 ¶ 20 (California’s Water Resources Control Board

       unable to draw down funds under existing Clear Water State Revolving Funds grant

       agreements on January 31); 68-123 ¶ 4, 9 (Colorado unable to draw down funds for

       the IRA climate pollution reduction grant); see also ECF No. 68-124 at 2 (DOE

       memorandum announcing that “[a]ll funding and financial assistance . . . shall not be

       announced, approved, finalized, modified, or provided until a review of such takes

       place to ensure compliance with . . . Administration policy.”).

             But “[a]bsent congressional authorization, the Administration may not

       redistribute or withhold properly appropriated funds in order to effectuate its own

       policy goals.” City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1235 (9th Cir.

       2018). There is sufficient evidence that, in implementing the funding freeze, the

       Agency Defendants withheld funding that Congress did not tie to compliance with

       the President’s policy priorities in the OMB Directive and the Unleashing EO.




                                                 29
                                                A29
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   99 Filed
                                           161   Date03/06/25
                                                      Filed: 05/27/2025
                                                                 Page 30 ofEntry ID: 6724071
                                                                            45 PageID
                                        #: 8034



       Accordingly, the States have substantiated a likelihood of success on the merits that

       the Agency Defendants acted “not in accordance with the law”—in violation of the

       APA—when exceeding their statutory authority to carry out a categorical federal

       funding freeze. 5 U.S.C. § 706(2)(A).

                           c. Arbitrary and Capricious

             Next, the States argue that the challenged federal funding freeze is arbitrary

       and capricious because it is not “reasonable or reasonably explained.” ECF No. 67

       at 56 (quoting Fed. Commc’ns Comm’n v. Prometheus Radio Project, 592 U.S. 414,

       423 (2021)).   The States assert that the Agency Defendants did not provide a

       satisfactory explanation for the funding freeze and explained only that the freeze was

       aimed at helping the President achieve his policy priorities. ECF No. 67 at 56. The

       States contend that achieving such priorities “cannot come in the form of an across-

       the-board directive that contravenes numerous statutory provisions without

       explanation of how that action comports with applicable statutory or regulatory

       commands or factors relevant under those authorities.” Id. Further, the States allege

       that the Defendants disregarded the harmful consequences of the funding freeze,

       particularly the danger to “critical services [upon which] millions of Americans rely.”

       Id. at 56-57. Lastly, the States argue that the freezing of all funds appropriated

       under the IRA and the IIJA was substantively unreasonable because it lacks support

       in law and contravenes statutory text. Id. at 57.

             The Defendants counter that the OMB Directive adequately explained the

       goals of the funding freeze, which was “to effectuate the President’s Executive Orders




                                                 30
                                                A30
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  100 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 31 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8035



       and ‘safeguard valuable taxpayer resources.’” ECF No. 113 at 57 (citing OMB

       Directive at 1). Further, the Defendants assert that the OMB Directive rationally

       connected the temporary pause to those stated objectives when explaining that the

       pause was needed to give “the Administration time to review agency programs and

       determine the best [funding uses] consistent with the law and the President’s

       priorities.” Id. at 57-58 (citing OMB Directive at 2). They highlight that the OMB

       Directive explicitly orders agencies to act “consistent with the law” six times and thus

       agencies were not directed to contravene their statutory authorities. Id. at 58.

             Moreover, the Defendants argue they did consider important aspects of the

       problem because the OMB Directive highlighted the problem—the “significant

       amount of money” spent each year on financial assistance—and merely directed

       agencies to assess the problem by reviewing which assistance may be impacted by

       the President’s order. Id. Additionally, they assert that they considered the practical

       consequences that would flow and took steps to mitigate them because the OMB

       Directive: (1) exempted assistance provided directly to individuals from the pause; (2)

       noted that the OMB could grant exceptions on a case-by-case basis; (3) directed only

       a temporary pause; and (4) provided a delayed effective date. Id. at 58-59.

             A decision is arbitrary and capricious “if the agency has relied on factors which

       Congress has not intended it to consider, entirely failed to consider an important

       aspect of the problem, offered an explanation for its decision that runs counter to the

       evidence before the agency, or is so implausible that it could not be ascribed to a

       difference in view or the product of agency expertise.’” Melone v. Coit, 100 F.4th 21,




                                                 31
                                                A31
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  101 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 32 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8036



       29 (1st Cir. 2024) (Craker v. DEA, 714 F.3d 17, 26 (1st Cir. 2013)). The Court finds

       that the Defendants have not provided a rational reason that the need to “safeguard

       valuable taxpayer resources” is justified by such a sweeping pause of nearly all

       federal financial assistance with such short notice. Rather than taking a deliberate,

       thoughtful approach to finding these alleged unsubstantiated “wasteful or fraudulent

       expenditures,” the Defendants abruptly froze billions of dollars of federal funding for

       an indefinite period. It is difficult to perceive any rationality in this decision—let

       alone thoughtful consideration of practical consequences—when these funding

       pauses endanger the States’ ability to provide vital services, including but not limited

       to public safety, health care, education, childcare, and transportation infrastructure.

       See ECF No. 67 at 24-34, 58-61.

             Further, the mere twenty-four hours that the OMB gave agencies to discern

       which of thousands of funding freezes must or must not be paused flouts the

       Defendants’ arguments that either the “delayed” effective date or the “consistent with

       the law” instruction mitigated the harm that the pause caused. The OMB Directive

       essentially ordered agencies to effectuate the blanket pause and then decide later

       which funding streams they actually had lawful authority to withhold. See e.g., ECF

       No. 68-55 ¶¶ 27-28 (New York’s Office of Children and Family Services unable to

       draw down funds from PMS on morning January 28—faced with message stating:

       “Due to [EOs] regarding potentially unallowable grant payments, PMS is taking

       added measures to process payments. Reviews of applicable programs and payments

       will result in delays and/or rejections of payments.”). Again, the Defendants have not




                                                 32
                                                A32
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  102 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 33 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8037



       proffered a rational reason for how their alleged goal of safeguarding taxpayer funds

       justified a de facto suspension of nearly all federal funding. Thus, the States have

       substantiated a likelihood of success of proving that the Agency Defendants’

       implementation of the funding freeze was arbitrary and capricious.

              Further, the Agency Defendants’ categorical freeze of funding appropriated

       under the IRA and IIJA is also likely substantively unreasonable in violation of the

       APA.    Generally, substantive unreasonableness may arise when an agency

       “exercise[s] its discretion unreasonably.” Multicultural Media, Telecom & Internet

       Council v. Fed. Commc’ns Comm’n, 873 F.3d 932, 936 (D.C. Cir. 2017) (Kavanaugh,

       J.). As discussed above, the IRA and IIJA appropriated funds to certain programs

       and funding streams that mandated expenditures based on fixed formulas—not the

       contravening policies of the President. Based on the record, the Agency Defendants

       implemented sweeping pauses of IRA/IIJA appropriated funds—under the OMB

       Directive and Unleashing EO—despite various fundings streams being governed by

       statutory commands that did not give discretion to withhold funds based on the policy

       initiatives the Executive sought to further. See e.g., ECF Nos. 48-1 ¶¶ 4-5 , 68-124

       at 2; 68-123 ¶¶ 6-10, 26; 68-123 ¶ 36; 68-92 ¶ 15. Thus, the States have substantiated

       a likelihood of success on illustrating that the Agency Defendants unreasonably

       exercised its discretion, in violation of the APA, when broadly freezing IRA/IIJA

       appropriated funds in contravention of the underlying statutory funding commands.

              In sum, the Agency Defendants have failed to offer rational reasons for finding

       that the policy objectives stated in the OMB Directive and Section 2 of Unleashing




                                                33
                                               A33
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  103 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 34 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8038



       EO justified the indefinite pause on nearly all federal funding. The breadth and

       immediacy of the funding freeze and the catastrophic consequences that flowed

       reflects the Agency Defendants’ failure to: (1) meaningfully consider the “important

       aspect[s] of the problem[s]”—namely the plain implications of withholding trillions of

       dollars of federal financial assistance; and (2) reflect if the freeze fell within the

       bounds of their statutory authority. Accordingly, the States have shown a likelihood

       of success on their APA claims (Counts I and II). The Court “need go no further.” 14

       It turns now to whether the States satisfy the other requirements for injunctive

       relief. 15

               C.    Irreparable Harm

               “District courts have broad discretion to evaluate the irreparability of alleged

       harm and to make determinations regarding the propriety of injunctive relief.” K–

       Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 915 (1st Cir. 1989) (quoting Wagner

       v. Taylor, 836 F.2d 566, 575–76 (D.C. Cir. 1987)). There are “relevant guideposts” to

       guide that discretion—“the plaintiff’s showing must possess some substance” and “the

       predicted harm and the likelihood of success on the merits must be juxtaposed and

       weighed in tandem.” Ross-Simons of Warwick, Inc. v. Baccarat, Inc., 102 F.3d 12, 19



               14 The Honorable Bruce M. Selya’s body of over 1800 written opinions, passim.
               15 Under the constitutional avoidance doctrine, “federal courts are not to reach

       constitutional issues where alternative grounds for resolution are available.”
       Vaquería Tres Monjitas, Inc. v. Pagan, 748 F.3d 21, 26 (1st Cir. 2014) (quoting Am.
       Civil Liberties Union v. U.S. Conference of Cath. Bishops, 705 F.3d 44, 52 (1st Cir.
       2013)). Thus, because the Court finds the challenged agency actions violate the APA,
       the Court will not decide the States’ constitutional claims (Counts IV-VIII), although
       the Court has noted in its introduction to this decision that the constitutional balance
       of powers issues that arise from the Executive’s actions in this case are serious.


                                                  34
                                                 A34
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  104 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 35 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8039



       (1st Cir. 1996) (citations omitted). The Court found at the TRO stage that the States

       would suffer irreparable harm if the Defendants’ blanket freeze of appropriated and

       obligated funds, which currently has no end date, were not enjoined. After a full

       briefing and hearing on the merits where the Defendants presented no answer, no

       evidence, and no counter to the States’ extensive evidence of still frozen funds and

       the harm resulting, the Court finds that the unrefuted evidence shows irreparable

       and continuing harm.

             In their Complaint, preliminary injunction motion, and during the argument

       thereon, the States laid out scores of examples of obligated funding and the harm that

       withholding such funding has caused. It is so obvious that it almost need not be

       stated that when money is obligated and therefore expected (particularly money that

       has been spent and reimbursement is sought) and is not paid as promised, harm

       follows—debt is incurred, debt is unpaid, essential health and safety services stop,

       and budgets are upended. And when there is no end in sight to the Defendants’

       funding freeze, that harm is amplified because those served by the expected but

       frozen funds have no idea when the promised monies will flow again.

             Defendants concede that there is no date written into the EOs or the OMB

       Directive or instructions when the freeze will end but argues that the funding

       recipients can be assured that it will end eventually, presumably when the agencies

       have reviewed all of the funding and made decisions about whether any or all or some

       align with how the President wants that money spent. The States are not reassured

       by this vague promise, and neither is the Court. This is particularly true where the




                                                35
                                               A35
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  105 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 36 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8040



       States had no notice of a potential freeze so they could plan, States appear to have

       little to no information about how any funding review is being conducted and by

       whom, and even though the frozen funds were obligated and owed, States had no

       chance to justify and protect the funding that they were granted by statute,

       regulation, or grant contract. See, e.g., ECF Nos. 68-28 (receiving no response from

       EPA officials to inquiry about grants missing from ASAP); 68-33 (same). As the Court

       observed, these arbitrary and capricious actions violate the APA, with consequences

       that harm not only to our orderly system of government but also inflict direct

       pecuniary harm to the States and their residents.

             The States have presented unrebutted evidence of the harm they are suffering

       and will continue to suffer due to this categorical funding freeze. The Court will not

       recount each instance but will summarize the “highlights” and note that while the

       States are the plaintiffs in this Court, it is their citizens, often our most vulnerable

       citizens, who are enduring much of the harm resulting from these arbitrary and

       capricious acts. The Court makes the following factual findings based on the record

       evidence.

             Head Start and other childcare programs have been impacted.                As of

       February 5, 2025, many Head Start providers were still having difficulties accessing

       federal funds and are considering layoffs, reductions in service, and even closures.

       See ECF Nos. 68-76; 68-41.      Some States would have to pay more in provider

       subsidies if federally-funded Head Start childcare does not resume. ECF No. 68-111.




                                                 36
                                                A36
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  106 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 37 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8041



       Other federally-funded childcare, child welfare services, and early childhood services

       are impacted. See ECF Nos. 68-76; 68-36; 68-86; 68-116; 68-55; 68-68; 69-39; 68-43.

             A freeze in federal funding for education “would catastrophically disrupt

       student instruction[,]” including for low-income students and children with

       disabilities. ECF No. 68-89 ¶ 8; see also ECF Nos. 68-75; 68-43; 68-116. A freeze

       impacts state universities who receive federal funding who may be forced to stop vital

       research projects. “Even a temporary pause in funding could require the University

       to shutter or reduce programs, including mission-critical research activities,

       instruction, and public service activities and to furlough and/or lay off employees.”

       ECF Nos. 68-112 ¶ 7; 68-121 ¶ 7 (“Research projects that require daily activities and

       meticulous record-keeping may be ruined, setting back the research enterprise and

       wasting the federal investment.”).

             This funding freeze affects critical healthcare provided through federally-

       funded Medicaid programs, the Children’s Health Insurance Program (“CHIP”), and

       other health care programs. ECF Nos. 68-31, 68-32; 68-74; 68-105; 68-24. Loss of

       Medicaid funding would “significantly impede the delivery of basic health care

       services to . . . low-income, elderly, and pregnant individuals, as well as individuals

       with disabilities.” ECF No. 68-32 ¶ 13.

             The funding freeze also impacts law enforcement and public safety agencies

       who also rely on federal funding. Federal grant programs support state and local law

       enforcement agencies, community violence, and crisis interruption programs, and

       programs addressing sexual violence, among many other crucial services.           ECF




                                                 37
                                                 A37
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  107 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 38 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8042



       Nos. 68-102, 68-18. In an evident and acute harm, with floods and fires wreaking

       havoc across the country, federal funding for emergency management and

       preparedness would be impacted. ECF Nos. 68-111; 68-39. To be sure “[i]f a major

       disaster were to occur while federal emergency management funds . . . are frozen. . .

       [p]ending preparedness training and mitigation work may come to a stop and the

       incapacitation of federally-funded emergency management programs and services

       that would result from a federal funding freeze could very well lead to increased loss

       of life and injury …, slowed emergency response times, greater risks to first

       responders, greater property damage, and delays to community recovery and

       rebuilding.” ECF No. 68-99 ¶ 13.

              The freeze affects job training, workforce development, and unemployment

       programs and the ripple effect of cutting off this funding is felt throughout the States.

       ECF Nos. 68-94; 68-54; 68-70; 68-104; 68-39; 68-88; see ECF No. 68-29 ¶ 27 (harms

       to veterans seeking to acquire job skills and employment, and others seeking career

       and employment training services, reduced level of service in processing and

       approving unemployment insurance claims and paying out unemployment insurance

       benefits);   ECF No. 68-30 ¶ 13 (harms to workers seeking to participate in job

       apprenticeship programs).

              The freeze also affects federal funds for critical transportation infrastructure,

       such as the $60 million in promised reimbursement for the costs of removal and

       salvage of debris from the Francis Scott Key Bridge for which Maryland is awaiting.

       ECF No. 68-66 ¶¶ 5-7 . Other States have likewise entered into contracts for projects




                                                  38
                                                 A38
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  108 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 39 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8043



       to be paid for with obligated funds. ECF Nos. 68-77; 68-31; 68-66; 68-80; 68-39.

       Without these funds, States may have to suspend, delay, or cancel projects. ECF

       No. 68-77.

             IIJA and IRA funding programs are subject to the freeze and threaten the loss

       of essential services to protect the health, safety, and welfare of the States’ residents.

       See, e.g., ECF No. 68-28 (California Air Resource Board unable to access granted

       federal funding aimed at monitoring air toxins); ECF No. 68-42 (frozen funds include

       those awarded to South Coast Air Quality Management District for programs

       reducing air pollution from freight corridors and warehousing hubs); ECF No. 68-113

       (funding freeze threatens to pause important contamination remediation efforts;

       contracted-for brownfield cleanup work being “held up” by funding freeze); ECF

       No. 68-106 (frozen funds designated for monitoring of air pollution); ECF No. 68-92

       (New York State Department of Environmental Conservation denied funding

       reimbursement for plugging of orphaned oil and gas wells due to alleged inconsistency

       with OMB’s Unleashing Guidance).

             Congress enacted these statutes and appropriated these funds for legitimate

       reasons, and the Defendants’ categorical freeze, untethered to any statute,

       regulation, or grant term, frustrates those reasons, and causes significant and

       irreparable harms to the States. See, e.g., ECF No. 68-118 (pause in funding streams

       would have “massive impact,” require resource shifts, and interfere with mission);

       ECF No. 68-59 (without grant funding, “small public water systems … will continue

       to rely on drinking water polluted by PFAs and/or other emerging contaminants,”




                                                  39
                                                 A39
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  109 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 40 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8044



       cleanup of oil and hazardous materials contamination in post-industrial communities

       would likely be abandoned, and state efforts to monitor and mitigate air pollution

       would be hampered); ECF No. 68-83 (“North Carolina will lose the benefits of over

       $117 million in conservation projects” if the freeze is not lifted, leaving its residents

       “more vulnerable to flooding and wildfires.”); ECF No. 68-40 (state would have to

       regain trust of contractors and homeowners after reimbursement delays); ECF

       No. 68-122 (funding freeze causes uncertainty, harming Colorado’s ability to provide

       services to Coloradans relying on federal funds for installation of energy-saving

       appliances; continued delay will cause homeowners to forfeit improvements to homes

       that would cut energy bills); ECF No. 68-95 (freezing of IIJA Grid Resilience

       Innovations Partnerships funding in New York will delay electric grid resilience

       improvements, “potentially increasing the risk of damage to the grid in a severe

       weather event and causing additional harm to small municipal electric utilities.”);

       ECF No. 68-59 (pause in Long Island Sound Program Grant would impede

       remediation of nitrogen and other pollution); ECF No. 68-79 (frozen $25 million grant

       funds for replacing lead service lines to residential homes “put[s] the safety of

       Minnesotans’ drinking water at risk”); ECF No. 68-31 (health care, emergency relief,

       highway safety, and billions of dollars in water infrastructure, transportation, and

       broadband infrastructure projects); ECF No. 68-30 (federal funding pause could

       render California government entities unable to deliver numerous services to

       increase workplace health and safety); ECF No. 68-35 (interruption in funding

       threatens California Water Board’s ability to come into compliance with federal safe




                                                  40
                                                 A40
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  110 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 41 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8045



       drinking water standards, including ongoing work to remove lead from water service

       lines).

                 Even though some funding has begun to flow again after the TRO entered, the

       States have presented evidence of harm resulting from the chaos and uncertainty

       that the Defendants’ arbitrary decision to categorically freeze billions of dollars in

       federal funding.     See, e.g., ECF Nos. 68-40; 68-44 (Connecticut’s Department of

       Energy and Environmental Protection “unable to recruit and hire future staff” to

       support Solar for All Program due to “budgetary uncertainty”); 68-107 (uncertainty

       has led Brown University’s research community to suspend orders of large research

       equipment, which over time will negatively impact the ability of researchers to

       conduct their studies); 68-85 (uncertainty surrounding funding forcing New Jersey

       Board of Public Utilities to decide between delaying Solar for All Program or risking

       no reimbursement); 68-27 (uncertainty over grants has disrupted California agency’s

       “ability to budget, plan… and carry out its mission”); see also Nat’l Council of

       Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 597959, at *18

       (D.D.C. Feb. 25, 2025) (“While funds have resumed flowing to some recipients, that

       does not erase the imminence or irreparability of what another pause would entail.”).

                 Even with the Court’s TRO in place, state agencies continue to experience

       interruptions to access and inconsistent ability to draw down funds from grants

       funded by IIJA and IRA appropriations. Some funding has been restored in federal

       funding portals, but others appear to have been removed. See, e.g., ECF Nos. 68-28;

       68-35; 68-33; 68-59. And nothing in the Defendants’ briefing or oral presentation




                                                  41
                                                 A41
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  111 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 42 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8046



       reassures the States that federal agencies, under the Executive’s directives, will

       fulfill their funding obligations in the future. See e.g., ECF Nos. 68-20 (Arizona has

       incurred obligations over $16 million in reliance on Home Electrification and

       Appliance Rebate award, of which over $15 million has yet to be reimbursed); 68-49

       (University of Hawaii has been paying five employees out of pocket, without

       reimbursement to which they are entitled); 68-106 (elimination of $3 million Climate

       Pollution Reduction Grants (“CPRG”) would make statutory compliance more costly);

       68-61 (if not reimbursed through CPRG, Massachusetts may be forced to cancel

       vendor contract); 68-42 (California’s South Coast Air Quality Management District

       and its subgrantees face risks that EPA would refuse to reimburse incurred work and

       costs). This litany of struggles experienced in the last seven weeks unquestionably

       constitute irreparable harm to the States.

              D.     Balance of the Equities and Public Interest

              The Court need not say much more on the final two factors than it did when it

       granted the TRO as the more developed evidentiary record continues to

       overwhelmingly show that the balance of equities weighs heavily in favor of granting

       the States’ preliminary injunction motion and the public interest is supported by

       “preserv[ing] the status quo.” Francisco Sanchez v. Esso Standard Oil Co., 572 F.3d

       1, 19 (1st Cir. 2009).

              The Defendants are not harmed where the order requires them to disburse

       funds that Congress has appropriated to the States and that they have obligated. The

       Court’s order does not prevent the Defendants from making funding decisions in




                                                42
                                                A42
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  112 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 43 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8047



       situations under the Executive’s “actual authority in the applicable statutory,

       regulatory, or grant terms,” ECF No. 111 at 7; rather it enjoins agency action that

       violates statutory appropriations and obligations. An agency is not harmed by an

       order prohibiting it from violating the law.

             On the other hand, without injunctive relief to pause the categorical freeze, the

       funding that the States are due and owed creates an indefinite limbo. Without the

       injunction, Congressional control of spending will have been usurped by the

       Executive without constitutional or statutory authority. While some of the funding

       has begun to flow, and some only after the Court issued an order to enforce the TRO,

       the States continue to face substantial uncertainty about whether Defendants will

       meet their contractual obligations under several statutorily appropriated programs,

       including those under the IIJA and IRA. ECF Nos. 68-93; 68-105; 68-34; 68-101; 68-

       100; 68-114; 68-39; 68-80; 68-28; 68-40; 68-35; 68-61; 68-95; 68-23; 68-49; 68-60; 68-

       51; 68-48; 68-106; 68-108; 68-52; 68-83; 68-72; 68-59; 68-42; 68-85; 68-56.

             In light of the unrebutted evidence that the States and their citizens are

       currently facing and will continue to face a significant disruption in health, education,

       and other public services that are integral to their daily lives due to this overly broad

       pause in federal funding, the Court finds that the public interest lies in maintaining

       the status quo and enjoining any categorical funding freeze.

       IV.   PRELIMINARY INJUNCTION

             A preliminary injunction is appropriate, and the Court ORDERS as follows:




                                                  43
                                                 A43
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  113 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 44 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8048



             1.     The Agency Defendants 16 are enjoined from reissuing, adopting,

       implementing, giving effect to, or reinstating under a different name the directives in

       OMB Memorandum M-25-13 (the “OMB Directive”) with respect to the disbursement

       and transmission of appropriated federal funds to the States under awarded grants,

       executed contracts, or other executed financial obligations.

             2.     The Agency Defendants are enjoined from pausing, freezing, blocking,

       canceling, suspending, terminating, or otherwise impeding the disbursement of

       appropriated federal funds to the States under awarded grants, executed contracts,

       or other executed financial obligations based on the OMB Directive, including funding

       freezes dictated, described, or implied by Executive Orders issued by the President

       before rescission of the OMB Directive or any other materially similar order,

       memorandum, directive, policy, or practice under which the federal government

       imposes or applies a categorical pause or freeze of funding appropriated by Congress.

       This includes, but is by no means not limited to, Section 7(a) of Executive Order

       14154, Unleashing American Energy.

             3.     The Defendants must provide written notice of this Order to all federal

       departments and agencies to which the OMB Directive was addressed. The written

       notice shall instruct those departments and agencies that they may not take any

       steps to implement, give effect to, or reinstate under a different name or through

       other means the directives in the OMB Directive with respect to the disbursement or




             16“Agency Defendants” refers to the federal executive Agencies and
       Departments that are parties in this suit.


                                                 44
                                                A44
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:161
                                   Document  114 Filed
                                                   Date Filed: 05/27/2025
                                                       03/06/25    Page 45 of Entry ID: 6724071
                                                                              45 PageID
                                         #: 8049



       transmission of appropriated federal funds to the States under awarded grants,

       executed contracts, or other executed financial obligations.

             4.     The foregoing written notice shall also instruct those agencies to release

       and transmit any disbursements to the States on awarded grants, executed contracts,

       or other executed financial obligations that were paused on the grounds of the OMB

       Directive and Executive Orders included by reference therein or issued before the

       rescission of the OMB Directive.

             5.     In light of the States’ second motion to enforce the TRO, ECF No. 160,

       Defendant Federal Emergency Management Agency (“FEMA”) shall file a status

       report on or before March 14, 2025, informing the Court of the status of their

       compliance with this order.

             Additionally, based on its findings that the States: (1) are entitled to a

       preliminary injunction; and (2) will be irreparably harmed without this Order, the

       Court DENIES the Defendants’ request to stay this Order pending appeal to the First

       Circuit.   See ECF No. 113 at 65-66. Further, the Court DENIES as moot the

       Plaintiffs’ motion to enforce the TRO because this Order’s issuance renders the TRO

       expired. ECF No. 160.


       IT IS SO ORDERED.



       _________________________________
       John J. McConnell, Jr.
       Chief Judge
       United States District Court for the District of Rhode Island

       March 6, 2025


                                                 45
                                                A45
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   115 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 1 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8694



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

                                                )
        STATE OF NEW YORK; STATE OF             )
        CALIFORNIA; STATE OF                    )
        ILLINOIS; STATE OF RHODE                )
        ISLAND; STATE OF NEW JERSEY;            )
        COMMONWEALTH OF                         )
        MASSACHUSETTS; STATE OF                 )
        ARIZONA; STATE OF COLORADO;             )
        STATE OF CONNECTICUT; STATE             )
        OF DELAWARE; THE DISTRICT               )
        OF COLUMBIA; STATE OF                   )
        HAWAII; OFFICE OF THE                   )
        GOVERNOR ex Tel. Andy Beshear, in       )
        his official capacity as Governor of    )
                                                )
        the COMMONWEALTH OF
                                                )
        KENTUCKY; STATE OF MAINE;
                                                )
      · STATE OF MARYLAND; STATE OF             )
        MICHIGAN; STATE OF                      )
        MINNESOTA; STATE OF NEVADA;             )
        STATE OF NEW MEXICO; STATE              )
        OF NORTH CAROLINA; STATE OF             )     C.A. No. 25·cv·39·JJM-PAS
        OREGON; STATE OF VERMONT;               )
        STATE OF WASHINGTON; and                )
        STATE OF WISCONSIN,                     )
                                                )
            Plaintiffs,                         )
      V.                                        )
                                                )
                                                )
      DONALD TRUMP, in his official
                                                )
      capacity as President of the United
                                                )
      States; U.S. OFFICE OF                    )
      MANAGEMENT AND BUDGET;                    )
      RUSSELL VOUGHT, in his official           )
      capacity as Director of the U.S. Office   )
      of Management and Budget; U.S.            )
      DEPARTMENT OF THE                         )
      TREASURY; SCOTT BESSENT, in               )
      his official capacity as Secretary of     )
      the Treasury; PATRICIA COLLINS,           )
      in her official capacity as Treasurer     )
      of the United States; U.S.                )
      ______________ )


                                                A46
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   116 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 2 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8695


      DEPARTMENT OF HEALTH AND                   )
      HUMAN SERVICES; ROBERT F.                  )
      KENNEDY, JR., in his official              )
      capacity as Secretary of Health and        l
      Human Services; U.S.                       )
      DEPARTMENT OF EDUCATION;                   )
      LINDA MCMAHON, in her official             ))
      capacity as Secretary of Education;        )
      U.S. DEPARTMENT OF                         )
      TRANSPORTATION; SEAN DUFFY,                )
      in his official capacity as Secretary of    )
      Transportation; U.S. DEPARTMENT             )
      OF LABOR; LORI CHAVEZ·                      )
      DEREMER, in her official capacity as        )
      Secretary of Labor; U.S.                    )
      DEPARTMENT OF ENERGY;                       )
      CHRIS WRIGHT, in his official              l
      capacity as Secretary of Energy; U.S.      )
      ENVIRONMENTAL PROTECTION                   )
      AGENCY; LEE ZELDIN, in his                 )
      official capacity as Administrator of      )
      the U.S. Environmental Protection          ))
      Agency; U.S. DEPARTMENT OF                 )
      THE INTERIOR; DOUG BURGUM,                 )
      in his official capacity as Secretary of   )
      the Interior; U.S. DEPARTMENT OF            )
      HOMELAND SECURITY; KRISTI                   )
      NOEM, in her capacity as Secretary         )
      of Homeland Security; U.S.                 )
      DEPARTMENT OF JUSTICE;                     l
      PAMELA BONDI, in her official              l
      capacity as Attorney General of the
                       )
      U.S. Department of Justice; THE
                       )
      NATIONAL SCIENCE )
      FOUNDATION; DR. SETHURAMAN
                       ))
      PANCHANATHAN, in his capacity
                       )
      as Director of the National Science
                       )
      Foundation; U.S. DEPARTMENT OF
                       )
      AGRICULTURE; BROOKE
                       )
      ROLLINS, in her official capacity as
                       )
      Secretary of Agriculture; U.S.
                       )
      DEPARTMENT OF HOUSING AND
                       )
      URBAN DEVELOPMENT; SCOTT
                      )
      TURNER, in his official capacity as
      _______________ ))

                                                 2
                                                 A47
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   117 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 3 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8696


      Secretary of Housing and Urban             )
      Development; U.S. DEPARTMENT               )
      OF STATE; MARCO RUBIO, in his              )
      official capacity as Secretary of State;   )
                                                 )
      U.S. AGENCY FOR
                                                 )
      INTERNATIONAL
                                                 )
      DEVELOPMENT; MARCO RUBIO,                  )
      in his official capacity as Acting         )
      Administrator of the United States         )
      Agency for International                   )
      Development; U.S. DEPARTMENT               )
      OF DEFENSE; PETER HEGSETH,                 )
      in his official capacity as Secretary of   )
      Defense; U.S. DEPARTMENT OF                )
      VETERANS AFFAIRS; DOUG                     )
      COLLINS, in his official capacity as       )
      Secretary of Veterans Affairs; U.S.        )
      DEPARTMENT OF COMMERCE;                    )
                                                 )
      HOWARD LUTNICK, in his official
                                                 )
      capacity as Secretary of Commerce;
                                                 )
      NATIONAL AERONAUTICS AND                   )
      SPACE ADMINISTRATION; JANET                )
      PETRO in her official capacity as          )
      Acting Administrator of National           )
      Aeronautics and Space                      )
      Administration; CORPORATION                )
      FOR NATIONAL AND                           )
      COMMUNITY SERVICE;                         )
      JENNIFER BASTRESS                          )
      TAHMASEBI, in her official capacity        )
      as Interim Head of the Corporation         )
                                                 )
      for National and Community Service;
                                                 )
      U.S. SOCIAL SECURITY
                                                 )
      ADMINISTRATION; LELAND                     )
      DUDEK, in his official capacity as         )
      Acting Commissioner of United              )
      States Social Security                     )
      Administration; U.S. SMALL                 )
      BUSINESS ADMINISTRATION; and               )
      KELLY LOEFFLER, in her official            )
      capacity as Administrator of U.S.          )
      Small Business Administration,             )
                                                 )
             Defendants.                         )



                                                 3
                                                 A48
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   118 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 4 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8697




                                  MEMORANDUM AND ORDER

       JOHN J. MCCONNELL, JR., United States District Court Chief Judge.

             Before the Court is the Plaintiff States' Motion for Enforcement of Preliminary

       Injunction. ECF No. 168.      The States allege that Defendant Federal Emergency

       Management Agency ("FEMA") is implementing a categorical freeze on obligated

       funds that violates the Court's preliminary injunction order. The Defendants oppose

       the motion, contending that FEMA is merely implementing a manual review process

       of which the Court's preliminary injunction does not restrain. ECF No. 172. For the

       reasons stated below, the Court GRANTS the States' Motion for Enforcement.

       I.    BACKGROUND

             On January 31, 2025, the Court entered a temporary restraining order ("TRO")

       that enjoined the Defendants from "paus[ing], freez[ing], imped[ing], block[ing],

       canceHling], or terminat[ing] Defendants' compliance with awards and obligations to

       provide federal financial assistance to the States," and instructed that the Defendants

       "shall not impede the States' access to such awards and obligations, except on the

       basis of the applicable authorizing statutes, regulations, and terms." ECF No. 50,

       at 11. The TRO also stated that if the Defendants "engage in the 'indentif[ication]

       and review' of federal financial assistance programs" such an exercise "shall not affect

       a pause, freeze, impediment, block, cancellation, or termination of Defendants'

       compliance with such awards and obligations, except on the basis of the applicable

       authorizing statutes, regulations, and terms." Id. at 12.




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                                                 A49
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   119 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 5 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8698


             Within the weeks after the Court issued the TRO, the States continued to

       experience freezes of numerous grants and awards that went unresolved even after

       conferring with the Defendants' counsel. Thus, the States moved to enforce the TRO,

       ECF No. 66, which the Court granted-ordering the Defendants to: (I) "immediately

       restore frozen funding" and "immediately end any funding pause" during the

       pendency of the TRO, and (2) "immediately take every step necessary to effectuate

       the TRO." 1 ECF No. 96 at 4. Eventually, the States filed a Second Motion to Enforce,

       alleging that the States were facing obstacles to accessing millions of dollars of

       awarded and obligated FEMA funds and requesting the Court to order FEMA to show

       compliance with the Court's previous orders. ECF No. 160.

             On March 6, the Court issued a preliminary injunction order that enjoined the

       Defendants-including FEMA-from "pausing,            freezing,   blocking,   canceling,

       suspending, terminating, or otherwise impeding the disbursement of appropriated

       federal funds to the States under awarded grants, executed contracts, or other

       executed financial obligations based on the 0MB Directive, . . . or any other

       materially similar order, memorandum, directive, policy, or practice under which the

       federal government imposes or applies a categorical pause or freeze of funding

       appropriated by Congress." ECF No. 161 at 44. 2 Because the Court's issuance of the




             1 The Court later issued an order reaffirming that the TRO does not restrain

       the Defendants from limiting access to federal funds "on the basis of the applicable
       authorizing statutes, regulations, and term." ECF No. 107 at 3.
              2 The Defendants have since appealed the Court's preliminary injunction

       order. ECF No. 162. Though, the 1st Circuit denied the Defendants' motion for stay
       pending appeal of the Court's preliminary injunction. ECF No. 171.

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                                               A50
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   120 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 6 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8699



       preliminary injunction order rendered the TRO expired, the Court denied the States'

       Second Motion to Enforce the TRO as moot. Id. at 45. Still, the Court ordered FEMA

       to file a status report telling the Court of the status of their compliance with the

       preliminary injunction order by March 14, 2025. Id. FEMA timely filed the ordered

       status report, ECF No. 166, and the States swiftly responded, ECF No. 167-alleging

       that FEMA was not in compliance with the Court's preliminary injunction order.

       Now, the States move to enforce the Court's preliminary injunction order based on

       these allegations of FEMA's noncompliance.

       IL     STANDARD OF REVIEW

              "To prove civil contempt, 3 a movant must show with clear and convincing

       evidence that (1) the alleged contemnor had notice of a court order, (2) the order was

       clear and unambiguous, (3) the alleged contemnor had the ability to comply with the

       order, and (4) the alleged contemnor violated the order." Letouz-neau v. Aul, No. CV

       14·421JJM, 2024 WL 1364340, at *2 (D.R.I. Apr. 1, 2024) (citing Hawkins v. Dep't of

       Health & Hum. Se1·vs., 665 F.3d 25, 31 (1st Cir. 2012)).

       III.   DISCUSSION

              The States assert that they have not received "substantial disbursement of

       funds on important grants since early February." ECF No. 174 at 5. They highlight

       that these funding disruptions coincide with an email that Stacey Street, Director of

       the Office of Grants Administration at FEMA, sent to all staff on February 10, 2025,



              3 While the States do no seek contempt at this time, the Court uses the same

       factors to determine whether it should order enforcement of its preliminary
       injunction.

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Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   121 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 7 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8700



       which instructed the placement of"hold toggles" and "financial holds" on "all [FEMA]

       awards." ECF No. 166·4. Director Street clarified in a follow up email that these

       holds were not the holds directed in the 0MB M-25-13 ("OMB Directive") that the

       Court enjoined in the TRO. ECF No. 166·5 at 2. Rather, Director Street indicated

       that "we are still processing out awards but will be adding a level of internal controls."

       Id.

             But the States have presented undisputed evidence that this "processing" of

       awards has yet to come. See e.g., ECF No. 168·1 at ,r,r 11·12 (Hawaii's February 21

       second obligation request for almost $6 million and February 25 drawdown

       reimbursement request for almost $500,000 still pending with FEMA); ECF No. 168·

       2 ,r 20 (Oregon's Department of Emergency Management has not received federal

       FEMA funds since February 20, thus waiting on approximately $129.4 million in

       federal funds); ECF No. 168·3 ,r 6 (None of the Colorado Department of Public

       Safety's Division of Homeland Security and Emergency Management's requests-

       between February 18 to March 25-for over $33 million in reimbursement costs from

       FEMA under fourteen grant program have been approved);               ECF No. 168·4 ,r 7

       (Rhode Island's FEMA grants, which support nearly a dozen grant programs, have

       been unavailable for more than thirty days); ECF No. 160·1 i1,r 4-20 (listing several

       FEMA grants to state agencies in Arizona, California, Colorado, Hawaii, Illinois,

       Maine, Maryland, Michigan, New Jersey, New York, Vermont, Washington, and

       Wisconsin that are frozen and unavailable for drawdown).            Overall, the States

       contend that "as of March 12, 2025, at least 215 FEMA grants to at least nineteen




                                                   7
                                                  A52
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   122 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 8 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8701


       plaintiff states remain frozen or otherwise inaccessible." ECF No. 168 at 4. Thus,

       the States allege that FEMA's implementation of a manual review process for

       payment requests violates the Court's preliminary injunction order because it

       constitutes "a categorical pause or freeze of funding appropriate by Congress." ECF

       No.174atl.

             But the Defendants counter that FEMA's manual review process is not a

       "pause or withholding of grant funds" but "simply an internal control where FEMA

       staff manually review all grant payment. requests before disbursing payments to

       recipients." ECF No. 172 at 7. Cameron Hamilton, Acting FEMA Administrator,

       attests that he started this manual review process in response to the Department of

       Homeland Security ("DHS") Secretary Kristi Noem's January 28, 2025 memorandum

       titled "Direction on Grants to Non-governmental Organizations" ("NGO Grants

       Directive") ECF No. 172·1 ,r 6; see also ECF No. 166·2.      In the memorandum,

       Secretary Noem ordered a "hold pending review" on "all Department grant

       disbursements ... that (a) go to non-profit organizations or for which non-profit

       organizations are eligible and (b) touch in any way on immigration." ECF No. 166·2.

       Thus, on February 14, Mr. Hamilton formalized the ordered review process, issuing

       the Grant Processing Guidance that ordered FEMA to review certain "obligations,

       disbursements, and payments" to ensure compliance with Secretary Noem's directive.

       See ECF No. 166·7 at 1.

             The Defendants assert that this "review" of grant payments is not the type

       contemplated by the 0MB Directive that instructed agencies to "review agency




                                                8
                                              A53
Case: Case
      25-1236   Document: 00118290988
           1:25-cv-00039-JJM-PAS       Page:
                                  Document   123 Filed
                                           175      Date Filed: 05/27/2025
                                                       04/04/25    Page 9 of 15Entry ID: 6724071
                                                                                PageID   #:
                                          8702



       programs and determine the best uses of the funding for those programs consistent

       with the law and the President's priorities." ECF No. 172 at 8.          Instead, the

       Defendants assert that the purpose of this review is to "ensure reimbursement

       payment requests are allowable, allocable, and reasonable per each award's terms

       and conditions ... and are free from fraud, waste, or abuse." Id.

              Further, the Defendants assert that this manual review process is not violative

       of the Court's injunction because FEMA is relying on its own independent authorities

       to implement the process rather than the 0MB Directive. ECF No. 172 at 10. They

       contend that under 2 C.F.R. § 200.300(a), FEMA has an obligation to "manage and

       administer [each] Federal award in a manner so as to ensure that Federal funding is

       expended and associated programs are implemented in full accordance with the U.S.

       Constitution, applicable Federal statutes and regulations ... and the requirements

       of this part." Id. at 11. The Defendants also highlight that relevant grant regulations

       dictate that for costs to be allowable under an award, such costs must be "necessary

       and reasonable for the performance of the Federal award and be allocable thereto"

       and be "adequately documented." Id. at 10·11 (citing 2 C.F.R. § 200.403(a), (g); 2

       C.F.R. §§ 200.404·405).    Thus, the Defendants contend that these regulations

       illustrate that "FEMA has independent regulatory authority to review payment

       requests to ensure they are appropriate and lawful before approving funds for

       disbursement." Id at 11.

             But 2 C.F.R. § 200.300(a)'s text is general and nothing within the regulation

       authorizes FEMA's imposition of the challenged manual review process-which




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Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:175
                                   Document  124 Filed
                                                   Date Filed: 05/27/2025
                                                       04/04/25    Page 10 of Entry ID: 6724071
                                                                              15 PageID
                                         #: 8703



       essentially imposes an indefinite categorical pause on payments. Nor does 2 C.F.R.

       § 200.403 provide FEMA with independent regulatory authority to conduct such a

       review as that regulation merely sets forth the criteria that costs must meet to be

       allowable under Federal awards. As the States point out, 2 C.F.R Part 200 already

       prescribes the means that federal agencies may use to manage recipients'

       performance and ensure appropriate controls over federal awards-such as Subpart

       D4 (Post Federal Award Requirements) and Subpart F (Audit Requirements). But

       neither § 200.300(a) nor § 200.403: (1) add to these existing regulatory mechanisms

       for managing recipients' compliance the Constitution, federal statutes, and applicable

       grant terms, or (2) imbue FEMA with the authority to implement an indefinite

       categorical manual review process with no clear end. 5

             In any event, the States have presented evidence that strongly suggests that

       FEMA is implementing this manual review process based, covertly, on the President's

       January 20, 2025 executive order-"Protecting the American People Against

       Invasions" ("Invasion EO"). Section 17 of the Invasion EO provides that the DHS



              4 Notably, 2 C.F.R. § 200.339, which falls under Subpart D, provides federal
       agencies like FEMA with remedies for recipients' noncompliance "with the U.S.
       Constitution, Federal statutes, regulations, or terms and conditions of the Federal
       award."
              5 To be clear, the preliminary injunction order does not enjoin the Defendants

       from making funding decisions based on their actual authority under the applicable
       statutory, regulatory or grant terms. That said, the regulations the Defendants cite
       to support FEMA's implementation of this manual review process does not provide
       FEMA with the "independent regulatory authority" to implement such a "review
       process" that amounts to an indefinite pause on payments-especially considering
       the explicit regulatory mechanisms that provides the means for federal agencies to
       manage federal award recipients' compliance with the Constitution, federal statutes,
       and grant terms and conditions. See e.g., 2 C.F.R. § 200.339.

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Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:175
                                   Document  125 Filed
                                                   Date Filed: 05/27/2025
                                                       04/04/25    Page 11 of Entry ID: 6724071
                                                                              15 PageID
                                         #: 8704



       Secretary "shall ... evaluate and undertake any lawful actions to ensure that so·

       called 'sanctuary' jurisdictions . . . do not receive access to Federal funds." Exec.

       Order 14159, 90 Fed. Reg. 8443, 8446 (Jan. 29, 2025). Then, section 19 directs that

       the DRS Secretary shall "(a) Immediately review and, if appropriate, audit all

       contracts, grants, or other agreements providing Federal funding to non·

       governmental organizations supporting or providing services, either directly or

       indirectly, to removable or illegal aliens ... [and] (b) Pause distribution of all further

       funds pursuant to such agreements pending the results of the review in subsection

       (a)." Id. at 8447.

              Secretary Noem's NGO Grants Directive take steps to effectuate section 19 of

       the Invasion EO, as she directs a "hold" on "all Department grant disbursements ...

       that (a) go to non-profit organizations or for which non-profit organizations are

       eligible and (b) touch in any way on immigration." ECF No. 166·2. Further, the NGO

       Grants Directive was issued barely a week after the Invasion EO and a day after the

       0MB Directive, which called for a pause on disbursements of all federal financial

       assistance that may be implicated by the Executive Orders-including the Invasion

       EO. See 0MB M-25·13 at 1·2. The temporal proximity between the issuance of the

       Invasion EO, the 0MB Directive, and the NGO Grants Directive further illustrates

       that Secretary Noem's mandate to pause DRS funding related to immigration was an

       effort to carry out the funding pause directed in the Invasion EO.             Thus, Mr.

       Hamilton's assertion that the manual review process was implemented in response




                                                   11
                                                  A56
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:175
                                   Document  126 Filed
                                                   Date Filed: 05/27/2025
                                                       04/04/25    Page 12 of Entry ID: 6724071
                                                                              15 PageID
                                         #: 8705



       to Secretary Noem's January 28 memorandum truly means that the manual review

       process was implemented to comply with the funding directives in the Invasion EO.

                But the connection between FEMA's manual review process and the Invasion

       EO does not end with the NGO Grants Directive. On February 19, Secretary Noem

       issued     a   memorandum      titled   "Restricting   Grant   Funding   for   Sanctuary

       Jurisdictions." ECF No. 174 at 42·43. This memorandum ordered that:

                All components are to review all federal financial assistance awards to
                determine if Department funds, directly or indirectly, are going to
                sanctuary jurisdictions. To the extent consistent with relevant legal
                authorities and the applicable terms and conditions of each award, each
                component must cease providing federal funding to sanctuary
                jurisdictions."6




                6 The memorandum defines sanctuary jurisdictions as:
                • Jurisdictions that fail to comply with the information sharing
                   requirements of 8 U.S.C. §§ 1373 and 1644.
                • Jurisdictions that violate other relevant laws, including prohibitions
                   on encouraging or inducing an alien to come to, enter, or reside in the
                   United States in violation of law, 8 U.S.C. § 1324(a)(l)(A)(iv),
                   prohibitions on transporting or moving illegal aliens, id. § 1324(a)(l
                   )(A)(ii), prohibitions on harboring, concealing, or shielding from
                   detection illegal aliens, id. § 1324(a)(l)(A)(iii), and any applicable
                   conspiracy, aiding or abetting, or attempt liability respecting these
                   statutes.
                • Jurisdictions that fail to honor requests for cooperation, such as
                   participation in joint operations, sharing of information, or requests
                   for short term detention of alien pursuant to a valid detainer. A
                   jurisdiction, however, is not a sanctuary jurisdiction merely because
                   it lacks the necessary resources to assist in a particular instance.
                • Any jurisdiction that fails to provide access to detainees, such as
                   when an immigration officer seeks to interview a person who might
                   be a removable alien.
                • Any jurisdiction that leaks the existence of an enforcement
                   operation.

       ECF No. 17 4 at 42·43.

                                                    12
                                                   A57
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:175
                                   Document  127 Filed
                                                   Date Filed: 05/27/2025
                                                       04/04/25    Page 13 of Entry ID: 6724071
                                                                              15 PageID
                                         #: 8706



        Id. at 43. On March 20, Mr. Hamilton sent a memorandum to Secretary Noem that

       outlined FEMA's proposed plans to ensure compliance with the NGO Grants

       Directive and the Secretary's February 19 memorandum.                See id. at 18·41.

       Specifically, Mr. Hamilton proposed a "review process" for grant programs that

       FEMA administers to ensure alignment "with Administration and Secretary

       priorities   on   non-governmental   organizations,   immigration,     and   sanctuary

       jurisdictions." Id. at 18. Secretary Noem approved the proposals on March 25. See

       id. at 20·21.

              Secretary Noem's directive that "each component must cease providing federal

       funding to sanctuary jurisdictions" effectuates the Invasion EO mandate that the

       DHS Secretary ""shall ... evaluate and undertake any lawful actions to ensure that

       so-called 'sanctuary' jurisdictions . . . do not receive access to Federal funds."

        CompaTe ECF No. 174 at 43 with 90 Fed. Reg. at 8447. Thus, Mr. Hamilton's March

       20 memorandum reveals that FEMA's adoption of a manual review process-which

       purports to ensure compliance with Secretary Noem's February 19 memorandum-is

       essentially an adoption of a funding review scheme that strives to effectuate the

       funding mandates in section 17 of the Invasion EO, which the Court enjoined in its

       preliminary injunction.

              The Court reaffirms its preliminary injunction order that the Defendants are

       enjoined from "pausing, freezing, blocking, canceling, suspending, terminating, or

       otherwise impeding the disbursement of appropriated federal funds to the States ...

       based on the 0MB Directive, including funding freezes dictated, described, or implied




                                                13
                                               A58
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:175
                                   Document  128 Filed
                                                   Date Filed: 05/27/2025
                                                       04/04/25    Page 14 of Entry ID: 6724071
                                                                              15 PageID
                                         #: 8707


       by Executive Orders issued by the President before rescission of the 0MB Directive

       or any other materially similar order, memorandum, directive, policy, or practice

       under which the federal government imposes or applies a categorical pause or freeze

       of funding appropriated by Congress." ECF No. 161 at 44 (emphasis added). FEMA

       received notice of the preliminary injunction order, the order is clear and ambiguous,

       and there are no impediments to FEMA's compliance with the order. The record

       makes clear that FEMA's manual review process imposes an indefinite pause on the

       disbursement of federal funds to the States, based on funding freezes dictated by: (1)

       the Invasion EO-an "Executive Order issued by the President before rescission of

       the 0MB Directive"-and (2) Secretary Noem's NGO Grant Directive and

       February 19 memorandum-i.e., memoranda that are "materially similar" to the

       Invasion EO "under which the federal government imposes ... a categorical pause or

       freeze of funding appropriated by Congress." Thus, FEMA's manual review process

       violates the Court's preliminary injunction order.       So in accordance with the

       preliminary injunction order, FEMA is hereby ORDERED as follows:

             1. Throughout the duration of the preliminary injunction order, FEMA must
                immediately cease the challenged manual review process implemented
                pursuant to Secretary Noem's "Direction on Grants to Non-governmental
                Organizations" and "Restricting Grant Funding for Sanctuary
                Jurisdictions" memoranda-including the manual review process as
                described in Cameron Hamilton's March 20, 2025 Memorandum to DHS
                Secretary Noem.
             2. FEMA must immediately comply with the plain text of the preliminary
                injunction order not to pause or otherwise impede the disbursement of
                appropriated federal funds to the States based on funding freezes dictated,
                described, or implied by Executive Orders issued by the President before
                the rescission of the 0MB Directive, which includes sections 17 and 19 of
                the Invasion Executive Order.


                                                 14
                                                A59
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:175
                                   Document  129 Filed
                                                   Date Filed: 05/27/2025
                                                       04/04/25    Page 15 of Entry ID: 6724071
                                                                              15 PageID
                                         #: 8708



             3. FEMA must direct notice of this Order and notice of the Court's preliminary
                injunction order to FEMA's leadership and all FEMA staff who administer
                these FEMA grants and other federal financial assistance. FEMA shall
                provide confirmation of these notices, including the names of recipients of
                the notice, no later than 48 hours after this Order.




       John J. McConneit' Jr. ~·
       Chief Judge
       United States District Court
          for the District of Rhode Island

       April 4, 2025




                                              15
                                              A60
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  130 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 1 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9007



                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

                                                   )
        STATE OF NEW YORK; STATE OF                )
        CALIFORNIA; STATE OF ILLINOIS;             )
        STATE OF RHODE ISLAND; STATE               )
        OF NEW JERSEY;                             )
        COMMONWEALTH OF                            )
        MASSACHUSETTS; STATE OF                    )
        ARIZONA; STATE OF COLORADO;                )
        STATE OF CONNECTICUT; STATE                )
        OF DELAWARE; THE DISTRICT OF               )
        COLUMBIA; STATE OF HAWAII;                 )
        OFFICE OF THE GOVERNOR ex Pel.             )
        ANDY BESHEAR, in his official              )
        capacity as Governor of the                )
        COMMONWEALTH OF KENTUCKY;                  )
        STATE OF MAINE; STATE OF                   )
        MARYLAND; STATE OF                         )
        MICHIGAN; STATE OF                         )
        MINNESOTA; STATE OF NEVADA;                )
        STATE OF NEW MEXICO; STATE                 )
        OF NORTH CAROLINA; STATE OF                )     C.A. No. 1:25-cv·39·JJM·PAS
        OREGON; STATE OF VERMONT;                  )
        STATE OF WASHINGTON; and                   )
        STATE OF WISCONSIN,                        )
                                                   )
             Plaintiffs,                           )
        V.                                         )
                                                   )
       DONALD TRUMP, in his official               )
       capacity as President of the United         )
       States; U.S. OFFICE OF                      )
       MANAGEMENT AND BUDGET;                      )
       RUSSELL VOUGHT, in his official             )
       capacity as Director of the U.S. Office     )
       of Management and Budget; U.S.              )
       DEPARTMENT OF THE                           )
       TREASURY; SCOTT BESSENT, in                 )
       his official capacity as Secretary of the   )
       Treasury; PATRICIA COLLINS, in              )
       her official capacity as Treasurer of       )
       the-United                                  )
       -    - - States;
                    ---     U.S.
                              ------



                                                   A61
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  131 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 2 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9008



        DEPARTMENT OF HEALTH AND                   )
        HUMAN SERVICES; ROBERT F.                  )
        KENNEDY, JR., in his official              )
        capacity as Secretary of Health and        )
        Human Services; U.S.                       )
        DEPARTMENT OF EDUCATION;                   )
        LINDA MCMAHON, in her official             )
        capacity as Secretary of Education;        )
        U.S. DEPARTMENT OF                         )
        TRANSPORTATION; SEAN DUFFY,                )
        in his official capacity as Secretary of   )
        Transportation; U.S. DEPARTMENT            )
        OF LABOR; LORI CHAVEZ-                     )
        DEREMER, in her official capacity as       )
        Secretary of Labor; U.S.                   )
        DEPARTMENT OF ENERGY; CHRIS                )
        WRIGHT, in his official capacity as        )
        Secretary of Energy; U.S.                  )
        ENVIRONMENTAL PROTECTION                   )
        AGENCY; LEE ZELDIN, in his                 )
        official capacity as Administrator of      )
        the U.S. Environmental Protection          )
        Agency; U.S. DEPARTMENT OF THE             )
        INTERIOR; DOUG BURGUM, in his              )
        official capacity as Secretary of the      )
        Interior; U.S. DEPARTMENT OF               )
        HOMELAND SECURITY; KRISTI                  )
        NOEM, in her capacity as Secretary of      )
        Homeland Security; U.S.                    )
        DEPARTMENT OF JUSTICE;                     )
        PAMELA BONDI, in her official              )
        capacity as Attorney General of the        )
        U.S. Department of Justice; THE            )
        NATIONAL SCIENCE                           )
        FOUNDATION; DR. SETHURAMAN                 )
        PANCHANATHAN, in his capacity as           )
        Director of the National Science           )
        Foundation; U.S. DEPARTMENT OF             )
        AGRICULTURE; BROOKE                        )
        ROLLINS, in her official capacity as       )
        Secretary of Agriculture; U.S.             )
        DEPARTMENT OF HOUSING AND                  )
        URBAN DEVELOPMENT; SCOTT                   )
        TURNER, in his official capacity as        )



                                                   2
                                                   A62
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  132 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 3 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9009



         Secretary of Housing and Urban             )
         Development; U.S. DEPARTMENT               )
         OF STATE; MARCO RUBIO, in his              )
         official capacity as Secretary of State;   )
         U.S. AGENCY FOR                            )
         INTERNATIONAL DEVELOPMENT;                 )
         MARCO RUBIO, in his official               )
         capacity as Acting Administrator of        )
         the United States Agency for               )
         International Development; U.S.            )
       . DEPARTMENT OF DEFENSE;                     )
         PETER HEGSETH, in his official             )
         capacity as Secretary of Defense; U.S.     )
         DEPARTMENT OF VETERANS                     )
         AFFAIRS; DOUG COLLINS, in his              )
         official .capacity as Secretary of         )
         Veterans Affairs; U.S.                     )
         DEPARTMENT OF COMMERCE;                    )
         HOWARD LUTNICK, in his official            )
         capacity as Secretary of Commerce;         )
         NATIONAL AERONAUTICS AND                   )
         SPACE ADMINISTRATION; JANET                )
         PETRO in her official capacity as          )
         Acting Administrator of National           )
         Aeronautics and Space                      )
         Administration; CORPORATION                )
         FOR NATIONAL AND COMMUNITY                 )
         SERVICE; JENNIFER BASTRESS                 )
         TAHMASEBI, in her official capacity        )
         as Interim Head of the Corporation         )
         for National and Community Service;        )
         U.S. SOCIAL SECURITY                       )
         ADMINISTRATION; LELAND                     )
         DUDEK, in his official capacity as         )
         Acting Commissioner of United States       )
         Social Security Administration; U.S.       )
         SMALL BUSINESS                             )
         ADMINISTRATION; and KELLY                  )
         LOEFFLER, in her official capacity as      )
         Administrator of U.S. Small Business       )
         Administration,                            )
                                                    )
               Defendants.                          )




                                                     3
                                                    A63
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  133 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 4 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9010



                                              ORDER

              The Court recently granted the Plaintiff States' Motion for Enforcement of the

       Court's March 6 Preliminary Injunction after finding that Defendant Federal

       Emergency Management Agency ("FEMA") was implementing a manual review

       process that violated the injunction. See ECF No. 175. The Defendants now bring

       this Motion for Reconsideration of the Court's Enforcement Order based on the

       Supreme Court's recent ruling on an emergency stay application in Depal'tment of

       Education v. Califol'nia, No. 24A910, 2025 WL 1008354 (Apr. 4, 2025) (per curiam).

       The Defendants assert the ruling in Cal1fo1-nia suggests that "this Court lacks

       jurisdiction to consider the Plaintiffs' enforcement motion relating to non ·payment of

       various FEMA grants." ECF No. 176 at 3. Thus, the Defendants ask that the Court

       withdraw its Enforcement Order or stay the Order pending resolution of their appeal

       of the underlying Preliminary Injunction.I Id. at 1.

              The States assert that the Defendants' request to reconsider is "flawed on

        multiple levels" because: (1) the Defendants never argued this position when opposing

       the Preliminary Injunction and thus, cannot "collateraHly] attack" the Preliminary

       Injunction at this stage because they have appealed it; and (2) this Court's

       Enforcement Order is not an action to enforce a contract between the States and the

        Defendants, but rather it is an enforcement of the Court's Preliminary Injunction

       prohibiting a categorical freeze on obligated funds. See ECF No. 179 at l ·5.




              1 The First Circuit denied a stay of the Court's Preliminary Injunction.   ECF
        No. 171.

                                                 4
                                                A64
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  134 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 5 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9011



             After careful consideration, the Court DENIES the Defendants' Motion for

       Reconsideration and request for a stay of the Court's Enforcement Order.

       I.    DISCUSSION

             In Depa1·tment ofEducation v. Califon1ia, the Supreme Court stayed, pending

       appeal, a district court's temporary restraining order that enjoined the Government

       from terminating education·rnlated grants.       2025 WL 1008354, at *2.        When

       analyzing the relevant factors for granting a stay pending appeal, the Supreme Court

       held that "the Government is likely to succeed in showing the District Court lacked

       jurisdiction to order the payment of money under the APA." Id. at *1. What is at

       issue here is the Supreme Court's assessment on jurisdiction. The Supreme Court

       highlighted that the APA's sovereign immunity waiver does not apply to claims

       seeking "money damages." Id. (citing 5 U.S.C. § 702). The Supreme Court reaffirmed

       its precedent indicating that "a district court's jurisdiction 'is not barred by the

       possibility' that setting aside agency's action may result in the disbursement of

       funds." Id. (quoting Bowen v. Massachusetts, 487 U.S. 879, 910 (1988)). But the

       Supreme Court explained that the APA's immunity waiver "does not extend to orders

       'to enforce a contractual obligation to pay money' along the lines of what the District

       Court ordered ...." Id. (quoting G1·eat· West Life & Annuity Ins. Co. v. Knudson, 534

       U.S. 204, 212 (2002)). Rather, the Supreme Court noted that the "Tucker Act grants

       the Court of Federal Claims jurisdiction over suits based on 'any express or implied

       contract with the United States."' Id. (quoting 28 U.S.C. § 1491(a)(l)).




                                                 5
                                                A65
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  135 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 6 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9012



             On a surface level, the facts in the Calif01·nia case may appear to be generally

       analogous to the facts here, as both cases involve states challenging federal agencies'

       decision-making regarding appropriated federal funds, but the similarities end there.

       When the Court delves deeper, however, it finds several significant and relevant

       differences that underscore Califo1'.lliasinapplicability to this case. In Califo1·nia, the

       First Circuit Court of Appeals determined that "the terms and conditions of each

       individual grant award" were "at issue." Califo1'.llia v. U.S. Dep't ofEduc., 132 F.4th

       92, 96·97 (1st Cir. 2025).       On appeal, the Supreme Court then granted the

       Department's application for a stay because it concluded that the district court issued

       an order "to enforce a contractual obligation to pay money" and "the Government is

       likely to succeed in showing the District Court lacked jurisdiction to order the

       payment of money under the APA." Calif01'.llia, 2025 WL 1008354, at *l. That is not

       the case here.

              In this case, the terms and conditions of each individual grant that the States

       receive from the Agency Defendants al'e not at issue. Rather, this case deals with the

       Agency Defendants' implementation of a broad, categorical freeze on obligated funds

       pending determinations on whether it is lawful to end disbursements of such funds.

       The categorical funding freeze was not based on individualized assessments of any

       particular grant terms and conditions or agreements between the Agency Defendants

       and the States; it was based on the 0MB Directive and the various Executive Orders

       that the President issued in the early days of the administration. Therefore, the




                                                    6
                                                  A66
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  136 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 7 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9013



       Court's orders addressing the categorical funding freeze were not enforcing a

       contractual obligation to pay money. 2

              This is particularly true with the Court's Enforcement Order, which is the

       target of the Defendants' Motion to Reconsider. Specifically, the Court did not, and

       was not required to, review and analyze the contractual obligations or any provision

       of the agreements between FEMA and the States. This matter is a claim about

       process, not damages. Thus, the action the Court enjoined was the implementation

       of that categorical freeze-not action that breached any specific contract· like

        agreements.

              In any event, the Supreme Court's ruling in California was made in the context

       of an emergency application for a stay pending appeal. In that procedural posture,

       the Supreme Court relied on "barebones briefing, no argument, and scarce time for

       reflection" when applying a likelihood of success standard to the Government's

        application-engaging in a limited analysis of Bowen and G1·eat· West and a

       perfunctory discussion of jurisdictional issues, which does not appear to fully resolve

       the jurisdiction issues here. Id. at *2 (Kagan, J., dissenting). Rather, Bowen is the

        guiding compass here, as the case instructs the Court to carefully scrutinize the




              2 California   s suggestion that the Court of Claims has jurisdiction over similar
        claims does not apply here for another critical reason. The Court of Claims, an Article
        I court, would not have the powers to adjudicate the States' claims because it
        generally does not have equitable jurisdiction-therefore the States could not seek
        equitable relief from the categorical funding freeze in the Court of Claims. United
        States v. Tohono O'Odham Nation, 563 U.S. 307, 313 (2011) (citations omitted) (the
        United States Court of Federal Claims "has no general power to provide equitable
        relief against the Government or its officers.").

                                                    7
                                                  A67
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  137 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 8 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9014



       States' claims and requests for relief to decide whether: (I) the Court has jurisdiction

       under the APA, or (2) the Court of Claims has jurisdiction under the Tucker Act.

             Recall that the APA's sovereign immunity waiver does not apply to claims for

       "money damages." 5 U.S.C. § 702. What Bowen affirms is that, even if a court's

       enforcement order can be "construed in part as orders for the payment of money by

       the Federal Government to the State, such payments are not 'money damages"'

       precluded under the APA. Bowen, 487 U.S. at 910. The Court's Enforcement Order-

       and underlying Preliminary Injunction-do not grant "money damages" because

       money damages are a remedy at law that "provide[s] relief that substitutes for that

       which ought to have been done." Id. The Court's orders do not provide monetary

       relief that is a substitute for the harm the States experience from the categorical

       funding freeze. Instead, the Court's orders provide specific 1·elief, as they "undo the

       [Agency Defendants' acts effecting a categorical freeze of federal funds obligated to]

       the State[sl" Id. That the Court's orders could give rise to the disbursement of funds

       to the States does not bar its jurisdiction under the APA-particularly when, as here,

       such disbursements are a "mere by-product" of the Court's "primary function" of

       reviewing the Agency Defendants' "interpretation of federal law" and regulation. Id.

       Accordingly, Bowen makes clear that the Court has jurisdiction, under the APA, to

       set aside FEMA's actions pursuant to its Preliminary Injunction.

             Additionally, the Supreme Court's limited ruling in (!alifon1ia does not require

       this Court to reconsider its prior rulings for other reasons. Unlike in California, there

       is no indication in this case that the States could not or would not pay the money back




                                                  8
                                                 A68
Case: 25-1236   Document: 00118290988
      Case 1:25-cv-00039-JJM-PAS       Page:182
                                   Document  138 Filed
                                                   Date Filed: 05/27/2025
                                                       04/14/25    Page 9 of 9Entry ID: #:
                                                                               PageID   6724071
                                          9015



       if so ordered.   This Court cited extensive irreparable harm if the Preliminary

       Injunction and Enforcement Order were not issued, unlike in Calif01·nia, where the

       Supreme Court found that the "Government compellingly argues that [the plaintiff

       states] would not suffer irreparable harm."    Califo1-nia, 2025 WL 1008354, at *l.

       Thus, the significant distinctions render the Supreme Court's holding in California

       inapplicable to the facts here.

             Thus, the Court DENIES the Defendants' Motion for Reconsideration of the

       Court's Enforcement Order. ECF No. 176. Additionally, the Court DENIES the

       Defendants' alternative request for a stay pending appeal of the Court's Enforcement

       Order because that order is not appealable. As concluded above, the Court merely

       enforced its March 6, 2025 Preliminary Injunction when instructing FEMA to cease

       actions that violated its plain terms. The Court did not modify the injunction to make

       the Enforcement Order appealable under 28 U.S.C. § 1292(a)(l). Finally, the Court

       dissolves the administrative stay it imposed while it considered this Motion to

       Reconsider (Text Order, Apr. 7, 2025) and reinstates the Enforcement Order. ECF

       No. 175.




       John J. McConnell, Jr.
       Chief Judge
       United States District Court

       April 14, 2025



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